Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 1 of 71

Exhibit 16

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 2 of 71

WSP Manual

A|pine Securities Corporation

August 29"', 2014

ALPINE__LIT168295

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 3 of 71

TABLE OF CONTENTS

|NTRODUCT|ON ..................................................................................................................................................... 1
1 DES|GNAT|ON OF SUPERV|SORS AND OFFlCES .......................................................................................... 1
1.1 Designation Of Supervisors .......................................................................................................................... 2
1.2 Designation Of Offlces .................................................................................................................................. 5
1.3 Supervision of Form Fi|ings .......................................................................................................................... 6
1.4 Organization Chart and Line of Authority ...................................................................................................... 7
2 OFF|CES .............................................................................................................................................................. 7
2.1 Office Designations ....................................................................................................................................... 7
2.1.1 Branch thce ......................................................................................................................................... 8
2.1.2 Non-Branch Locations ........................................................................................................................... 8
2.1.3 Offlces Of Supervisory Jurisdiction (OSJ) ............................................................................................. 9
2.1.4 Branch Oftices Assigned To OSJs ........................................................................................................ 9
2.1.5 Non-Branch Business Locations ......................................................................................................... 10
2.2 Use Of Oche Space By Outsiders .............................................................................................................. 10
2.3 Off\ce Records ............................................................................................................................................ 11
2.3.1 Retention Of Records At The Ofice .................................................................................................... 11
2.3.2 Regu|atory Requests For Records ...................................................................................................... 11
2.4 Changes |n Branch Offlces ......................................................................................................................... 11
2.5 Off'cce |nspections ........................................................................................................................................ 12
2.5.1 |nspection Cyc|e .................................................................................................................................. 12
2.5.2 Conducting inspections ....................................................................................................................... 13
2.5.3 Heightened lnspection Requirements ................................................................................................. 13
2.5.4 Reports ................................................................................................................................................ 14
2.6 Disp|ay Of Certihcates ................................................................................................................................. 14
2.7 Avai|ability Of Ru|es .................................................................................................................................... 14
3 GENERAL EMPLOYEE POL|C|ES .................................................................................................................... 14
3.1 Standards Of Conduct ................................................................................................................................ 14
3.2 Outside Business Activities ......................................................................................................................... 15
3.3 Private Securities Transactions .................................................................................................................. 16
3.4 Emp|oyee And Emp|oyee Related Accounts .............................................................................................. 16
3.4.1 Emp|oyee And Emp|oyee Related Accounts Deiined ......................................................................... 16
3.4.2 Outside Accounts ................................................................................................................................. 17
3.4.3 Review Of Transactions ....................................................................................................................... 18
3.4.4 Insider Trading ..................................................................................................................................... 18
3.4.5 Sharing ln Accounts ............................................................................................................................. 18
3.4.6 Prohibition On Purchases Of |nitial Pub|ic Offerings (|POs) ................................................................ 19
3.4.7 Research Restrictions .......................................................................................................................... 19
3.4.8 Restrictions On Persona| Accounts Of Certain A|pine Personne| ....................................................... 19
3.5 Gifts, Gratuities And Entertainment ............................................................................................................ 20
3.5.1 Gifts To Others .................................................................................................................................... 21
3.5.2 Accepting Gifts ..................................................................................................................................... 21
3.5.3 Entertainment ...................................................................................................................................... 21
3.5.4 Gifts, Loans, And Entertainment |nvolving Unions And Union-Affl|iated Individuals ........................... 22
3.6 Privacy Po|icy .............................................................................................................................................. 22
3.7 Reporting Possible Law Or Ru|e \ho|ations ................................................................................................ 23
3.7.1 Reporting ............................................................................................................................................. 24
3.7.2 Confidentia|ity Of Emp|oyee Reporting ................................................................................................ 24
3.7.3 Notif'lcation To The Chief Comp|iance Ocher ..................................................................................... 24
3.7.4 |nvestigation ......................................................................................................................................... 24
3.7.5 Anti-Reta|iation .................................................................................................................................... 24
3.7.6 Federa| Whist|eblower Laws And Ru|es .............................................................................................. 24
3.8 Charitab|e Contributions ............................................................................................................................. 25
3.9 I\/ledia Contact ls Limited To Certain Authorized Emp|oyees ..................................................................... 25
3.10 Requests For |nformation From Outside Sources .................................................................................... 26
A|pine Securities Corporation - i - Augus! 29, 2014

ALPINE_LIT168296

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 4 of 71

3.11 lnterna| Reviews And lnvestigations ......................................................................................................... 26
3.12 |nterna| Disciplinary Actions ...................................................................................................................... 27
3.13 Emp|oyee Ob|igation To Notify The Firm And The Firm's Ob|igation To Report ...................................... 27
3.13.1 Emp|oyee Ob|igation To Notify The Firm ........................................................................................... 28
3.13.2 A|pine's Reporting Requirements ...................................................................................................... 29
3.14 Money Laundering .................................................................................................................................... 31
3.14.1 Reports Of AML Non-Comp|iance And Other Potentia| Crimes ........................................................ 31
3.14.2 ldentity Theft ...................................................................................................................................... 32
3.15 Emergency Business Recovery Procedures ............................................................................................ 32
3.16 Prohibited Activities ................................................................................................................................... 33
3.16.1 Registered Representatives .............................................................................................................. 33
3.16.2 Use Of Firm Name ............................................................................................................................. 35
3.16.3 High Pressure Sa|es Tactics ............................................................................................................. 35
3.16.4 Providing Tax Advice Not Permitted .................................................................................................. 35
3.16.5 Rebates Of Commission .................................................................................................................... 35
3.16.6 Sharing Commissions Or Fees Wlth Non-Registered Persons ......................................................... 35
3.16.7 Sett|ing Complaints Or Errors Direct|y Wlth Customers .................................................................... 36
3.16.8 Borrowing From And Lending To Customers .................................................................................... 36
3.16.9 Persona| Funds Deposited |n Customer Accounts ............................................................................ 37
3.16.10 Prohibition Against Guarantees ....................................................................................................... 37
3.16.11 Fees And Other Charges ................................................................................................................. 37
3.16.12 Customer Signatures ....................................................................................................................... 37
3.16.13 Rumors ............................................................................................................................................ 37
3.16.14 |V|isrepresentations .......................................................................................................................... 38
3.16.15 Bribes ............................................................................................................................................... 38
3.16.16 Acting Wlthout Registration ............................................................................................................. 38
3.16.17 lmproperly |nfluencing Research Analysts ...................................................................................... 38
3.17 Computer Records, Equipment And Software .......................................................................................... 38
3.17.1 Laptop Computers And Other Mobi|e Devices .................................................................................. 39
3.17.2 Reporting Lost Devices ...................................................................................................................... 40
3.17.3 ldentifying And Reporting Data Breaches ......................................................................................... 40
3.17.4 Software ............................................................................................................................................. 40
3.17.5 Prohibited Down|oading ..................................................................................................................... 40
3.18 Electronic Communications Po|icy ............................................................................................................ 40
3.18.1 |ntroduction ........................................................................................................................................ 40
3.18.2 Summary Of Po|icy ............................................................................................................................ 40
3.18.3 Electronic Communications Deflned .................................................................................................. 41
3.18.4 |nstant Messaging .............................................................................................................................. 41
3.18.5 Guide|ines For Proper Use ................................................................................................................ 41
3.18.6 E~Mai| ................................................................................................................................................. 43
3.18.7 Persona| Digital Assistants (PDAs) ................................................................................................... 44
3.18.8 |nternet ............................................................................................................................................... 44
3.18.9 Fai|ure To Comply ............................................................................................................................. 45
3.18.10 Consent To Po|icy ............................................................................................................................ 45
3.18.11 Mobi|e Devices ................................................................................................................................ 45
3.18.12 Fina| Points Conceming Alpine's E|ectronic Communications Po|icy ............................................. 46
3.19 Advertising And Pub|ishing Activities ........................................................................................................ 48
3.20 Emp|oyees Acting As Trustees, Executors, Or Other Fiduciary Capacities ............................................. 48
3.21 Use Of Tit|es ............................................................................................................................................. 48
3.22 Annual Certification ................................................................................................................................... 48
3.23 Sa|es of Unregistered Securities ............................................................................................................... 48
3.23.1 Preventing Sa|es of Unregistered Securities ..................................................................................... 49
3.23.2 Knowing the Customer and the Securities ........................................................................................ 49
3.23.3 Reports of Suspected or Attemptec| Sa|es of Unregistered Securities .............................................. 50
3.23.4 Actions to be Ta|<en to Prevent Sa|es of Unregistered Securities ..................................................... 50

4 TRA|N|NG AND EDUCAT|ON ........................................................................................................................... 51
4.1 Annual Comp|iance Meeting ....................................................................................................................... 51
4.2 Continuing Education .................................................................................................................................. 51
A|pine Secun`ties Corporation - ii - August 29, 2014

ALPINE_LIT168297

Case 1:17-cv-O4179-DLC Documen188-16 Filed 01/19/18 Page 5 of 71

4.2.1 Regu|atory Element ............................................................................................................................. 52
4.2.2 Firm Element ....................................................................................................................................... 53
4.2.3 Registered Persons Who Fai| To Comp|ete Requirements ................................................................. 55

5 EMPLO¥MENT, REG|STRAT|ON AND L|CENS|NG ........................................................................................ 55
5.1 Emp|oyment ................................................................................................................................................ 55
5.1.1 Hiring Procedures ................................................................................................................................ 55
5.1.2 Termination Procedures ...................................................................................................................... 60
5.2 Registration And Licensing ......................................................................................................................... 61
5.2.1 CRD Electronic Filings ......................................................................................................................... 62
5.2.2 Registration Requirement .................................................................................................................... 63
5.2.3 Requests For Waivers ......................................................................................................................... 63
5.2.4 State Registrations .............................................................................................................................. 64
5.2.5 Parking Registrations ........................................................................................................................... 64
5.2.6 Form U4 ............................................................................................................................................... 64
5.2.7 Amendments To Form U4 Or Form U5 ............................................................................................... 64
5.2.8 Assignment Of RR Numbers ............................................................................................................... 65
5.3 Statutorily Disqua|itied Persons .................................................................................................................. 65
5.3.1 |ntroduction .......................................................................................................................................... 65
5.3.2 Hiring A Statutori|y Disqua|ified Person ............................................................................................... 66
5.3.3 Regu|atory Fi|ings ................................................................................................................................ 66
5.3.4 Supervision .......................................................................................................................................... 66
5.3.5 Reporting Statutory Disqua|ifications ................................................................................................... 66
5.4 Broker-Dea|er Registration ......................................................................................................................... 66
5.4.1 Form BD ............................................................................................................................................... 66
5.4.2 Change ln 0wnership, Contro|, Or Business Operations .................................................................... 67
5.4.3 REGULATORY CONTACT |NFORMAT|ON: FINRA and NASDAQ Contact lnformation .................. 67
5.4.4 Regu|atory Filings ................................................................................................................................ 68
5.4.5 Reporting Requirements ...................................................................................................................... 68
5.5 Heightened Supervision .............................................................................................................................. 69
5.5.1 Introduction .......................................................................................................................................... 69
5.5.2 ldentifying Emp|oyees For Heightened Supervision ............................................................................ 69
5.5.3 Criteria For ldentifying Candidates For Heightened Supervision ........................................................ 70
5.5.4 Heightened Supervision N|emorandum ............................................................................................... 70
5.5.5 Scope Of Potentia| Heightened Supervision ....................................................................................... 70
5.5.6 Certiflcation By RR's Supervisor .......................................................................................................... 70

6 |NDEPENDENT CONTRACTORS ..................................................................................................................... 71
6.1 |ndependent Contractor Deflned ................................................................................................................. 71
6.2 Supervision ................................................................................................................................................. 71
6.3 Agreements ................................................................................................................................................. 71
6.4 Use And Disp|ay Of The Firm's Name ........................................................................................................ 71
6.5 Disp|ay Of S|PC Symbo| ............................................................................................................................. 71
6.6 Use Of Other Names ................................................................................................................................... 72
6.7 |Cs As lnvestment Advisers ........................................................................................................................ 72
6.8 Outside Business Activities And Outside Accounts .................................................................................... 72
7 COMMUN|CAT|ONS VV|TH THE PUBL|C ......................................................................................................... 72
7.1 Definitions ................................................................................................................................................... 72
7.2 Retai| Communications ............................................................................................................................... 73
7.2.1 F|NRA Filing Requirements ................................................................................................................. 74
7.3 Institutiona| Communications ...................................................................................................................... 75
7.4 General Standards ...................................................................................................................................... 76
7.4.1 Comparisons ........................................................................................................................................ 76
7.4.2 Disclosure Of The Firm's Name ........................................................................................................... 76
7.4.3 Tax Considerations .............................................................................................................................. 77
7.4.4 Disc|osure Of Fees, Expenses And Standardized Performance ......................................................... 77
7.4.5 Recommendations ............................................................................................................................... 77
7.4.6 Prospectuses Filed V\hth The SEC ...................................................................................................... 78
7.4.7 Limitations On Use Of F|NRA's Name And Any Other Corporate Name Owned By F|NRA .............. 78
7.5 Approval ...................................................................................................................................................... 78
A|pine Securities Corporation - iii - August 29. 2014

ALPINE_LIT]68298

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 6 of 71

7.6 Testimonia|s ................................................................................................................................................ 79
7.7 Te|emarketing Scripts ................................................................................................................................. 79
7.8 S|PC Membership ....................................................................................................................................... 80
7.9 Communications Deflned as "Research" .................................................................................................... 80
7.9.1 Adoption of Po|icies and Procedures to Comp|y with Ru|e 2711 and Annual Certification by Senior
Ofticer ........................................................................................................................................................... 80
7.10 Recordkeeping Requirements For Retail And |nstitutiona| Communications ........................................... 80
7.11 Outgoing Correspondence ........................................................................................................................ 81
7.11.1 Prohibition Against Sending Correspondence From Personal Computers And Other Non-Firm
Faci|ities ........................................................................................................................................................ 81
7.11.2 Review And Approval ........................................................................................................................ 81
7.11.3 Content Guide|ines ............................................................................................................................ 83
7.11.4 Letters And Notes .............................................................................................................................. 83
7.11.5 Facsimi|es .......................................................................................................................................... 83
7.12 lncoming Correspondence ........................................................................................................................ 84
7.12.1 Review Of lncoming Correspondence ............................................................................................... 84
7.12.2 Persona| Mail ..................................................................................................................................... 85
7.13 Legends And Footnotes ............................................................................................................................ 85
7.14 |ntemal Communications .......................................................................................................................... 85
7.14.1 |nter-Offcce Communications ............................................................................................................. 85
7.14.2 |ntema| Use On|y ............................................................................................................................... 85
7.14.3 Squawk Box. Conference Cal|s, And Other |nterna| Communication Systems ................................ 85
7.15 |nvestment Ana|ysis Tools ........................................................................................................................ 85
7.15.1 Disc|osures ........................................................................................................................................ 86
7.15.2 Fi|ing Requirements ........................................................................................................................... 87
7.16 Comp|aints ........................................................................................................... . .................................... 87
7.16.1 Comp|aint Deiined ............................................................................................................................. 87
7.16.2 Hand|ing Of Customer Comp|aints .................................................................................................... 87
7.16.3 Hand|ing of Oral Comp|aints .............................................................................................................. 88
7.16.4 Records Of Comp|aints ...................................................................................................................... 88
7.16.5 Notice To Customers ......................................................................................................................... 88
7.16.6 Reporting Of Written Customer Comp|aints ...................................................................................... 88
7.17 Customer Privacy Po|icies And Procedures ............................................................................................. 89
7.17.1 Introduction ........................................................................................................................................ 90
7.17.2 “Pub|ic" vs. "Nonpub|ic" Persona| |nformation About Customers ...................................................... 90
7.17.3 Sharing Nonpub|ic Financia| |nformation ........................................................................................... 90
7.17.4 Annual Notification ............................................................................................................................. 91
7.17.5 Protection Of Customer |nformation And Records ............................................................................ 91
7.17.6 Access To Customer |nformation \ha V'\h-Fi ...................................................................................... 91
7.17.7 Remote Access To Customer Accounts ............................................................................................ 91
7.17.8 Disposa| Of Consumer Report lnformation And Records .................................................................. 91
7.18 Scripts ....................................................................................................................................................... 92
7.19 Prohibition Against Payments |nvolving Publications To |nfluence Market Prices ................................... 92
7.20 Pre-recorded Voice |V|essages And Automatic Te|ephone Dia|ing Systems (Autodia|ers) ...................... 92
7.21 Ca||ing (Te|emarketing) And Fax Restrictions .......................................................................................... 93
7.21.1 |ntroduction ........................................................................................................................................ 93
7.21.2 Telephone Ca||s ................................................................................................................................. 94
7.21.3 V\hreless Communications ................................................................................................................. 94
7.21.4 Outsourcing Te|emarketing ............................................................................................................... 94
7.21.5 Unencrypted Consumer Account Numbers ....................................................................................... 94
7.21.6 Submission Of Bi|ling |nformation ...................................................................................................... 95
7.21.7 Abandoned Ca||s ............................................................................................................................... 95
7.21.8 Credit Card Laundering ..................................................................................................................... 95
7.21.9 Other Prohibited Activities ................................................................................................................. 95
7.21.10 Do Not Ca|l Lists .............................................................................................................................. 96
7.21.11 National Do-Not-Ca|l Registry ......................................................................................................... 96
7.21.12 State Restrictions ............................................................................................................................. 96
7.21.13 |nternal Do Not Ca|| List ................................................................................................................... 97
A|pine Securities Corporation - iv - August 29. 2014

ALPINE_LIT168299

Case 1:17-cv-O4179-DLC Documen188-16 Filed 01/19/18 Page 7 of 71

7.21.14 Facsimi|e Transmissions ................................................................................................................. 97
7.21.15 Established Business Relationship .................................................................................................. 97
7.22 Pub|ic Speaking ........................................................................................................................................ 97
7.22.1 Genera| Guide|ines ............................................................................................................................ 98
7.22.2 Approval ............................................................................................................................................. 98
7.22.3 Radio, TV, And Other Extemporaneous Presentations ..................................................................... 98
7.22.4 Securities So|d By Prospectus .......................................................................................................... 99
7.22.5 Options .............................................................................................................................................. 99
7.22.6 Co|latera|ized Mortgage Obligations (CMOs) .................................................................................... 99
7.22.7 |V|utua| Funds ..................................................................................................................................... 99
7.23 Co|d Cal|ers ............................................................................................................................................... 99
7.23.1 Co|d Ca|ler Requirements ................................................................................................................. 99
7.23.2 Permissible Cold Cal|er Activities ...................................................................................................... 99
7.23.3 Prohibited Cold Ca||er Activities ...................................................................................................... 100
7.23.4 Te|emarketing Restrictions .............................................................................................................. 100
7.23.5 Scripts .............................................................................................................................................. 100
7.24 E|ectronic Communications .................................................................................................................... 100
7.24.1 E|ectronic Communications Po|icy .................................................................................................. 100
7.24.2 E|ectronic Mai| (E-mai|) .................................................................................................................... 100
7.24.3 |nstant |V|essaging ............................................................................................................................ 103
7.24.4 Advertising ....................................................................................................................................... 104
7.24.5 Bu||etin Boards, Web Sites And Other E|ectronic Communication Systems ................................... 104
7.24.6 Hyperlinks ........................................................................................................................................ 105
7.25 |dentification Of Sources ......................................................................................................................... 106
8 F|NANC|AL AND OPERAT|ONS PROCEDURES ........................................................................................... 106
8.1 Qua|iflcation Of Operations Personne| ...................................................................................................... 106
8.2 Books And Records .................................................................................................................................. 107
8.2.1 lntroduction ........................................................................................................................................ 107
8.2.2 E|ectronic Storage Of Records .......................................................................................................... 107
8.3 Ca|cu|ation And Reporting Of Net Capita| ................................................................................................ 108
8.4 Reports ...................................................................................................................................................... 109
8.4.1 Annual Audit Reports - Facing Page ................................................................................................. 110
8.4.2 Comp|iance Report ............................................................................................................................ 110
8.5 Risk Reports .............................................................................................................................................. 111
8.6 Reconci|iations And Bank Records ........................................................................................................... 111
8.7 Financia| Reporting ................................................................................................................................... 112
8.7.1 Preparation Of Financia| Reports ...................................................................................................... 112
8.7.2 Financia| Statements ......................................................................................................................... 113
8.7.3 Disclosure Of Financial Condition ..................................................................................................... 113
8.7.4 Notiflcation Rule ("Ear|y Waming Rule") ........................................................................................... 114
8.8 Fees And Service Charges ....................................................................................................................... 114
8.8.1 Notification Of Customers .................................................................................................................. 114
8.9 Fide|ity Bonding ......................................................................................................................................... 115
8.10 Cash Deposits ......................................................................................................................................... 115
8.11 Risk Management ................................................................................................................................... 115
8.11.1 Risk Assessment ............................................................................................................................. 115
8.11.2 Risk Practices Regarding Emp|oyment And Emp|oyees ................................................................. 116
8.11.3 New Accounts .................................................................................................................................. 117
8.1 1 .4 Cybersecurity ................................................................................................................................... 117
8.11.5 Hand|ing Customer Funds And Securities ....................................................................................... 120
8.11.6 Extension Of Credit .......................................................................................................................... 120
8.11.7 Proprietary Accounts ....................................................................................................................... 121
8.11.8 New Products .................................................................................................................................. 121
8.12 Business Continuity Plan ........................................................................................................................ 122
8.12.1 Designation Of Responsibilities ....................................................................................................... 122
8.12.2 Retention And Location Of The Plan ............................................................................................... 123
8.12.3 |mplementation Of The Plan ............................................................................................................ 123
8.12.4 Emergency Response Team ........................................................................................................... 123
A|pine Securities Corporation - v - August 29. 2014

ALPINE_LIT168300

Case 1:17-cv-O4179-DLC Documen188-16 Filed 01/19/18 Page 8 of 71

8.12.5 Emergency Contact List ................................................................................................................... 124
8.12.6 A|ternative Business Locations ........................................................................................................ 124
8.12.7 Data Back'Up And Recovery ........................................................................................................... 124
8.12.8 |V|ission Critica| Systems .................................................................................................................. 124
8.12.9 Financial And Operationa| Assessments ......................................................................................... 125
8.12.10 A|temative Communications .......................................................................................................... 125
8.12.11 Business Constituent, Bank, And Counter-Party |mpact ............................................................... 126
8.12.12 Other Obligations To Customers ................................................................................................... 126
8.12.13 Emergency Contact lnformation .................................................................................................... 127
8.12.14 Widespread Hea|th Emergencies .................................................................................................. 127
8.12.15 Education Of Emp|oyees ............................................................................................................... 128
8.12.16 Updating, Annual Review, And Testing ......................................................................................... 128
8.13 Customer Payments For Purchases ....................................................................................................... 129
8.14 Notiflcation Rule (“Ear|y Warning Rule") ................................................................................................. 129
8.15 Regu|ation T And Extension Of Credit To Customers ............................................................................ 129
8.15.1 Guaranteed Accounts ...................................................................................................................... 130
8.16 Transmittals Of Customer Funds And Securities .................................................................................... 130
8.16.1 lssuing Checks To Customer .......................................................................................................... 131
8.16.2 Transmittals involving U.S. account holders who seek to transfer funds internationally (internationa|
wire transfers and international ACH transfers) ......................................................................................... 131
8.16.3 Transmittals To Third Parties .......................................................................................................... 134
8.16.4 Transmittals To An A|temate Address ............................................................................................. 134
8.16.5 Transmittals To Outside Entities ...................................................................................................... 135
8.16.6 Transmitta|s Between Customers And Registered Representatives .............................................. 135
8.16.7 Prepayments And Extensions ......................................................................................................... 136
8.16.8 Suspicious Or Questionable Activities ............................................................................................. 136
8.17 Safekeeping Of Customer Funds And Securities ................................................................................... 136
8.17.1 |ntroduction ...................................................................................................................................... 136
8.17.2 Exemption From 1503-3 .................................................................................................................. 136
8.18 Checking Account Safeguards ................................................................................................................ 137
8.18.1 Checking Account Safeguards ........................................................................................................ 137
8.19 Customer Protection ............................................................................................................................... 137
8.19.1 |ntroduction ...................................................................................................................................... 138
8.19.2 Possession And Contro| Of Securities ............................................................................................. 138
8.19.3 Buy-ln Procedures ........................................................................................................................... 139
8.19.4 Sell out Procedures ......................................................................................................................... 140
8.19.5 Specia| Reserve Bank Account ....................................................................................................... 140
8.20 Customer Confirmations And Statements .............................................................................................. 141
8.20.1 Contro| Of Blank Confirmations And Statements ............................................................................ 141
8.20.2 Change Of Customer Addresses On Accounts ............................................................................... 141
8.20.3 Ho|ding Customer lVlail Prohibited ................................................................................................... 141
8.20.4 Contirmation Disclosures ................................................................................................................. 141
8.21 Lost Security Ho|ders and Unresponsive Payees (Ru|e 17Ad-17 and Rule 17a-24) ............................. 142
8.21.1 Searches for Lost Securityholders ................................................................................................... 143
8.21.2 Classihcation as Unresponsive Payees ........................................................................................... 144
8.21.3 Unnegotiated Checks ...................................................................................................................... 144
8.22 Subordination Agreements Vlhth |nvestors ............................................................................................. 144
8.23 Expense-Sharing Agreements ................................................................................................................ 144
8.24 Transfer Of Accounts .............................................................................................................................. 144
8.25 Solicitation Of Proxies ............................................................................................................................. 147
8.26 Customer Requests For References ...................................................................................................... 148
8.27 Audit Letters ............................................................................................................................................ 148
8.28 Annual Disclosure Of F|NRA BrokerCheck ............................................................................................ 148
8.29 Short lnterest Report ............................................................................................................................... 149
8.30 Electronic Blue Sheets ............................................................................................................................ 149
8.31 Other Regu|atory |nquiries/Requests ...................................................................................................... 150
8.31.1 |nformation Provided Wa Portable Media Device ............................................................................ 151
8.32 Regu|atory Fees And Assessments ........................................................................................................ 151
A|pine Securities Corporation - vi - August 29, 2014

ALPINE_LIT168301

Case 1:17-cv-O4179-DLC Documen188-16 Filed 01/19/18 Page 9 of 71

8.33 |NS|TE Reporting Requirements ............................................................................................................ 151
8.34 Outsourcing ............................................................................................................................................. 151
8.35 Protection Of Firrn And Customer Systems And Data ............................................................................ 152
8.36 Correspondent C|earing .......................................................................................................................... 153
9 ANT|-MONEY LAUNDERING (AlV|L) PROGRAM ............................................................................................ 153
9.1 Firm Po|icy ................................................................................................................................................ 153
9.1.1 Background ........................................................................................................................................ 154
9.2 AML Oflicer Designation and Duties ......................................................................................................... 154
9.3 Updates to the F|NRA Contact System .................................................................................................... 155
9.4 Genera| Summary of AML Offlcer Duties .................................................................................................. 155
9.5 Giving AML lnformation to Federa| Law Enforcement Agencies and Other Financia| institutions ........... 156
9.5.1 Requests and Written Notices From Enforcement Agencies ............................................................ 156
9.5.2 Federa| Banking Agency Requests - 120 Hour Rule ......................................................................... 156
9.5.3 FinCEN Requests Under USA PATR|OT Act Section 314(a) ........................................................... 156
9.5.4 Nationa| Security Letters ................................................................................................................... 158
9.5.5 Grand Jury Subpoenas ...................................................................................................................... 158
9.5.6 Vo|untary lnforrnation Sharing with Other Financial lnstitutions Under USA PATR|OT Act Section
314(b) ......................................................................................................................................................... 158
9.6 Checking the Oflice of Foreign Assets Contro| (OFAC) Listings .............................................................. 159
9.6.1 Prohibited Transactions ..................................................................................................................... 161
9.6.2 Blocking Requirements ...................................................................................................................... 161
9.6.3 Monitoring Procedures ....................................................................................................................... 161
9.6.4 Blocking Property And Disbursements .............................................................................................. 162
9.6.5 Pena|ties for Non-Compliance with OFAC Ru|es and Regu|ations ................................................... 163
9.7 Customer ldentiiication Program (C|P) ..................................................................................................... 163
9.7.1 Required Customer |nformation ........................................................................................................ 163
9.7.2 Verifying lnformation .......................................................................................................................... 166
9.7.3 Recordkeeping ................................................................................................................................... 167
9.7.4 Comparison with Government-Provided Lists of Terrorists ............................................................... 168
9.7.5 Notice to Customers .......................................................................................................................... 168
9.7.6 Reliance on Another Financial lnstitution for |dentity Verification ..................................................... 168
9.8 Due Diligence For Correspondent And Private Banking Accounts ........................................................... 169
9.8.1 Definitions .......................................................................................................................................... 169
9.8.2 Due Diligence and Enhanced Due Diligence Requirements For Correspondent Accounts of Foreign
Financia| lnstitutions ................................................................................................................................... 170
9.8.3 Foreign Bank Certification ................................................................................................................. 173
9.8.4 Recordkeeping for Correspondent Accounts for Foreign Banks ....................................................... 174
9.8.5 Summons or Subpoena of Foreign Bank Records; Termination of Correspondent Relationships with
Foreign Bank .............................................................................................................................................. 174
9.9 Due Diligence For Private Banking Accounts ........................................................................................... 174
9.9.1 Definitions .......................................................................................................................................... 174
9.9.2 Enhanced Scrutiny For Accounts Of Senior Foreign Political Figures .............................................. 175
9.9.3 Private Banking Accounts lntroduced by a Correspondent Firm (or |ntroducing Firrn) ..................... 176
9.10 Comp|iance with FinCEN’s |ssuance of Special Measures Against Foreign Jurisdictions, Financia|
lnstitutions or |ntemational Transactions of Primary Money Laundering Concem ......................................... 176
9.11 Detecting Potentia| Money Laundering ................................................................................................... 177
9.11.1 A|pine's Emp|oyee Reporting Ob|igations ....................................................................................... 178
9.11.2 Role Of Operations Personne| ......................................................................................................... 179
9.11.3 Ro|e of Retail Brokerage Personne| ................................................................................................ 179
9.11.4 Monitoring Accounts for Suspicious Activity .................................................................................... 179
9.11.5 Emergency Notiflcation to Law Enforcement by Te|ephone ............................................................ 180
9.11.6 Potentia| Red Flags ......................................................................................................................... 181
9.11.7 A|V|L Recordkeeping Requirements ................................................................................................. 190
9.12 C|earing/|ntroducing Firm Relatlonships ................................................................................................. 192
9.13 Training Programs ................................................................................................................................... 192
9.14 |ndependent Testingl Evaluation and Reporting ..................................................................................... 192
9.15 Monitoring Emp|oyee Conduct and Accounts Programs ........................................................................ 193
9.16 Conidentia| Reporting of AML Non-Compliance .................................................................................... 193
A|pine Securities Corporation - vii ~ August 29, 2014

ALPINE_LIT168302

Case 1:17-cv-O4179-DLC Documen188-16 Filed 01/19/18 Page 10 of 71

9.17 Pena|ties for Non-Compliance with A|pine Po|icy or BSA, USA PATR|OT ACT Or Other AML Ru|es and

Regu|ations ..................................................................................................................................................... 193
9.18 Additiona| Risk Areas .............................................................................................................................. 194
9.19 ldentity Theft Prevention Program (FTC FACT Act Red Flags Rule) ..................................................... 195
9.19.1 ldentity Theft Prevention Program Firm Po|icy ................................................................................ 196
9.19.2 |TPP Approva| and Administration ................................................................................................... 196
9.19.3 Relationship to Other Firm Programs .............................................................................................. 197
9.19.4 ldentifying Re|evant Red Flags ........................................................................................................ 197
9.19.5 Detecting Red Flags ........................................................................................................................ 197
9.19.6 Preventing and Mitigating ldentity Theft .......................................................................................... 197
9.19.7 A|pine Emp|oyees Reporting Ob|igations ........................................................................................ 199
9.19.8 Service Providers ............................................................................................................................. 199
9.19.9 |ntemal Comp|iance Reporting ........................................................................................................ 199
9.19.10 Updates and Annual Review ......................................................................................................... 200
9.19.11 Red Flag ldentification and Detection Grid .................................................................................... 200
9.20 Senior Manager Approva| ....................................................................................................................... 202
10 |NS|DER TRAD|NG ........................................................................................................................................ 202
10.1 lnsider Trading Policies And Procedures ................................................................................................ 203
10.2 Prohibition Against Acting On Or Disclosing |nside |nformation ............................................................. 203
10.3 Tippees Are lnsiders ............................................................................................................................... 204
10.4 Misuse Constitutes Fraud ....................................................................................................................... 204
10.5 Annual Certilication ................................................................................................................................. 204
10.6 Firm Po|icy Memorandum Regarding lnsider Trading ............................................................................ 204
10.7 Emp|oyee, Emp|oyee-Related, And Proprietary Trading ........................................................................ 207
10.8 |nformation Barrier Procedures ............................................................................................................... 207
10.8.1 introduction ...................................................................................................................................... 208
10.8.2 Departments Subject To |nformation Barrier Confidentiality Procedures ........................................ 208
10.8.3 Confidentiality Procedures ............................................................................................................... 208
10.8.4 Access To Confidentia| |nformation Limited To Certain Emp|oyees ............................................... 208
10.8.5 Bringing An Emp|oyee "Over the Wal|" ............................................................................................ 208
10.8.6 Notiflcation To Comp|iance .............................................................................................................. 209
10.8.7 Monitoring The |nformation Barrier .................................................................................................. 209
10.8.8 Education And Training Of Emp|oyees ............................................................................................ 209
10.9 Watch List ............................................................................................................................................... 209
11 ACCOUNTS ................................................................................................................................................... 210
11.1 New Accounts ......................................................................................................................................... 210
11.1.1 Customer ldentity Verification .......................................................................................................... 211
11.1.2 ldentity Theft .................................................................................................................................... 216
11.1.3 S|PC Disclosure ............................................................................................................................... 217
11.1.4 Approva| of New Accounts .............................................................................................................. 217

1 1.1.5 Customer Account |nformation ........................................................................................................ 218

1 1.1.6 Addresses On Customer Accounts ................................................................................................. 218
11.1.7 Account Documents ......................................................................................................................... 219
11.1.8 Predispute Arbitration Agreements Vlhth Customers ....................................................................... 220
11.1.9 Revisions To Customer Agreements ............................................................................................... 220
11.1.10 Accounts Requiring Notification To Customer's Employer ............................................................ 220
11.1.11 Post Oftice Addresses ................................................................................................................... 221
11.1.12 Unacceptab|e Accounts ................................................................................................................. 221
11.2 Accounts And Securities Subject To Blocking ........................................................................................ 221
11.3 Updating Account |nformation And Periodic Affirmation ......................................................................... 221
11.4 Sweep Programs ..................................................................................................................................... 222
11.5 Third Party Accounts ............................................................................................................................... 223
11.6 Discretion For Orders And Accounts ...................................................................................................... 224
11.7 Accounts For Minors ............................................................................................................................... 224
11.8 Coverdell Education Savings Accounts .................................................................................................. 224
11.9 Accounts F or Senior |nvestors ................................................................................................................ 225
11.9.1 General Requirements ..................................................................................................................... 226
11.9.2 Opening Accounts For Senior |nvestors .......................................................................................... 226
A|pine Securities Corporation - viii - August 29, 2014

ALPINE_LIT168303

Case 1:17-CV-O4179-DLC Documen188-16 Filed 01/19/18 Page 11 of 71

11.9.3 Opening Accounts For Senior |nvestors .......................................................................................... 226
11.9.4 Diminished Menta| Capacity ............................................................................................................ 227

1 1 .10 lncompetent Persons ............................................................................................................................ 227
11.11 Trust Accounts ...................................................................................................................................... 227
11.12 Correspondent And Private Banking Accounts And Accounts For Senior Foreign Political Figures 227
11.12.1 Summary Of Requirements ........................................................................................................... 228
11.12.2 Deflnitions ...................................................................................................................................... 228
11.12.3 Prohibition Against Correspondent Accounts For Foreign She|| Banks ........................................ 229
11.12.4 Foreign Bank Certification ............................................................................................................. 229
11.12.5 Accounts For Foreign Po|itica| Figures .......................................................................................... 229

1 1 .13 Co|laterallEscrow Accounts .................................................................................................................. 229
11.14 Pension And Retirement Accounts ....................................................................................................... 229
11.14.1 Emp|oyee Retirement lncome Security Act (ER|SA) ..................................................................... 229
11.14.2 General Guidelines When Offering Retirement Plans ................................................................... 233
11.14.3 lndividual Retirement Accounts (lRAs) .......................................................................................... 233
11.14.4 Emp|oyer-Sponsored Plans ........................................................................................................... 235
11.15 Foreign Accounts .................................................................................................................................. 237
1 1 .16 Referrals ................................................................................................................................................ 237
11.17 Death Of A Customer ............................................................................................................................ 238
11.18 Customer Portfo|io And Cross-Reference Records .............................................................................. 239
1 1.19 Active Accounts ..................................................................................................................................... 239
11.19.1 Penny Stock Ru|es ........................................................................................................................ 240
11.19.2 Rule 15951 et. seq. ....................................................................................................................... 240
11.20 Concentrated Positions ......................................................................................................................... 243
12 ORDERS ........................................................................................................................................................ 244
12.1 Acceptance And Prompt Entry Of Orders ............................................................................................... 244
12.2 Orders Requiring Approval ..................................................................................................................... 244
12.3 So|icited And Unso|icited Orders ............................................................................................................ 245
12.3.1 Definition Of So|icited Order ............................................................................................................ 245
12.3.2 So|icited Orders Should Be lndicated .............................................................................................. 245
12.3.3 Prohibited So|icitations .................................................................................................................... 245
12.4 Suitabi|ity Of Recommendations ............................................................................................................. 246
12.4.1 General Requirements ..................................................................................................................... 247
12.4.2 lnstitutional Accounts ....................................................................................................................... 250
12.4.3 Recommendations Of OTC Equity Securities ................................................................................. 250
12.4.4 Proprietary Products ........................................................................................................................ 252
12.5 Fair Prices ............................................................................................................................................... 253
12.5.1 Mark-Up Po|icy ................................................................................................................................ 254
12.5.2 Prohibition Against Trading Ahead Of Customer Orders ................................................................ 255
12.5.3 Front Running Of Block Transactions .............................................................................................. 256
12.6 Regu|ation NMS ...................................................................................................................................... 257
12.7 Orders |n Volati|e Stocks ........................................................................................................................ 257
12.8 llliquid lnvestments .................................................................................................................................. 257
12.9 Account Designation And Cance|s/Rebills .............................................................................................. 258
12.10 Trading Halts ......................................................................................................................................... 259
12.11 Trade Reporting By Third Parties ......................................................................................................... 259
12.12 Trading Systems And E|ectronic Transmission Of Orders ................................................................... 260
12.12.1 Clearly Erroneous Transactions .................................................................................................... 260
12.13 Order Records ....................................................................................................................................... 261
12.14 Net Trading ........................................................................................................................................... 261
12.15 Extended Hours Trading ....................................................................................................................... 262
12.16 Large Trader Rule ................................................................................................................................. 262
12.16.1 Large Trader Definition .................................................................................................................. 263
12.16.2 ldentifying Activity Level ................................................................................................................ 263
12.16.3 Large Trader ldentihcation Number (LTlD) ................................................................................... 263
12.16.4 Fi|ings ............................................................................................................................................ 263
12.16.5 Large Trader Monitoring/ Reporting (SEC Rule 1311-1 ) ................................................................. 264
12.16.6 Records ......................................................................................................................................... 265
Atpine Securities Corporation - ix - August 29. 2014

ALPINE_LIT168304

Case 1:17-cv-O4179-DLC Documen188-16 Filed 01/19/18 Page 12 of 71

12.17 Conflicts Of lnterest ............................................................................................................................... 265
12.17.1 Adverse lnterest ............................................................................................................................. 266
12.17.2 Precedence Of Customer Orders .................................................................................................. 266

12.18 Review Of Customer Transactions ....................................................................................................... 267
12.18.1 Review Of Daily Transactions ....................................................................................................... 267
12.18.2 Unauthorized Transactions ............................................................................................................ 267
12.18.3 Review 0f Account Activity By Designated Supervisors ............................................................... 268

12.19 Trade Errors .......................................................................................................................................... 268

12.20 Se||outs ................................................................................................................................................. 269

12.21 Time C|ock Synchronization ................................................................................................................. 269

12.22 Blue Sky Of Securities .......................................................................................................................... 270
12.22.1 General Requirements ................................................................................................................... 271

12.23 Short Sales ............................................................................................................................................ 271
12.23.1 Marking Orders .............................................................................................................................. 272
12.23.2 The Locate Rule ............................................................................................................................ 272
12.23.3 Naked Short Se||ing (SEC Rule 10b-21) ....................................................................................... 273
12.23.4 C|ose and Pre-Borrow Rule ........................................................................................................... 273

12.24 Sa|e of Contro| or Restricted Stock, (effect. June 23, 2014) ................................................................ 273
12.24.1 |ntroduction .................................................................................................................................... 273
12.24.2 Def:nitions ...................................................................................................................................... 273
12.24.3 New Account |nformation to ldentify Afhliates ............................................................................... 275

12.25 Unregistered Resales Of Restn`cted Securities, (effect. June 231 2014) .............................................. 275
12.25.1 Cautionary "Red F|ags" ................................................................................................................. 277
12.25.2 Resales under Rule 144 ................................................................................................................ 278
12.25.3 Overview of Rule 144 Requirements ............................................................................................. 278
12.25.4 Sales under Rule 144 .................................................................................................................... 283

12.26 Additional Resale Theories ................................................................................................................... 283
12.26.1 Rule 504 ........................................................................................................................................ 283
12.26.2 Registration Statements on Form S-1 ........................................................................................... 284
12.26.3 Registration Statements on Form S-B ........................................................................................... 284
12.26.4 Shares |ssued through Section 3(a)(10) “Fairness Hearing" ......................................................... 285
12.26.5 Securities lssued through 1145 Bankruptcy Proceeding ............................................................... 285
12.26.6 Securities issued in Company Acquisitions_Rule 145 ................................................................. 286
12.26.7 Regu|ation A .................................................................................................................................. 286
12.26.8 Attomey’s Opinions ........................................................................................................................ 286

12.27 Reporting Of lnsider Transactions ........................................................................................................ 286

12.28 Penny Stocks ........................................................................................................................................ 287
12.28.1 General Requirements ................................................................................................................... 288
12.28.2 Penny Stock Deflned ..................................................................................................................... 288
12.28.3 Established Customer Defined ...................................................................................................... 289
12.28.4 Suitabi|ity information .................................................................................................................... 289
12.28.5 Risk Disclosure Document ............................................................................................................ 289
12.28.6 Two-Business-Day Waiting Period ................................................................................................ 289
12.28.7 Disclosure Of Quotations And Other |nformation .......................................................................... 289
12.28.8 Disclosure Of Compensation ......................................................................................................... 289

12.29 Tax Switching Transactions .................................................................................................................. 290

12.30 Order Audit Trai| System (OATS) ......................................................................................................... 290
12.30.1 Who And What Orders Are Subject To OATS Requirements ....................................................... 290
12.30.2 Registering V\hth OATS .................................................................................................................. 291
12.30.3 List Of Contact Persons ................................................................................................................. 292
12.30.4 Capture Of Required OATS |nformation ........................................................................................ 292
12.30.5 Reporting Of OATS |nformation .................................................................................................... 292
12.30.6 C|ock Synchronization ................................................................................................................... 293
12.30.7 OATS Contact |nformation ............................................................................................................ 293

12.31 Disclosure Of Order Execution Procedures .......................................................................................... 294

12.32 Order Routing And Reporting ............................................................................................................... 294
12.32.1 Disclosure Of Order Routing ......................................................................................................... 294
12.32.2 Orders Covered By The Rule ........................................................................................................ 295

A|pine Securities Corporation - x - August 29. 2014

ALPINE_LIT168305

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 13 of 71

12.32.3 |nformation lnc|uded ln The Reports ............................................................................................. 295
12.32.4 Customer Requests For Order Routing |nformation ...................................................................... 295
12.33 Distribution, Consolidation, And Display Of |nformation ....................................................................... 295
12.34 Cash And Non-Cash Compensation Po|icy .......................................................................................... 295
12.34.1 Deflnitions ...................................................................................................................................... 296
12.34.2 Approva| ......................................................................................................................................... 296
12.34.3 Types Of Permissible Non-Cash Compensation ........................................................................... 296
12.35 Prohibited Transactions And Practices ................................................................................................. 297
12.35.1 introduction .................................................................................................................................... 297
12.35.2 Unauthorized Trading .................................................................................................................... 298
12.35.3 Prearranged Trading ...................................................................................................................... 298
12.35.4 Adjusted Trading ............................................................................................................................ 298
12.35.5 Overtrading Or Undertrading ......................................................................................................... 298
12.35.6 Wash Transactions ........................................................................................................................ 298
12.35.7 Cross Transactions ........................................................................................................................ 298
12.35.8 Orders At The Opening Or Close .................................................................................................. 299
12.35.9 Parking Securities .......................................................................................................................... 299
12.35.10 Chuming ...................................................................................................................................... 299
12.35.11 Trade Shredding .......................................................................................................................... 299
12.36 Comission Recapture Programs/Soft Dol|ar Arrangements ................................................................. 299
12.37 Trading Ahead of Research Reports .................................................................................................... 300
13 ONL|NE TRAD|NG SERV|CES ...................................................................................................................... 300
13.1 System Contro|s (NASD NTM 04-66) ..................................................................................................... 300
13.1.1 Testing System Contro|s (NASD NTM 04-66) ................................................................................. 300
13.2 Security of On|ine Trading Activity / |nformation Security / Data lntegrity Review Procedures and
Documentation ................................................................................................................................................ 300
13.3 Customer Accounts (NASD NTM 02~21) ................................................................................................ 300
13.4 Market Access Controls .......................................................................................................................... 301
13.5 On|ine |nformation & Disclosures ............................................................................................................ 301
13.6 Privacy Po|icy .......................................................................................................................................... 301
13.7 Orders ..................................................................................................................................................... 301
13.8 On|ine Offerings ...................................................................................................................................... 301
13.9 |Vlargin Requirements and Short Sales ................................................................................................... 301
13.10 Order Review ........................................................................................................................................ 301
13.11 Best Execution Procedures and Documentation .................................................................................. 301
13.12 Supervisory Review Procedures and Documentation Regarding Suitabi|ity ........................................ 302
13.13 Customer Service .................................................................................................................................. 302
13.14 Advertising ............................................................................................................................................ 302
13.15 Comp|aints ............................................................................................................................................ 302
13.16 Extended Hours Trading ....................................................................................................................... 302
14 OTC EQU|TY TRAD|NG AND MARKET MAK|NG ........................................................................................ 302
14.1 Automatic Execution Of Orders .............................................................................................................. 302
14.2 Minimum Pricing lncrement .................................................................................................................... 303
14.2.1 Minimum Quotation Size ................................................................................................................. 303
14.3 |ntroduction ............................................................................................................................................. 304
14.3.1 Supervisory Reviews ....................................................................................................................... 304
14.3.2 Regu|ation NlVlS ............................................................................................................................... 304
14.4 General Requirements For OTC Traders ............................................................................................... 309
14.4.1 Qualiflcation And Registration Of OTC Traders .............................................................................. 309
14.4.2 Continuing Education ....................................................................................................................... 310
14.4.3 Training ............................................................................................................................................ 310
14.4.4 Annual Comp|iance Meeting ............................................................................................................ 310
14.4.5 Traders‘ Persona| Accounts ............................................................................................................. 310
14.4.6 |nformation Barrier Procedures (Chinese Wa||s) ............................................................................. 311
14.4.7 OTC Trader's Annual Certiflcation ................................................................................................... 311
14.4.8 Disciplinary Po|icy ............................................................................................................................ 312
14.5 initial Market Maker Requirements ......................................................................................................... 312
14.5.1 Selection Of Securities .................................................................................................................... 313
A|pine Securities Corporation - xi - August 29. 2014

ALPINE_LIT168306

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 14 of 71

14.5.2 NGM And NASDAQ Capital Market Securities ............................................................................... 313
14.5.3 lPOs And Syndicates ....................................................................................................................... 313
14.5.4 Non-Exchange-Listed Securities ..................................................................................................... 313
14.5.5 MP|Ds (lVlarket Participant ldentifiers) ............................................................................................. 315
14.5.6 Prohibitlon Against Receiving Payments ......................................................................................... 316
14.6 Quotations ............................................................................................................................................... 316
14.6.1 Quotation Requirements And Obligations ....................................................................................... 317
14.6.2 Dissemination Of Quotations ........................................................................................................... 318
14.6.3 Firm Quote Obligations .................................................................................................................... 318
14.6.4 Non-Exchange Listed Security Quotations Disp|ayed in Mu|tip|e Quotation Mediums ................... 318
14.6.5 Requirement To Pub|ish An lnferior Quote ...................................................................................... 318
14.6.6 Reasonable Spreads ....................................................................................................................... 319
14.6.7 Backing-Away .................................................................................................................................. 319
14.6.8 lmproving Pub|ic Quotes: Limit Orders ............................................................................................ 319
14.6.9 OTC Securities Quoted |n Different Quotation Mediums ................................................................ 319
14.6.10 OTCBB Continuing Quotation Requirements ................................................................................ 320
14.6.11 NASDAQ Market Opening Prooess ............................................................................................... 320
14.6.12 NASDAQ C|osing Cross ................................................................................................................ 320
14.6.13 Locked And Crossed Markets ....................................................................................................... 321
14.6.14 Quotation Recording And Reporting .............................................................................................. 321
14.6.15 Tem\ination Of Market Maker Registration And Vlhthdrawa| Of Quotes ........................................ 321
14.6.16 After Hours Trading ....................................................................................................................... 323
14.6.17 Pub|ication of Transactions & Quotations ...................................................................................... 323
14.6.18 Prohibited Practices Relating To Pub|ication Of Quotations ......................................................... 324
14.7 Hand|ing Orders And Executions ............................................................................................................ 324
14.7.1 Best Execution ................................................................................................................................. 325
14.7.2 Fair Prices ........................................................................................................................................ 330
14.7.3 Prohibition Against Trading Ahead Of Customer Orders ................................................................ 333
14.7.4 Front Running Of Block Transactions .............................................................................................. 334
14.7.5 Market Orders .................................................................................................................................. 335
14.7.6 Limit Orders ..................................................................................................................................... 336
14.7.7 Marking Orders ................................................................................................................................ 339
14.7.8 Naked Short Se||ing AntiFraud Rule ................................................................................................ 341
14.7.9 C|ose and Pre-Borrow Rule ............................................................................................................. 342
14.7.10 Block-Sized Orders ........................................................................................................................ 342
14.7.11 Not Held Orders ............................................................................................................................. 343
14.7.12 Orders Vlhth Specia| Terms Or Conditions .................................................................................... 343
14.7.13 Average Price Transactions .......................................................................................................... 343
14.7.14 Net Trading .................................................................................................................................... 344
14.7.15 Phone Orders ................................................................................................................................ 345
14.7.16 Rule 144 Transactions ................................................................................................................... 345
14.7.17 Se|f-Trades .................................................................................................................................... 346
14.7.18 Trading Halts ................................................................................................................................. 347
14.8 NASDAQ Execution Services/BATS/ARCA ............................................................................................ 348
14.8.1 NASDAQ Market Center .................................................................................................................. 349
14.8.2 Sponsored Access ........................................................................................................................... 349
14.9 Consolidated Quotation System (CQS) Securities ................................................................................. 350
14.9.1 Trade-Throughs ............................................................................................................................... 350
14.9.2 Short Sales |n CQS Securities ........................................................................................................ 350
14.9.3 CQS Security Subject To An |PO .................................................................................................... 351
14.9.4 Reporting Transactions in CQS Securities ...................................................................................... 351
14.9.5 Limit Order Protection |nterpretation ("lVlanning Obligations") ........................................................ 351
14.10 CQS Market Maker Requirements ........................................................................................................ 351
14.10.1 One Percent (1%) Rule (Statutory Market Maker) ........................................................................ 352
14.11 F|NRA Alternative Display Facility (ADF) .............................................................................................. 352
14.11.1 Changing From An Automated To A Manual Quotation ................................................................ 353
14.11.2 Trading Halts ................................................................................................................................. 353
14.11.3 Access Requirements .................................................................................................................... 353
A|pine Securities Corporation - xii - August 29. 2014

ALPINE_LI'I`168307

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 15 of 71

14.11.4 ADF Trade Reporting ..................................................................................................................... 354
14.12 Other Requirements .............................................................................................................................. 354
14.12.1 |nventory Positions ........................................................................................................................ 354
14.12.2 Schedule 13G Reports .................................................................................................................. 354
14.12.3 Authorized Use Of NASDAQ Workstations ................................................................................... 355
14.12.4 Adequate Stafnng .......................................................................................................................... 355
14.12.5 |ssuer Repurchases Of Common Stock ........................................................................................ 356
14.12.6 Errors ............................................................................................................................................. 357
14.12.7 C|early Erroneous Transaction Procedures .................................................................................. 357
14.12.8 Customer Order Errors .................................................................................................................. 358
14.12.9 System Outages ............................................................................................................................ 358
14.13 Distributions Of Securities ..................................................................................................................... 358
14.13.1 |ntroduction .................................................................................................................................... 359
14.13.2 Overview Of Requirements ........................................................................................................... 359
14.13.3 Restrictions When Passive Market Making ls Not Conducted ...................................................... 360
14.13.4 \Mthdrawa| Of Quotations .............................................................................................................. 360
14.13.5 Stabilizing Bids .............................................................................................................................. 360
14.14 Trade Reporting .................................................................................................................................... 361
14.14.1 Trade Reporting Facility (TRF, formerly ACT) ............................................................................... 362
14.14.2 OTC Reporting Facility: Key Requirements ................................................................................... 363
14.14.3 Prohibition Against De|ayed Trade Reporting - SEC 21 (a) Report ............................................... 365
14.14.4 Riskless Principa| Transactions ..................................................................................................... 365
14.14.5 Transactions And Transfers Not Requiring Reporting ................................................................... 365
14.14.6 Short Sales .................................................................................................................................... 366
14.14.7 Review Of Trade Modifiers ............................................................................................................ 366
14.14.8 Obligation To Provide Accurate information To The Marketplace ................................................ 366
14.14.9 Order Audit Trai| System (OATS) .................................................................................................. 366
14.14.10 Trade Reporting By Third Parties ................................................................................................ 366
14.15 Other Reports ........................................................................................................................................ 367
14.15.1 Short interest Report For NASDAQ Securities .............................................................................. 367
14.16 Procedures For C|ock Synchronization ................................................................................................. 368
14.16.1 independent Contractors ............................................................................................................... 369
14.17 Prohibited Activities ............................................................................................................................... 369
14.17.1 Acting To Benefit A|pine vs. The Customer ................................................................................... 369
14.17.2 Anti-Competitive And Anti-Trust Procedures ................................................................................. 369
14.17.3 Unauthorized Trading .................................................................................................................... 371
14.17.4 Expiration And Rebalance Days .................................................................................................... 372
14.17.5 Other Prohibited Activities ............................................................................................................. 372
14.17.6 Se|f-Preferencing ........................................................................................................................... 374
14.17.7 Parking Securities .......................................................................................................................... 374
14.17.8 |nterpositioning .............................................................................................................................. 374
14.17.9 Secret Protits ................................................................................................................................. 375
14.17.10 Adjusted Trading .......................................................................................................................... 375
14.18 Books And Records .............................................................................................................................. 375
15 MUTUAL FUNDS ........................................................................................................................................... 376
15.1 |ntroduction ............................................................................................................................................. 376
15.2 Mutua| Funds Offered By A|pine ............................................................................................................. 376
15.2.1 Dealer Agreements .......................................................................................................................... 378
15.2.2 Anti-Reciproca| Rule ........................................................................................................................ 378
15.3 Sales Charges ......................................................................................................................................... 379
15.3.1 Breakpoints ...................................................................................................................................... 380
15.3.2 Letters Of lntent ............................................................................................................................... 381
15.3.3 Rights Of Accumu|ation ................................................................................................................... 381
15.3.4 Reinstatement Privilege ................................................................................................................... 381
15.3.5 Sales Charge Reductions/Waiver Or NAV Transfer Program ......................................................... 382
15.3.6 Deferred Sales Charges .................................................................................................................. 382
15.3.7 Direct App|ication And Vlhre Order Accounts ................................................................................... 382
15.3.8 Sales Charge Discounts Nlust Be Marked On Mutual Fund Orders ................................................ 382
A|pine Securities Corporation - xiii - August 29. 2014

ALPINE_LIT168308

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 16 of 71

15.4 Switching ................................................................................................................................................. 382
15.5 Market Timing Transactions .................................................................................................................... 383
15.6 Se||ing Dividends ..................................................................................................................................... 383
15.7 Niisrepresenting "No-Load" Funds .......................................................................................................... 383
15.8 Reinvestment Of Maturing Certificates Of Deposit in Mutua| Funds ...................................................... 384
15.9 Suitabi|ity ................................................................................................................................................. 384
15.9.1 iViuiti-Ciass Niutua| Funds ................................................................................................................ 385
15.9.2 Considerations For New|y~Hired RRs .............................................................................................. 385
15.10 Late Trading And iVlarket Timing ........................................................................................................... 386
15.11 Block Letter Restrictions ....................................................................................................................... 387
15.12 Communications ................................................................................................................................... 388
15.13 Disclosure Of Materia| Facts ................................................................................................................. 388
15.14 Disclosure Of Feesl Expenses And Performance ................................................................................ 389
15.15 Prospectuses ........................................................................................................................................ 389
15.16 Retail Communications ......................................................................................................................... 389
15.17 Dealer-Use-On|y Material ..................................................................................................................... 390
15.18 Seminars And Other Pub|ic Presentations ........................................................................................... 390
15.19 Sales Contests And incentive Programs .............................................................................................. 391
15.20 Prompt Transmission Of Applications And Payments .......................................................................... 391
15.21 Redemption Of Outside Funds ............................................................................................................. 392
15.22 Ciosed-End Funds ................................................................................................................................ 392
15.22.1 Business Development Companies (BDCs) .................................................................................. 393
15.23 Leveraged Loan Products ..................................................................................................................... 393
15.24 Unit investment Trusts (UiTs) ............................................................................................................... 393
15.24.1 Suitabi|ity ....................................................................................................................................... 394
15.24.2 Primary Offerings ........................................................................................................................... 394
15.24.3 Secondary Market Transactions .................................................................................................... 394
15.24.4 Other Sales Practice Considerations ............................................................................................. 394
15.25 Funds Of Hedge Funds ......................................................................................................................... 394
15.25.1 Characteristics And Risks Of Hedge Funds .................................................................................. 395
15.26 Exchange-Traded Funds (ETFs) .......................................................................................................... 395
16 OPTiONS ....................................................................................................................................................... 396
17 MARG|N ......................................................................................................................................................... 396
18 PRlVATE PLACEMENTS AND OFFER|NGS ................................................................................................ 396
18.1 introduction ............................................................................................................................................. 396
18.1.1 Deiinition Of Terms .......................................................................................................................... 396
18.1.2 "Private Placement" Deflned ........................................................................................................... 397
18.2 Private investment in Pub|ic Equity (PiPE) ............................................................................................. 398
18.2.1 introduction ...................................................................................................................................... 398
18.2.2 Underwriting ..................................................................................................................................... 398
18.2.3 Comp|iance Notitication ................................................................................................................... 398
18.2.4 Registration Statement integration .................................................................................................. 398
18.2.5 Eiigibie investors .............................................................................................................................. 399
18.2.6 Marketing Restrictions ..................................................................................................................... 399
18.2.7 information Fiow .............................................................................................................................. 400
18.3 Blue Sky Requirements .......................................................................................................................... 402
18.4 A|pine's Participation in Private Placements ........................................................................................... 402
18.4.1 Due Diligence .................................................................................................................................. 402
18.4.2 Agreement Vlhth The issuer ............................................................................................................. 403
18.4.3 Dol|ar Amount Of The Offering And integration issues ................................................................... 403
18.4.4 Form D ............................................................................................................................................. 403
18.4.5 Submissions To F|NRA ................................................................................................................... 403
18.5 Sales Of Private Placements .................................................................................................................. 403
18.5.1 Suitabi|ity ......................................................................................................................................... 404
18.5.2 Restricted Nature Of Private Placement Securities ......................................................................... 404
18.5.3 Purchaser Questionnaires ............................................................................................................... 404
18.5.4 Purchaser Representatives ............................................................................................................. 404
18.5.5 Offering Memorandum ..................................................................................................................... 405
Alpine Securities Corporation - xiv - August 29, 2014

ALPINE_LITI 683 09

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 17 of 71

18.5.6 Orai Representations ....................................................................................................................... 405
18.5.7 Offeree Access To information ........................................................................................................ 405
18.5.8 So|icitation ....................................................................................................................................... 406
18.5.9 investment Seminars Or Meetings .................................................................................................. 406
18.5.10 Subscription Agreements .............................................................................................................. 407
18.6 Regu|ation D ........................................................................................................................................... 408
18.6.1 Disquaiiiication Of Feions And Other "Bad Actors" ......................................................................... 408
18.6.2 Due Diligence .................................................................................................................................. 409
18.6.3 investigation Practices ..................................................................................................................... 409
19 CORPORATE SECUR|T|ES UNDERWR|T|NG ............................................................................................ 411
19.1 Deal File .................................................................................................................................................. 411
19.2 Managing Underwriter ............................................................................................................................. 412
19.2.1 Letter Of intent ................................................................................................................................. 412
19.2.2 Due Diligence .................................................................................................................................. 412
19.2.3 Net Capital Considerations .............................................................................................................. 413
19.2.4 Forming The Unden/vriting Group .................................................................................................... 413
19.2.5 Underwriting Compensation ............................................................................................................ 413
19.2.6 Preiiminary And Final Prospectuses ................................................................................................ 414
19.2.7 Regu|atory Fi|ings And Notifications ................................................................................................ 414
19.2.8 Road Shows .................................................................................................................................... 418
19.2.9 Pricing The Underwriting ................................................................................................................. 418
19.2.10 Aftermarket Activities ..................................................................................................................... 419
19.3 Syndicate Niember Procedures ............................................................................................................... 420
19.3.1 Tombstone Ads ................................................................................................................................ 420
19.3.2 Research ......................................................................................................................................... 421
19.4 Se||ing Group Niember Procedures ......................................................................................................... 421
19.4.1 Retuming Unso|d Ailotment ............................................................................................................. 421
19.4.2 Tombstone Ads ................................................................................................................................ 421
19.4.3 Research ......................................................................................................................................... 421
19.5 Communications Around The Time Of Registered Offerings ................................................................. 422
19.5.1 Categories Of issuers ...................................................................................................................... 422
19.5.2 Other Detinitions .............................................................................................................................. 422
19.5.3 Permitted Offering Activity And Communications ............................................................................ 423
19.6 Sales To The Pub|ic ................................................................................................................................ 423
19.6.1 indications Of interest ...................................................................................................................... 423
19.6.2 Conditiona| Offers ............................................................................................................................ 423
19.6.3 Prospectuses And Confirmations To Purchasers ............................................................................ 424
19.6.4 Restrictions On Purchase And Saie Of iPOs Of Equity Securities ................................................. 425
19.6.5 Disclosure Of interest in Distribution ............................................................................................... 430
19.6.6 State Blue Sky Requirements .......................................................................................................... 430
19.6.7 Canceiiation Po|icy .......................................................................................................................... 431
19.6.8 Designated Orders ........................................................................................................................... 431
19.6.9 Securities Taken in Trade ................................................................................................................ 431
19.6.10 F|ipping .......................................................................................................................................... 431
19.7 Transactions Wlth Related Persons ........................................................................................................ 431
19.8 Trading Restrictions Whi|e Participating in A Distribution ....................................................................... 432
19.8.1 Distribution Participant Restrictions ................................................................................................. 432
19.8.2 issuer And Se||ing Security Ho|der Restrictions .............................................................................. 433
19.8.3 Short Sales ...................................................................................................................................... 433
19.8.4 Prohibited Conduct .......................................................................................................................... 433
19.9 Market Making Activities ......................................................................................................................... 434
19.10 Regu|ation S Underwritings .................................................................................................................. 434
19.10.1 introduction .................................................................................................................................... 434
19.10.2 Purchaser Questionnaires ............................................................................................................. 435
19.10.3 iVionitor Of Purchasers ................................................................................................................... 435
19.11 Regu|ation A Offerings .......................................................................................................................... 435
19.11.1 introduction .................................................................................................................................... 435
19.11.2 Dol|ar Limitation Of Offenng .......................................................................................................... 436
Alpine Securities Corporation - xv - August 29. 2014

ALPINE_LIT168310

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 18 of 71

19.11.3 initiation Of Offers And Sales ........................................................................................................ 436
19.12 Best Efforts Underwritings .................................................................................................................... 436
19.12.1 introduction .................................................................................................................................... 437
19.12.2 Customer Funds - Escrow Account ............................................................................................... 437
19.12.3 Purchasers ..................................................................................................................................... 437
19.13 Prohibited Activities ............................................................................................................................... 437
19.13.1 |Viisrepresentation Of Registration Vlhth Regu|ators ...................................................................... 437
19.13.2 Anti-Competitive Activities ............................................................................................................. 438
19.13.3 Tying .............................................................................................................................................. 438
19.13.4 Laddering ....................................................................................................................................... 438
19.13.5 Quid Pro Quo ................................................................................................................................. 438
19.13.6 Spinning ......................................................................................................................................... 438
19.13.7 After-iV|arket Sales ......................................................................................................................... 438
19.13.8 Misrepresenting Pricing ................................................................................................................. 439
20 SUPERV|SORY SVSTEM, PROCEDURES, AND CONTROLS ................................................................... 439
20.1 Confiicts Of interest ................................................................................................................................. 439
20.2 introduction ............................................................................................................................................. 439
20.3 Responsibiiity .......................................................................................................................................... 440
20.4 Controis ................................................................................................................................................... 440
20.4.1 Controis to Ensure Supervisory Procedures Remain Current ......................................................... 441
20.4.2 Designation of Principai for Supervisory Controi Procedures ......................................................... 441
20.4.3 Veriflcation And Testing ................................................................................................................... 441
20.4.4 Creation and Amendment of Supervisory Procedures as a Result of Veritication and Testing ...... 442
20.5 3012 Controis .......................................................................................................................................... 442
20.5.1 Transmittai of Funds ........................................................................................................................ 442
20.5.2 Change of Customer Addresses ..................................................................................................... 445
20.5.3 Change of investment Objectives .................................................................................................... 446
20.5.4 Supervision of Producing Managers ................................................................................................ 446
20.5.5 Risk Management ............................................................................................................................ 448
20.5.6 Outside Auditors .............................................................................................................................. 448
20.6 Written Comp|iance And Supervisory Procedures (WSP) ...................................................................... 448
20.7 Designation of Chief Comp|iance Ocher (CCO) .................................................................................... 448
20.8 Annual Comp|iance Report To Senior Management and The Board of Directors .................................. 449
20.8.1 Annual Report .................................................................................................................................. 449
20.9 Meetings between CEO and CCO .......................................................................................................... 450
20.9.1 Required Language for the Annual Certification ............................................................................. 450
20.10 Direct Market Access ............................................................................................................................ 450
20.11 Cross Reference To Other WSP Supervisory Controi Subjects ........................................................... 455
21 ALPlNE‘S |NFORMATiON DESTRUCT|ON POLICY .................................................................................... 456
21 .1 introduction and Overview ...................................................................................................................... 457
21.1.1 information Destruction Po|icy ......................................................................................................... 457
21 .1 .2 Po|icy Development, implementation and Oversight ....................................................................... 457

21 .1 .3 Emp|oyee Orientationfi` raining ........................................................................................................ 458

21 .1 .4 information Destruction Po|icy ......................................................................................................... 458
21 .2 information Destruction Procedures ....................................................................................................... 459
21.2.1 Paper Media .................................................................................................................................... 459
21.2.2 Other Media Disposai ...................................................................................................................... 459
21 .3 Quaiifications and Selection of an Approved Service Provider .............................................................. 460
21.4 Retention Requirements ......................................................................................................................... 460
21 .4.1 Books and Records/Retention Requirements ................................................................................. 460
21 .4.2 Default Retention Requirement ....................................................................................................... 460
21 .5 Po|icy Comp|iance ................................................................................................................................... 460
21.5.1 Auditing |ntemai Comp|iance ........................................................................................................... 460
21.5.2 Litigation Hoid/Stop Destruction Order ............................................................................................ 460
22 CLEAR|NG OPERAT|ONS ............................................................................................................................ 460
22.1 introduction ............................................................................................................................................. 460
22.2 Regu|ation S~P ........................................................................................................................................ 461
22.3 Correspondent C|earing/Due Diligence of Correspondent Firms ........................................................... 461
Alpine Securities Corporation - xvi - August 29. 2014

ALPINE_LIT 1 6831 1

Case 1:17-CV-O4179-DLC Document 88-16 Fiied 01/19/18 Page 19 of 71

22.3.1 Notification to FINRA Re: Acceptance of New Correspondent Firm ............................................... 462
22.3.2 Minimum Requirements in C|earing/Carrying Agreement ............................................................... 462
22.3.3 Customer Notification Concerning Responsibiiities Aiiocated to Each Party .................................. 463
22.3.4 Responding to Customer Comp|aints Regarding Correspondent Firm Conduct or their Associated
Persons ....................................................................................................................................................... 464
A|pine Securities Corporation - xvii - August 29. 2014

ALPINE_LIT168312

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 20 of 71

misappropriation of funds, or securities, or a conspiracy to commit any of these offenses, or
substantially equivalent activity in a domestic, military or foreign court;

o is a directorl controlling stockholder, partner, ofhcer or sole proprietor of, or an associated person with, a
broker, dealer, investment company, investment advisor, underwriter or insurance company that was
suspended, expelled or had its registration denied or revoked by any domestic or foreign regulatory
body, jurisdiction or organization or is associated in such a
capacity with a bank, trust company or other financial institution that was convicted of or pleaded no
contest to, any felony or misdemeanor in a domestic or foreign court;

~ is a defendant or respondent in any securities- or commodities-related civil litigation or arbitration, is a
defendant or respondent in any financial-related insurance civil litigation or arbitration, or is the subject
of any claim for damages by a customer, broker or dealer that relates to the provision of financial
services or relates to a financial transaction1 and such civil
litigation, arbitration or claim for damages has been disposed of by judgment, award or settlement for an
amount exceeding $15,000. However1 when the member is the defendant or respondent or is the
subject of any claim for damages by a customer, broker or dealer, then the reporting to F|NRA shall be
required only when such judgment, award or settlement is for an amount exceeding $25,000; or

¢ is, or is involved in the sale of any financial instrument, the provision of any investment advice or the
financing of any such activities with any person who is, subject to a "statutory disquaiihcation" as that
term is defined in the Exchange Act. The report shall include the name of the person subject to the
statutory disqualification and details concerning the disqualification;
or

2. an associated person of the member is the subject of any disciplinary action taken by the member involving
suspension, termination, the withholding of compensation or of any other remuneration in excess of $2,500, the
imposition of lines in excess of $2,500 or is othenrvise disciplined in any manner that would have a significant
limitation on the individual's activities on a temporary or permanent basis.

3.14 Money Laundering

[FlNRA Rule 3310; Bank Secrecy Act]

This section provides a brief overview of the empioyee's responsibilities concerning the prevention and detection
of money iaundering. Please refer to the chapter titled "Anti-Money Laundering (AML) Program" for more
detailed information about A|pine's AML Program.

3.14.1 Reports Of AML Non-Compliance And Other Potentia| Crimes

Aii employees are obligated to promptly report to the AML Compiiance Officer or designee any known or
suspected violations of anti-money laundering policies as well as other suspected violations or crimes. if the
potential violation implicates the AML Ofiicer, it should be reported to a senior officer of Aipine. Aii reports are
confidential and the employee will suffer no retaliation for making them.

What to report: Crimes or suspected crimes by individuals (whether associated with Alpine, a customer, or
prospective customer) are required to be reported This includes suspicion that Alpine is being used as a
conduit for criminal activity such as money laundering or structuring transactions (discussed below) to evade the
Bank Secrecy Act reporting requirements There is no clear definition of what constitutes a "crime." if you
believe some improper or illegal activity is occurring, it is your obligation to be attentive and alert to the red flags
and report to the AML Compiiance thcer or designee any new or existing customers who may be engaged in
violations of anti-money laundering regulations.

SAR reports: By iaw, Alpine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a SAR.
Questions regarding SAR filings should be referred to Comp|iance. if you become aware of an unauthorized
disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the Compiiance
Department. Designated Compiiance personnel will be responsible for contacting F|NCEN to report the
unauthorized disclosure.

Alpine Securities Corporation - 31 - August 29. 2014

ALPINE_LIT168343

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 21 of 71

3.14.2 identity Theft

identity thieves use someone‘s personal identifying information to open new accounts and misuse existing
accounts Alpine has established an identity Theft Prevention Program (lTPP) to help detect and prevent identity
theft. Many elements of detecting or preventing identity theft utilize similar techniques to that of the anti-money
laundering (AML) requirements included within these policies.

The |TPP is based on identifying "red fiags" which may indicate an occurrence of identity theft. lt is the
responsibility of all employees to be attentive and alert to the red flags and report to the AML
Compiiance Officer any new or existing customers who may be engaged in violations of anti-money
laundering regulations, identity theft or who have reported an instance of identity theft.

For a list of potential identity theft red fiags, refer to the section titled "Red Flag ldentification and Detection Grid'
located in the ldentity Theft Prevention Program (FTC Fact Act Red Flags Rule) section.

3.15 Emergency Business Recovery Procedures

[F|NRA Rule 4370]

Alpine has a Business Continuity Plan ("BCP") that assigns responsibilities and outlines procedures in the event
of a disaster, emergency or pandemic which impacts the ability of Alpine to continue conducting business (aiso
termed a "significant business disruption"). Examples of a significant business disruption include a regional
power outage; disruption at another company that provides services critical to Aipine; and destruction of an
office or other facilities by natural causes or by other means. The BCP designates employees who are
responsible for employee safety and protection of firm property, records, and customer assets.

in the event cfa disruption, employees will be given instructions by authorized personnel Depending on the
nature of the emergency, it may be necessary to use alternate communication systems; transfer personnel
and/or business activities to alternate office space; or transfer A|pine's business to other brokerage inns or
financial institutions until normal operations can be resumed.

A|pine has established procedures for contacting employees in the event of an emergency. if Alpine conducts a
test of its emergency procedures, ali employees are required to participate as if the emergency were rea|. Past
emergencies affecting the securities industry have shown that preparedness and cooperation are key to
maximizing the safety of employees and minimizing business interruptions. lt is important for all employees to
follow instructions from senior management and other authorized key personnel during any drill or when an
emergency occurs.

Questions regarding A|pine's Business Continuity Plan may be referred to the Chief Operating Officer.

 

 

 

 

 

 

 

 

 

Responsihrrity ' COO
Resources o Business Continuity Records
Frequency o Annuain or as required
¢ Administer the Business Continuity Plan
Action - Perform annual tests for compliance with the policy
~ Copies of A|pine's business continuity plan
Record o Copies of dates in which the plan is tested
Alpine Securities Corporation - 32 ~ August 29. 2014

ALPINE_L1T163344

Case 1:17-cV-O4179-DLC Document 88-16 Fiied 01/19/18 Page 22 of 71

 

devices used to access firm and customer data
Require encryption of data on iaptops and other mobile devices
Limit access to customer information to employees who have a reason to see it
|Vlonitor on an ongoing basis for breaches including review of web server logs to reveal
intrusions
When system intrusions are detected, follow protocol for compromised data
Conduct due diligence/obtain affirmation from third parties with access to hrm data

» issue passwords to authorized personnel including use of strong passwords through
validation or periodic password changes and forced password expiration; disable them
when an authorized person terminates or transfers from an authorized position,
including shared user names and passwords when one of the users terminates or is no
longer an authorized person

~ Provide training to personnel (may be part of annual compliance or other meetings or
media) inciuding: keeping customer information secure and confidentiai; limitations on
use of computers software, access to accounts; locking and securing mobile devices
when not in use; customer breaches: identifying, reporting to CCO or designee
Test systems regularly and correct anomalies

o Conduct periodic audits and review of internal controls and procedures (Comp|iance or
other assigned personnei) including audits of employee computers to confirm
installation of security software and use of encryption; follow up regarding audit findings
(intemal or extemal)

 

 

 

 

A|pine's iT Committee is responsible for developing and implementing procedures to protect A|pine's internal
systems and data.

8.36 Correspondent C|earing

More information about Alpine Securities' correspondent clearing business policies and procedures can be
found in the Chapter titled "Correspondent C|earing/Due Diligence for Correspondent Firms located elsewhere
in this iVianua|.

9 ANTl-MONEY LAUNDER|NG (AML) PROGRAM

9.1 Firm Po|icy

Alpine revised this policy, which became effective on June 30thl 2014.

lt is the policy of Alpine Securities Corporation (Alpine) to prohibit and actively prevent money laundering and
any activities that facilitates money laundering or the funding of terrorist or criminal activities by complying with
ali applicable requirements under the Bank Secrecy Act (BSA) and its implementing regulations

Money laundering is a serious crime potentially related to the funding of terrorist activities it is the subject of
extensive federal regulations that impose requirements on financial institutionsl such as broker-dealers and their
employees to detect and prevent potential money laundering activities Actions to detect and prevent money
laundering is an obligation of each A|pine employee

Money laundering is generally defined as engaging in acts designed to conceal or disguise the true origins of
criminally derived proceeds so that the proceeds appear to have derived from legitimate origins or constitute
legitimate assets Generaliy, money laundering occurs in three stages Cash hrst enters the financial system at
the "piacement" stage, where the cash generated from criminal activity is converted into monetary instruments
such as money orders ortraveler's checks, or deposited into accounts at financial institutions At the "layering"
stage, the funds are transferred or moved into other accounts or other financial institutions to further separate

Alpine Securities Corporation - 153 - August 29. 2014

ALPINE_LIT168465

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 23 of 71

the money from its criminal origin. At the "integration" stage, the funds are reintroduced into the economy and
used to purchase legitimate assets or to fund other criminal or legitimate business activities

Terrorist financing may not involve the proceeds of criminal conduct, but rather an attempt to conceal either the
origin of the funds or their intended use, which could be for criminal purposes Legitimate sources of funds are a
key difference between terrorist inanciers and traditional criminal organizations in addition to charitable
donations, legitimate sources include foreign government sponsors, business ownership and personal
employment A|though the motivation differs between traditional money iaunderers and terrorist linanciers, the
actual methods used to fund terrorist operations can be the same as or similar to methods used by other
criminals to launder funds Funding for terrorist attacks does not always require large sums of money and the
associated transactions may not be compiex.

Engaging in money laundering and terrorist hnancing is a federal crime with severe penalties for those engaged
in the associated criminal activities and those who facilitate, intentionally or inadvertently, money laundering lt is
important that Alpine and all employees remain diligent and active participants in A|pine's Anti-Money
Laundering (AML) Program.

This chapter explains Aipine's Anti-iVioney Laundering (AML) Program. An explanation of money laundering and
guidance for all employees to detect money laundering is included in this chapter. These policies will be updated
and appropriate procedures and action effected when new rules are adopted.

9.1.1 Background

The Currency and Foreign Transactions Reporting Act, also known as the Bank Secrecy Act (BSA), and its
accompanying regulation, is a tool the U.S. government uses to fight drug trafhcking, money laundering, and
other crimes Congress enacted the BSA to prevent financial service providers (such as banks and broker-
deaiers) from being used as intermediaries for, or to hide the transfer or deposit of, money derived from criminal
activity. Money laundering schemes may include the use of wire transfers, cash, bearer instruments travelers'
checksl money orders cashiers' checks and other negotiable instruments

Alpine is required to comply with the reporting, recordkeeping, and record retention requirements of the BSA
The requirements govern the payment, receipt, or transfer of currency within, into and out of the U.S. and
foreign financial transactions and accounts

9.2 AML Officer Designation and Duties

[NAso Ruie 1160; FiNRA Rule 331 o(d) and 3310.02]
Ru|es/Resources: F|NRA Rule 3310; Bank Secrecy Act, 31 C.F.R. 103.120(c)

Alpine has designated an AML Officer who is responsible for overseeing A|pine's anti-money laundering
program, developing policies procedures and internal controls reasonably designed to achieve compliance with
AML rules and regulations Please refer to Aipine's Form BD for the contact name of the AML Officer. The AML
Officer has a working knowledge of the BSA and its implementing regulations and is qualified by experience,
knowledge and training. The duties of the AML Officer or designee will also include monitoring the firm’s
compliance with AML obligations and overseeing communication and training for employees The AML Officer
or designee will also ensure that suspicious activity reports (SAR-SFs) are filed with the Financial Crimes
Enforcement Network (FinCEN) when appropriate

Contact the AML Officer or designee whenever you have questions about Aipine's program, a current or
prospective account, or activities or transactions that raise questions about potential money laundering or other
illicit activities You may also provide information anonymousiy to the AML Oflicer or designee. The AML Officer
or designee is responsible for investigating suspected money laundering activities and taking corrective action
when necessary_

Alpine Securities Corporation - 154 - August 29. 2014

ALPINE_LIT168466

Case 1:17-cV-O4179-DLC Document 88-16 Fiied 01/19/18 Page 24 of 71

9.3 Updates to the F|NRA Contact System
Rules/Resources: 31 C.F.R. § 103.120; F|NRA Rule 3310, NASD Rule 1160.

 

¢ CCO or designee

 

 

Responsibi|ity
Resources o F|NRA Contact System
As required as material information becomes inaccurate; and
Frequency o Annual conhrmations within 17 business days following the end of the calendar year

 

o Provide AML thcer name and contact information to F|NRA via the F|NRA Contact
System (FCS), initially

o Notify F|NRA promptly of any material changes in the Ail/lL Officer’s contact information

Action for the AML Officer within 30 days following the change.

o Confirm information via F|NRA Contact System (FCS) annually within 17 business days
following the end of the calendar year

 

Record v Updates via F|NRA Contacts System (through F|NRA Gateway)

 

 

 

 

Alpine will provide F|NRA with contact information forthe AML Officer, including: (1) name; (2) tit|e; (3) mailing
address; (4) email address; (5) telephone number; and (6) facsimile number through the F|NRA Contact System
(FCS) within 30 days following the material change. The CCO or designee will promptly notify F|NRA of any
material change in this information through FCS and will review, on an annual basis and if necessary update,
this information within 17 business days after the end of each calendar year.

9.4 General Summary of AML Officer Duties
Rules/Resources: NASD Rule 1160; F|NRA Rule 3310(d) and 3310.02

 

Resp°nsib"ity ~ AML Officer or designee

 

Computer reports and other programs developed for the Program
internal audits or outside audits of the Program

Regu|ations and rules for broker-dealer anti-money laundering programs
OFAC web site

Other sites and resources available

Resources

 

Annual - review policies and procedures

Annual and more frequently, as needed - develop and schedule AML education for

employees

o As needed - update program and provide revisions to senior management for review
and approval of material changes Non-materia| changes to the AML Po|icy will not

Frequency require senior management approval

o Annual|y - review AML contact information on file through the FINRA Contact System

(FCS)

Ongoing - review new regulations

Ongoing - monitor activity

 

 

 

 

Action o Develop and update Aipine's anti-money laundering program

 

Alpine Securities Corporation - 155 - August 29. 2014

ALPINE_LIT168467

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 25 of 71

 

o Obtain senior management approval for any material changes to the program or policy
Monitor (or designate monitoring) the activity of A|pine, its associated persons and
customers to reasonably detect and prevent money laundering activities

Develop AML education program for employees and schedule training

File required reports

Retain required records

Provide contact information via the FINRA Contact System (FCS) and update contact
information if necessary

 

o Designation of AML thcer

~ Retain current and past copies of anti-money laundering program with senior
management approva|, when and where senior management approval is required

¢ Retain records of AML education including who attended, date of training, and material
covered

o Reports filed along with supporting documentation, where applicable
Retain other records as listed in the Program

Record

 

 

 

 

9.5 Giving AML information to Federai Law Enforcement Agencies and
Other Financial institutions

9.5.1 Requests and Written Notices From Enforcement Agencies

Under the Bank Secrecy Act, financial institutions are required to respond to federal banking agency requests
for information relating to anti-money laundering compliance The Rule requires provision of information and
account documentation for any account opened, maintained, administered or managed in the U.S. The AiViL
Officer or designee maintains records of information provided in response to regulators' requests including the
request, date of response, and information provided.

9.5.2 Federai Banking Agency Requests - 120 Hour Rule
Rules/Resources: USA PATR|OT Act Section 319(b)

Upon receiving a request from a Federai banking agency, the AML Officer or designee will provide the
requested information within 5 days (120 hours) of receiving the requesth will make available the information
for inspection by the banking agency.

9.5.3 FinCEN Requests Under USA PATR|OT Act Section 314(a)

Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart E; USA PATRIGT Act Section 314;

FinCEN 314(a) Fact Sheet: http://www.fincengov/statutes regs/patriot/gdf/314afactsheet.gdf, 31 C.F.R. 7
103.100.

Resources:FinCEN press release (2/6£)3),'FinCEN press release (2/12/032,'NASD Member Alert
{2/14/032,'FinCEN's 314(a) Fact Sheet (1 1/1 8/081, Frequentiy Asked Questions (FAQs)

 

Resp°nsib"ity o AiVlL Officer or designee

 

Resources ~ Deposit records, purchase/sale records, account records, other records as required

 

 

 

 

Alpine Securities Corporation - 156 - August 29, 2014

ALPINE_LIT168468

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 26 of 71

 

Frequency o Upon request

 

Conduct a search of the required records

if a match is found, submit the Subject information Form to FinCEN using the Secure
Action information Sharing System

o Retain copy of 314(a) list received

 

Retain copies of the request
Notate date of review and initial or sign the 314(a) list received
information submitted (if a match is found) are retained in a FinCEN information
request file
¢ Sign or initial 314(a) Search Seif-Verification Page and retain

Record

 

 

 

 

The Financial Crimes Enforcement Network (FinCEN) sends law enforcement requests to financial institutions
under Section 314(a) of the USA PATR|OT Act, on typicaiiy, a bi-weekly basis

A|pine will respond to a Financial Crimes Enforcement Network (FinCEN) 314(a) Request concerning accounts
and transactions by immediately searching our records to determine whether we maintain or have maintained
any account for, or have engaged in any transaction with, each individuai, entity or organization named in the
314(a) Request as outlined in the Frequentiy Asked Questions (FAQ) located on FinCEN’s secure Web site
Alpine understands that we have 14 days (uniess otherwise specified by FinCEN) from the transmission date of
the request to respond to a 314(a) Request. if the search parameters differ from those mentioned above (for
example, if FinCEN limits the search to a geographic location), the AML Ocher or designee will structure the
search accordingiy. Unless othenivise stated in the 314(a) Request or specified by FinCEN, Alpine is required to
search those documents outlined in FinCEN’s FAQ . if A|pine finds a match, the AML thcer or designee will
report it to FinCEN using FinCEN’s Secure information Sharing System. if we hnd a match with a named
subjectl the AML Officer or designee can stop its search on that subject; as we are not required to search our
records further for other matches with that specific subject unless and until we have been contacted by the
requesting federal law enforcement agency for additional information. if the 314(a) Request contains multiple
subjects the AiVlL thcer or designee will continue to search our records for an account or transaction matching
any of the other named subjects The AML Officer or designee will ensure that all searches have been
completed prior to reporting any matches as we will not be able to submit the response more than once for any
review period. The AML Officer or designee should not send any record of an account or a transaction (other
than a report, as described above, notifying FinCEN of a match) when responding to a 314(a) Request

if the AML Oflicer or designee searches Aipine's records and does not find a matching account or transaction,
then the AML Officer or designee will not reply to the 314(a) Request. Alpine will maintain documentation that
we have performed the required search by following the processes outlined above

Alpine will not disclose the fact that FinCEN has requested or obtained information from us, except to the extent
necessary to comply with the information request. The AML Officer or designee will review, maintain and
implement procedures to protect the security and confidentiality of requests from FinCEN similar to those
procedures established to satisfy the requirements of Section 501 of the Gramm-Leach-Bliley Act with regard to
the protection of customers' nonpublic information

Unless otherwise stated in the 314(a) Request, Alpine will not be required to treat the information request as
continuing in nature, and Alpine will not be required to treat the periodic 314(a) Requests as a government
provided list of suspected terrorists for purposes of the customer identification and verification requirements

Alpine Securities Corporation - 157 - August 29, 2014

ALPINE_LIT168469

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 27 of 71

9.5.4 National Security Letters

Ru|es/Resources: FinCEN SAR Activity Review Trendsl Tigs & issues issue 8 (Nationa| Security Letters and
Suspicious Activity Reporting) (4/2005).

National Security Letters (NSLs) are written investigative demands that may be issued by the local Federai
Bureau of investigation and other federal government authorities conducting counterintelligence and
counterterrorism investigations to obtain, among other things financial records of broker-dealers NSLs are
highly conhdential. No broker-dealer, officer, employee or agent of the broker-dealer can disclose to any person
that a government authority or the FB| has sought or obtained access to records Alpine has policies in place to
process and maintain the confidentiality of NSLs. if we file a Suspicious Activity Report (SAR-SF) after receiving
a NSL. the SAR-SF should not contain any reference to the receipt or existence of the NSL.

9.5.5 Grand Jury Subpoenas

Resources: FinCEN SAR Activig¢ Reviewl Trendsl Tips & issues issue 10 (Grand Jug¢ Subpoenas and
Suspicious Activigj Regorting) (5/2006).

Alpine understands that the receipt of a grand jury subpoena concerning a customer does not in itself require
that we file a Suspicious Activity Report (SAR-SF). Alpine further understand that none of our oflicers,
employees or agents may directly or indirectly disclose to the person who is the subject of the subpoena its
existence, its contents or the information we used to respond to it. To maintain the coniidentiality of any grand
jury subpoena we receive, Alpine will process and maintain the subpoena in accordance with our departmental
policies and procedures if A|pine nies a SAR-SF after receiving a grand jury subpoena, the SAR-SF will not
contain any reference to the receipt or existence of the subpoena. The SAR-SF will only contain detailed
information about the facts and circumstances of the detected suspicious activity.

9.5.6 Vo|untary information Sharing with Other Financial institutions Under USA
PATRIOT Act Section 314(b)

9.5.6.1 information Sharing Between Financial institutions

Ru|es/Resources: USA PATR|OT Act Section 314(b); Bank Secrecy Act 31 CFR Chapter X Pait 1023 Subpart
E; FinCEN certification: http://www.fincen.gov/fi infoaggb.htmi, Ruie: 31 C.F.R. § 103.110., FinCEN Financial

institution Notification Form; F|N-2009~G002: Guidance on the Scope of Permissible information Sharing
Covered by Section 314(b) Safe Harbor of the USA PATR|OT Act j06/16/2009).

Alpine will share information with other financial institutions regarding individuals entities organizations and
countries for purposes of identifying and. where appropriate reporting activities that we suspect may involve
possible terrorist activity or money laundering. The AML Officer or designee will ensure that the firm files with
FinCEN an initial notice before any sharing occurs and annual notices thereafter. Alpine will use the notice form
found at FinCEN’s Web site. Before Alpine shares information with another financial institution, A|pine will take
reasonable steps to verify that the other Hnancial institution has submitted the requisite notice to FinCEN, either
by obtaining confirmation from the financial institution or by consulting a list of such financial institutions that
FinCEN will make available Alpine understands that this requirement applies even to financial institutions with
which we are affiliated and that Alpine will obtain the requisite notices from afhliates and follow ali required
procedures

Alpine will employ strict procedures both to ensure that only relevant information is shared and to protect the
security and confidentiality of this informationl for example by segregating it from the firm’s other books and
records

Alpine also will employ procedures to ensure that any information received from another hnancial institution shall
not be used for any purpose other than:

¢ identifying and, where appropriate reporting on money laundering or terrorist activities
¢ Determining whether to establish or maintain an account, or to engage in a transaction; or

Alpine Securities Corporation - 158 - August 29, 2014

ALPINE_LIT168470

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 28 of 71

o Assisting the financial institution in complying with performing such activities

9.5.6.2 Joint Fi|ing of SARS by Broker-Dea|ers and Other Financial institutions
Ru|es/Resources: 31 C.F.R. §103.19; 31 C.F.R. § 103.38; 31 C.F.R. § 103.110.

Alpine may file joint SARs in certain circumstances Alpine may share information about a particular suspicious
transaction with any broker-dealer, as appropriate involved in that particular transaction for purposes of
determining whether we will file jointly a SAR-SF.

lf Alpine determines it is appropriate to jointly file a SAR-SF, Alpine understands that we cannot disclose that we
have filed a SAR-SF to any financial institution except the financial institution that is hiing jointly. if Alpine
determine it is not appropriate to file jointly (e.g., because the SAR-SF concerns the other broker-dealer or one
of its employees), Alpine understands that we cannot disclose that we have filed a SAR-SF to any other
financial institution

9.5.6.3 Sharing SAR-SFs with Parent Companies

Ru|es/Resources: FinCEN Guidance on Sharing of Suspicious Activig¢ Reports by Securities Broker-Dealersx
Futures Commission i\/ierchantsl and introducing Brokers in Commodities (1/20/06).

Because Alpine is a subsidiary, Alpine may share SAR-SFs with its parent company, if the financial institution
has filed a current 314(b) information sharing form with FinCEN. Before Alpine shares SAR-SFs with our parent
company, Alpine will have in place written confidentiality agreements or written arrangements that Aipine's
parent company protects the confidentiality of the SAR-SFs through appropriate internal controls

9.6 Checking the Office of Foreign Assets Controi (OFAC) Listings

Ru|es/Resources: Dept. of Treasury, various statutes; OFAC web site
(http:/lwww.treasgov/offices/enforcement/ofac/); Foreign Assets Controi Regu|ations For The Securities
industry (http:I/www.treas.gov/othces/enforcement/ofaclregulations/t11facsc.pdf),SEC AML Source Tooi item
Q; OFAC Lists Web page (including links to the SDN List and lists of sanctioned countries); F|NRA's OFAC
Search Tool. You can also subscribe to receive updates on the OFAC Subscription Web page See also the
following OFAC forms: Blocked Progerties Reporting Form; Vo|untary Form for Reporting Blocked Transactions;

Vo|untary Form for Reporting Reiected Transactions; OFAC Guidance Reqardinq Foreicin Assets Controi

Regu|ations for the Securities industg(.

 

 

RR for a new account
OSJ Branch Manager and/or President or their designees ("Designated Supervisor(s)”)

Resp°ns'b'|'ty AML Officer or designee, where designated

 

Name / Entity search based on above referenced OFAC web site

Comparison search program provided by CSS Hosted Solutions, LLC, (hereafter
Resources referred to as the OFAC screening report)

~ Other sites identihed below (such as Www. treas gov/ofac or Www.fincen. gov

 

~ At the time that a new account is opened
o Daily for the OFAC screening report

Frequency o Weekiy for the following reports:

Account Activity in Non-Cooperative and Blocked Countries Report
Account in Non-Cooperative Countries Report

 

 

 

 

Alpine Securities Corporation - 159 - August 29, 2014

ALPINE_LIT168471

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 29 of 71

 

- Foreign Account Activity Report

 

¢ RR shall perform an OFAC search for each new customer and attach results to the new
account card

o Designated Supervisor(s) approving the new account shall only approve an account if
an OFAC search is attached to the new account card. if a positive identification is
made, the AML Compiiance Officer or designee shall be notified immediateiy.

AML Officer or designee: if a positive identification is found,

1. Block accounts subject to sanctions

2. Cancel open orders for blocked accounts

3 Notify the OSJ Branch Manager and the account‘s RR, when an account or security is
blocked

Action

4. Notify OFAC by FAX within 10 days of blocking an account
5. Notify Dreyfus Service Corporation with respect to funds in a blocked account having
been swept into the Dreyfus Money Market account.
AML thcer or designee:

Review, initial (or sign), date and retain the OFAC screening report
o Maintain log of blocked accounts

 

Record of each new account accompanied by the OFAC search results
~ OFAC screening report results subsequent OFAC searches undertaken, if any, and
Record any actions taken
o Notifications to OFAC

 

 

 

 

The U.S. Treasury Department's thce of Foreign Assets Controi (OFAC) is responsible for publishing sanctions
against persons corporations and other entities including foreign governments that have been identified by the
U.S. Government as engaging in criminal activities including drug trafficking and terrorist activities OFAC
requirements apply to all persons and entities under U.S. jurisdiction, including foreign branches of U.S.
institutions This also includes foreign institutions that operate in the U.S. Alpine is obligated to check its
accounts against the lists of biockings to ensure it does not engage in prohibited transactions which include
securities transactions and transfer of assets out of a blocked account or to a blocked person or entity. Alpine
has procedures to monitor the OFAC lists and comply with requirements to block property and notify OFAC
when required. Questions regarding Aipine's program should be referred to the AML Officer or designee More
information is also available at the OFAC web site at wWW.treas.gov/ofac.

Before opening an account, and on an ongoing basis the parties enumerated above will check to ensure that a
customer does not appear on the SDN list or is not engaging in transactions that are prohibited by the economic
sanctions and embargoes administered and enforced by OFAC prior to approving or opening an account.

Because the SDN list and listings of economic sanctions and embargoes are updated frequently, Alpine will
consult them on a regular basis and subscribe to receive any available updates when they occur. With respect
to the SDN iist, Alpine may also access that list through various software programs to ensure speed and
accuracy. See alsoFiNRA's OFAC Search Too| that screens names against the SDN iist.

if Alpine determines that a customer is on the SDN list or is engaging in transactions that are prohibited by the
economic sanctions and embargoes administered and enforced by OFAC, we will reject the transaction and/or
block the customer's assets and file a blocked assets and/or rejected transaction form with OFAC within 10
days. Alpine will also call the OFAC Hotiine at (800) 540-6322 immediately

The property of sanctioned persons or entities will be blocked and transfer of assets prevented for persons or
entities included on the OFAC list of blocked persons or entities in addition, Alpine will block securities issued

Alpine Securities Corporation - 160 - August 29, 2014

ALPINE_LIT168472

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 30 of 71

by sanctioned countries and other sanctioned issuers information about sanctions is divided into several
categories including:

Persons and entities subject to sanctions Special Designated Nationals and Blocked Persons (SDN list)
Persons and entities engaged in drug trafficking, Specially Designated Narcotics Traiiickers (SDNTKs)
Terrorists and terrorist organizations Specially Designated Terrorists (SDTs)

Countries governments and other entities subject to sanctions

The term "OFAC iist" in this section includes ali sanctions published by OFAC even though the information may
appear in multiple lists

9.6.1 Prohibited Transactions

Alpine is prohibited from conducting transactions in any account on behalf of a sanctioned party or in certain
blocked securities Securities and funds may not be released and securities transactions may not be executed.
Securities and funds may be deposited to a blocked account, but no securities or funds will be released until the
account is no longer subject to sanctions Funds or securities may not be transferred to sanctioned parties

Because transactions are prohibited, all open orders for a blocked account will be cancelled

9.6.2 Blocking Requirements
Blocking requirements are generally triggered under the following circumstances

An account is opened for someone included on an OFAC list.

The owner of an existing account is added to an OFAC iist.

A security is identified in a customer account where the issuer is the subject of sanctions

A request is made by a customer to pay or transfer funds or securities to a blocked person or entity.

Whi|e title to blocked property remains with the blocked person or entity, transactions affecting the property
(including transfer of the assets) cannot be made without authorization from OFAC. Debits to blocked accounts
are prohibited, but credits may be accepted Cash balances in blocked accounts must earn interest at
commercially reasonable rates Blocked securities may not be paid, withdrawn, transferred (even in book
transfer), endorsed, guaranteed, or othenivise dealt in.

it is not a violation to open an account for a blocked person. The violation occurs when the account is not frozen
and assets are allowed to transfer out of the account. in addition, OFAC restrictions may vary depending on the
blocked person or entity; details of blocking requirements are explained on the OFAC web site

9.6.3 Monitoring Procedures
Monitoring is to be conducted as follows:

o Operations personnel and Supervisors approving new accounts are provided with a list of the countries
included on the OFAC countries listl to watch for new accounts to be opened for or requests to transfer
funds or securities to residents of those countries The AML Officer or designee shall provide an
updated list each month by email to ali operations personnel and supervisors

o A|pine's retail sales staff undertakes an OFAC search utilizing the www.treas.gov/ofac web site for each
new account and attaches the OFAC search results to the new account form.

o Aipine's AML Officer or designee performs a daily review of the OFAC screenings report provided by
CSS Hosted Solutions, LLC. The OFAC screening report identifies potential matches to the OFAC SDN
List or Speciaiiy Designated Nationais Aiias List for new or changed accounts in addition, the AML
Officer or designee performs a bi-weekiy review of the following reports for trade and/or transmittal
activities involving accounts that reside in a non-cooperative countries and/or blocked countries

o Account Activity in Non-Cooperative and Blocked Countries Report
o Account in Non-Cooperative Countries Report

Alpine Securities Corporation - 161 ~ August 29, 2014

ALPINE_LIT168473

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 31 of 71

o Foreign Account Activity Report:

To evidence review, a report is produced that is reviewed. initialed (or signed) and retained by the AML thcer
or designee

9.6.3.1 Other Requests To Monitor Accounts

Regu|ators or law enforcement agencies may ask the industry's cooperation in identifying accounts for
individuals or entities under investigation or suspected of criminal activities

The AML Officer or designee is responsible for responding to such requests; providing the necessary
information; and retaining records of requests reviews conducted pursuant to requests and information
provided to authorities

9.6.4 Blocking Property And Disbursements

Any blocked account will not be permitted to engage in transactions other than the acceptance of deposits of
funds or securities Open orders of blocked accounts will be cancelled

Disbursements of funds or securities may not be made to sanctioned parties The AML thcer or designee will
instruct Aipine's Operations Department to withhold requests for disbursements from blocked accounts and will
maintain a log of all accounts that have been blocked

9.6.4.1 Reporting Blocked Property And Legai Actions

When an account or disbursement is blocked or a blocked security is identified OFAC will be notified within 10
days of biocking. if Alpine blocks an account or security. the AML Officer or designee will file the necessary
report with OFAC. The AML thcer or designee will be responsible to retain copies of reports filed by Alpine in a
file of blocked accounts or securities information to be reported includes

Owner or account party

Property and property location

Account number

Actual or estimated value

Date property was blocked

Copy of the payment or transfer instructions

Confirmation that funds have been deposited in a blocked account that is identihed as blocked
Name and phone number of Aipine's AML Officer

For rejected disbursements the following information is to be hied:

Name and address of the transferee financial institution
Date and amount of the transfer

Copy of the payment or transfer instructions

Basis for rejection

Name and phone number of Aipine's AML Officer

U.S. persons involved in iitigation, arbitration, or other binding alternative dispute resolution proceedings
regarding blocked property must provide notice to OFAC. Copies of all documents associated with the
proceedings will be submitted by the AML Officer or designee to the OFAC Chief Counsei at the U.S. Treasury
Department within 10 days of their filing. in addition, information about the scheduling of any hearing or status
conference will be faxed to OFAC’s Chief Counse|.

Alpine Securities Corporation - 162 - August 29, 2014

ALPINE_LIT168474

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 32 of 71

9.6.4.2 Annual Report Of Blocked Property

On an annual basis by September 30th, the AML Officer or designee shall file Form TDF 90-22.50 with OFAC
for any blocked property held as of June 30.

9.6.5 Pena|ties for Non-Comp|iance with OFAC Ru|es and Regu|ations

Depending on the program, criminal penalties for willful violations can include fines ranging up to $20 million and
imprisonment of up to 30 years and up to $1,075,000 in civil penalties for each violation.

9.7 Customer identification Program (C|P)

Rules/Resources:USA PATR|OT Act Section 326; Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart B;
F|NRA Notice to Niembers 03-34; FinCEN Frequentiy Asked Questions: http:/lwww.fincen.gov/cip__faq.htmi;

FinCEN No-Action position on ClP requirements under clearing arrangements FlN-2008-6002; Guidance on
Obtaining and Retaining Beneficia| Ownership information, FinCEN Guidance FlN-2010-GOO1 March 5, 2010

in addition to the information Alpine must collect under F|NRA Rule 2010 (Standards of Commerciai Honor and
Principies of Trade), F|NRA Rule 2111 (Recommendations to Customers - Suitabi|ity), NASD 3110 (Books and
Records) and Securities Exchange Act of 1934 (Exchange Act) Ru|es 17a-3(a)(9) (Beneficiai Ownership
regarding Cash and Margin Accounts) and 17a-3(a)(17) (Customer Accounts), Alpine has established
documented and maintained a written Customer identification Program (ClP). Alpine will collect certain minimum
customer identification information from each customer who opens an account; utilize risk-based measures to
verify the identity of each customer who opens an account; record customer identification information and the
verification methods and results provide the required adequate ClP notice to customers that Alpine Wiii seek
identification information to verify their identities; and compare customer identification information with
government-provided lists of suspected terrorists once such lists have been issued by the govemment.

Requirements for employees opening accounts as explained in the chapter ACCOUNTS are duplicated in this
section to consolidate ali AML requirements within this chapter.

9.7.1 Required Customer lnfonnation

Prior to opening an account, Alpine will collect the following information for ali accounts if applicable for any
person, entity or organization that is opening a new account and whose name is on the account, absent some
exceptions

Name
Date of birth, for an individual
Address:

o for an individuai, residential or business street address if no street address exists or is
available an APO or FPO box number or the residential or business street address of a next of
kin or another contact individual

o for a non-individual (corporationl trust, etc.) a principal place of business local office, or other
physical location.

o Taxpayer identification number for a U.S. person (U.S. citizen or non-individual established or
organized under U.S. or state laws).

o identification number for non-U.S. person which may include a taxpayer lD number; passport
number and country of issuance; alien identification card number; or the number and country of
issuance of any other government-issued document evidencing nationality or residence and bearing a
photo or similar safeguard

in the case of a customer who has applied for a taxpayer identification number but has not yet received
it, notation must be made on the new account application that the taxpayer iD has been applied for. The

account will be restricted to liquidating transactions if the taxpayer lD number is not received within 30 days of
opening the account

Alpine Securities Corporation - 163 - August 29, 2014

ALPINE_LIT168475

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 33 of 71

Alpine may rely on another financial institutional to obtain this information, prior to opening an account Please
refer to the section titled llReliance on Another Financial institution for identity Verihcation". The use of the term
"customer" in this section is also intended to include prospective customers

9.7.1.1 Customer identity Verification
This section is duplicated from Chapter 11.

 

Resp°nsibi"ty o OSJ Branch Manager, President or their designees (“Designated Supervisor(s) )

 

Resources o New account application and other customer lD information

 

Frequency - When accounts are opened

 

o Before the Designated Supervisor approves an account determine that customer
identification (iD) verification information is included with the new account application
and that it meets Aipine's requirements

o For non-documentary verification, check the information included with the new account

Action application for completeness and consistency with other customer-provided information
(name, address phone number, taxpayer lD number, etc.)

o For unacceptable verification information (incompiete, inconsistent), return the
application to the RR for further information or disapprove the account

 

o Each Customer file shall contain the New Account Application and records that include
customer |D verification as well as the Designated Supervisor's signature signifying

Record approval

 

 

 

 

When opening new accounts the customer's identity must be veriiied, as required by federal law. Customer
identihcation (iD) information must be completed on the new account application.

9.7.1.2 Exclusions from the ClP Rule
Customer lD verification does NOT apply to accounts for:

» persons with an existing account at Alpine (unless the account requires approval by the AML Officer or

designee)

c banks

~ governmental entities

¢ issuers of listed equity securities

- other financial institutions subject to regulation by the SECl CFTC, Federai Reserve Board, OCC, FDiC,
Office of Thrift Supervision, or the National Credit Union Administration

o persons opening accounts to participate in an ER|SA plan

o intermediaries not identified as the accountholder (such as underlying beneficial owners or sub-account

holders See the section titled “Omnibus and Sub-Accounts” for more information.

9.7.1.3 Customers Who Refuse to Provide information

if a potential or existing customer either refuses to provide the information described above when requested or
appears to have intentionally provided misleading information, Alpine will not open a new account and, after
considering the risks involvedl may consider closing any existing account iri either case our AML Officer or

Alpine Securities Corporation - 164 - August 29. 2014

ALPINE_LIT168476

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 34 of 71

designee should be notified so that we can determine whether we should report the situation to FinCEN on a
SAR-SF.

9.7.1.4 Accounts Requiring Approval By The AML Officer or Designee

The following accounts require review and approval by the AML Officer or designee at the time of opening. The
AML Officer or designee may require additional customer identification information for these accounts

o Numbered accounts (accounts designating a number rather than a name as the account name).

~ Any account requesting confidential handling of its name, mailing of confirmation and statements
etc.

» Accounts domiciled in high risk countries Accounts domiciled in countries identified by OFAC or the
Financial Action Task Force on lVioney Laundering (FATF) as having inadequate anti-money laundering
standards or representing high risk for crime and corruption

o Foreign public officials includes individuals in high offices of foreign governments political party
officials and their families and close associates (if known and/or readily identifiabie).

o Correspondent and Private Banking accounts See the section Due Diligence For Correspondent
And Private Banking Accounts

if the accounts noted above are introduced by a correspondent irm, Alpine may rely on another financial
institution to perform the customer identification program requirements Please refer to the section titled
“Re|iance on Another Financial institution for identity Verification”.

9.7.1.5 Omnibus And Sub-Accoun\s

Ru|es/Resources: SEC Q and A Regarding the Broker-Dealer Customer identification Program Rule, October1,
2003

Omnibus and sub-accounts are sometimes established by or on behalf of financial intermediaries for the
purpose of executing transactions that will clear or settle at another financial institution or for delivering assets to
the custody account of the benehcial owner at another Hnancial institution. Limited information about the
beneficial owner is used primarily to assist the financial intermediary with recordkeeping or to establish sub-
accounts to hold positions to be transferred to another financial institution, Transactions are initiated by the
financial intermediary and the beneficial owner has no direct control over the omnibus or sub-accounts.

Under these circumstances Alpine is not required to look through the intermediary to the underlying beneficial
owners if the intermediary is identified as the accountholder. in the event the intermediary identiiied as the
account holders identity cannot be adequately verified using documentary and non-documentary methods
identity information on the persons or entities controlling the account will be required

9.7.1.6 Third Party Accounts

Please refer to Chapter 11 of Aipine's written supervisory procedures for information on the documentation
requirements for third party accounts in the section titled “Third Party Accounts”.

9.7.1.7 Accounts For Non-|ndividuals

Account documents usually obtained for non-individual accounts (trust instruments corporate authorization,
partnership agreements govemment-issued business license etc.) will usually satisfy customer lD
requirements in the case of corporations a corporate authorization is required. These documents must be
obtained within 30 days of account opening to satisfy the requirement

Alpine Securities Corporation - 165 - August 29, 2014

ALPINE_LIT168477

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 35 of 71

9.7.2 Verifying information

Based on the risk, and to the extent reasonable and practicable Alpine will ensure that we have a reasonable
belief that we know the true identity of our customers by using risk-based procedures to verify and document the
accuracy of the information Alpine receives about our customers The OSJ Branch Manager or designee will
analyze the information we obtain to determine whether the information is suchient to form a reasonable belief
that we know the true identity of the customer (e.g., whether the information is logical or contains
inconsistencies). Vlnth respect to customers introduced by correspondent firm. Alpine will reasonably rely on the
performance of the financial institution with respect to customer verification Please refer to the section titled
“Reiiance on Another Financial institution for identity Verification" for more information.

Alpine will verify customer identity through documentary means non-documentary means or both as
enumerated below. Alpine will use documents to verify customer identity when appropriate documents are
available in light of the increased instances of identity fraud we will supplement the use of documentary
evidence by using the non-documentary means described below whenever necessary Alpine may also use
non-documentary means if Alpine is still uncertain about whether we know the true identity of the customer, in
verifying the information, A|pine will consider whether the identifying information that we receive such as the
customer's name street address zip code telephone number (if provided), date of birth and Sociai Security
number, allow us to determine that we have a reasonable belief that we know the true identity of the customer
(e.g., whether the information is logical or contains inconsistencies).

Appropriate documents for verifying the identity of customers include the following:

» For an individuall an unexpired government-issued identification evidencing nationality or residence and
bearing a photograph or similar safeguard such as a driver’s license or passport; and

o For a person other than an individua|, documents showing the existence of the entity, such as certified
articles of incorporation, a government-issued business license a partnership agreement or a trust
instrument

Alpine understands that we are not required to take steps to determine whether the document that the customer
has provided to us for identity verihcation has been validly issued and that we may rely on a government-issued
identification as verification of a customer's identity. if, however, we note that the document shows some
obvious form of fraud, we must consider that factor in determining whether we can form a reasonable belief that
we know the customer's true identity.

Alpine will verify the information within a reasonable time before or after the account is opened Depending on
the nature of the account and requested transactions Alpine may refuse to complete a transaction before we
have verified the information, or in some instances when we need more time Alpine may, pending verihcation,
restrict the types of transactions or dollar amount of transactions if Alpine find suspicious information that
indicates possible money laundering, terrorist financing activity, or other suspicious activity, Alpine wiii, after
internal consultation with the lirm's AML Officer or designee file a SAR-SF in accordance with applicable laws
and regulations

9.7.2.1 Non-Documentary Methods Of Verifying Customer identification
Alpine will use non-documentary methods of verification when:

o (1) the customer is unable to present an unexpired government-issued identification document with a
photograph or other similar safeguard;
(2) the firm is unfamiliar with the documents the customer presents for identification veriication;
(3) the customer and firm do not have face-to-face contact; and
(4) there are other circumstances that increase the risk that the firm will be unable to verify the true
identity of the customer through documentary means

~ (5) Other circumstances at the discretion of the RR's supervisor, New Accounts and/or the AML Officer
or designee where Alpine is unable to verify the customer's identity.

Alpine Securities Corporation - 166 - August 29, 2014

ALPINE_L1T168478

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 36 of 71

in these circumstances a non-documentary method must be indicated by the RR on the new account
application1

Direct customer contact information

information from a consumer reporting agency or other database
References from another financial institution

A financial statement from a bank

Copy of a utility bill

9.7.2.2 Additionai Verification For Certain Customers

A|pine recognizes that the risk that we may not know the customer’s true identity may be heightened for certain
types of accounts such as an account opened in the name of a corporation, partnership or trust that is created
or conducts substantial business in a jurisdiction that has been designated by the U.S. as a primary money
laundering jurisdictionl a terrorist concern, or has been designated as a non-cooperative country or territory.
Alpine will identify customers that pose a heightened risk of not being properly ldentihed. A|pine will also take
the following additional measures that may be used to obtain information about the identity of the individuals
associated with the customer when standard documentary methods prove to be insufficient

For the following types of customers a minimum of TWO forms of customer lD are required in addition to review
and approval by the AML Officer or designee prior to opening the account

~ Numbered accounts

o Accounts domiciled in high-risk countries included on the Treasury Dept. OFAC list (check with
Operations personnel for a list of those countries or go to
http://www.ustreas.gov/ofhces/eotffclofac/sanctions/index.html)

~ Accounts for foreign public officials (individua|s in high office in other countries their families and close
associates political party officials)

9.7.2.3 Lack Of Customer iD Verification
When Alpine cannot form a reasonable belief that we know the true identity of a customer, Alpine wiii:

1. not open an account;

2. impose terms under which a customer may conduct transactions while we attempt to verify the
customer’s identity;

3. close an account after attempts to verify customer's identity fail; and

4. determine whether it is necessary to file a SAR-SF in accordance with applicable laws and regulations

Questions regarding accounts that do not comply with requirements to verify customer |D should be referred to
the AML Officer or designee

9.7.3 Recordkeeping

Alpine will document our verification, including ali identifying information provided by a customer, the methods
used and results of verification, and the resolution of any discrepancies identihed in the verification process
Alpine will keep records containing a description of any document that we relied on to verify a customer's
ldentity, noting the type of document any identification number contained in the document the place of
issuance and if any, the date of issuance and expiration date With respect to non-documentary verification,
Alpine will retain documents that describe the methods and the results of any measures we took to verify the
identity of a customer. Alpine will also keep records containing a description of the resolution of each
substantive discrepancy discovered when verifying the identifying information obtained Alpine will retain records
of ali identihcation information for five years after the account has been closed and will retain records made
about verihcation of the customer's identity for live years after the record is made

Alpine Securities Corporation - 167 - August 29, 2014

ALPINE_LIT168479

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 37 of 71

9.7.4 Comparison with Government-Provided Lists of Terrorists

At such time as Alpine receives notice that a federal government agency has issued a list of known or
suspected terrorists and identified the list as a list for ClP purposes Alpine wiii, within a reasonable period of
time after an account is opened (or earlier, if required by another federal law or regulation or federal directive
issued in connection with an applicable list), determine whether a customer appears on any such list of known
or suspected terrorists or terrorist organizations issued by any federal government agency and designated as
such by Treasury in consultation with the federal functional regulators Alpine will follow all federal directives
issued in connection with such lists

Alpine will continue to comply separately with OFAC rules prohibiting transactions with certain foreign countries
or their nationals

9.7.5 Notice to Customers
Ru|es/Resources: 31 C.F.R. i,i103.122(b)(5)

Alpine will provide notice to customers that Alpine is requesting information from them to verify their identities
as required by federal law. Customers are provided notice prior to opening an account that their identification
will be verified This notice may be on Aipine's web site on new account applications or in other disclosures
provided at the time of account opening and may include but not be limited to1 the following:

important information about Procedures for Opening This Account

To help the government fight the funding of terrorism and money laundering activities federal law requires ali
financial institutions to obtain, verify, and record information that identifies each person who opens an account
C|ient is required to provide the following information, among other items on new account forms; name
address date of birth and other information that will allow A|pine to confirm Client's identity. in addition, your
broker may ask to see a valid driver’s license or other identifying documents

9.7.6 Reliance on Another Financial institution for identity Verification

Ru|es/Resources: 31 C.F.R. § 103.122(b)(6), No-Action Letters to the Securities industry and Financial Markets
Association (SlFMA) (formerly known as the Securities industry Association (SlA)) (Februag 12, 2004; Februa[y
10l 2005; Juiy 11l 2006; and January 10l 2008). (T he letters provide staff guidance regarding the extent to
which a broker-dealer may rely on an investment adviser to conduct the required elements of the ClP rulel prior
to such adviser being subject to an AML ruie.)

in its clearing functions Alpine wi|l, under the following circumstances rely on the performance by another
financial institution (including an affiliate) of some or ali of the elements of our ClP with respect to any customer
that is opening an account or has established an account or similar business relationship with the other financial
institution to provide or engage in services dealings or other financial transactions

when such reliance is reasonable under the circumstances
when the other financial institution is subject to a rule implementing the anti-money laundering
compliance program requirements of 31 U.S.C. § 5318(h), and is regulated by a federal functional
regulator; B

o when Alpine has entered into a contract with the other financial institution to perform these functions
and requiring it to certify annually to us that it has implemented its anti-money laundering program and
that it will perform (or its agent will perforrn) specified requirements of the customer identification
program.

9.7.6.1 Reliance on Registered investor Adviser Accounts
Rules/Resources:SEC Division of Market Regu|ation No-Action Letter to SlFMA dated January 11, 2011:

http://www.sec.gov/divisions/marketreg/mr-noaction/201 1/slfma01 1 1 1 1 .pdf

Alpine Securities Corporation - 168 - August 29. 2014

ALPINE_LIT168480

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 38 of 71

For accounts established by registered investment advisers Alpine may rely on the adviser to have obtained
information to comply with federal Customer identification Program (C|P) rules under the following
circumstances

o it is reasonable to rely on the adviser's assurances

o the adviser is federally regulated (state-only registered iAs do not qualify); and

o the adviser signs an agreement that it will annually certify to Alpine that it has implemented an anti-
money laundering program and will perform (or its agents will perforrn) specified requirements of
Aipine's ClP.

9.8 Due Diligence For Correspondent And Private Banking Accounts
Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F; USA PATR|OT Act Section 312

and 313; FinCEN Fact Sheet (httg;//www.fincen.gov1312factsheet.gdf)

9.8.1 Definitions

Correspondent account: includes any account established for a foreign financial institution to receive deposits
from, or to make payments or other disbursements on behalf of, the foreign institution, or to handle other
financial transactions related to such foreign nnancia| institution. This type of account presumes a formal
relationship through which the financial institution provides regular services

For broker-dealers correspondent accounts established on behalf of foreign financial institutions include but
are not limited to: (1) accounts to purchase sell, iend, or otherwise hold securities including securities
repurchase programs (2) prime brokerage accounts that clear and settle securities transactions for ciients; (3)
accounts for trading foreign currency; (4) custody accounts for holding securities or other assets in connection
with securities transactions as collateral; and (5) over-the-counter derivative contracts

Account: Any formal relationship established with a broker or dealer in securities to provide regular services to
effect transactions in securities including but not limited to, the purchase or sale of securities and securities
loaned and borrowed activity, and to hold securities or other assets for safekeeping or as coilaterai.

Foreign bank: defined under the Bank Secrecy Act as a bank organized under foreign iaw, or an agency,
branch, or bank office located outside the United States. The term does not include an agent, agency, branch or
office within the U.S. of a bank organized under foreign law.

Foreign financial institution: denned as:

(1) a foreign bank;

(2) any branch or office located outside the United States of a broker-dealer; futures commission merchant or
introducing broker; or open-end mutual fund company;

(3) any other person organized under foreign law (other than a branch or ofhce of such person in the United
States) that, if it were located in the United States would be a broker-dealer; futures commission merchant or
introducing broker; or open-end mutual fund company; and

(4) any person organized under foreign law (other than a branch or office of such person in the United States)
that is engaged in the business of, and is readily identifiable as: (a) a currency dealer or exchanger; or (b) a
money transmitter.

A person, however, is not “engaged in the business” of a currency dealer, a currency exchanger or a money
transmitter if such transactions are merely incidental to the person’s business

Foreign shell bank: a foreign bank without a physical presence in any country.

Alpine Securities Corporation - 169 - Augus129, 2014

ALPINE_LIT168481

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 39 of 71

Regu|ated affiliate: a foreign shell bank that (1) is an affiliate of a depository institution, credit union, or foreign
bank that maintains a physical presence in the United States or a foreign country, as applicable and (2) is
subject to supervision by a banking authority in the foreign country regulating such affiliated depository
institutionl credit union, or foreign bank.

 

Responsibi"ty o AML Officer or designee

 

New account application

Foreign bank certification

Resources » information about a foreign bank subsequent to opening that indicates it is a foreign
shell bank where an account may not be maintained

 

As required when accounts are opened
Frequency o Monthiy - review of accounts identified for due diligence reviews

 

Conduct due diligence for correspondent and private banking accounts
For foreign bank accounts
o Review certification to determine
- Aii required information is included
- inconsistencies (i.e., location of the foreign bank's regulated affiliate is
consistent with the designated banking authority that supervises the
foreign bank and its regulated afhliate)

 

Act'°n o Ensure procedures are in place to restrict transactions in accounts that do not
provide certification within 30 days of opening the account
o Close existing prohibited accounts for foreign shell banks
o Review re-certihcations
o Ensure procedures are in place to re-certify foreign banks within three years of
original certihcation
o Record of the AML Officer‘s or designee’s review is maintained in new account records
on the applicable form:
o New account application
o Certification form
Record

o Re-certification form

» Records of closing or restricting accounts are retained with new account records

 

 

 

 

9.8.2 Due Diligence and Enhanced Due Diligence Requirements For Correspondent
Accounts of Foreign Financial institutions

Ru|es/Resources: 31 C.F.R. §§ 103.175, 103.176, FlN-2006-GOOQ Application of the Regu|ations Reguiring

Speclal Due Di|iqence Proqrams for Certain Foreiqn Accounts to the Securities and Futures industries (iVlay 10l

2006l.

Alpine will conduct an inquiry to determine whether a foreign financial institution has a correspondent account
established maintained administered or managed by the firm.

if Alpine has correspondent accounts for foreign financial institutions Alpine will assess the money laundering
risk posed based on a consideration of relevant risk factors Alpine can apply all or a subset of these risk

factors depending on the nature of the foreign financial institutions and the relative money laundering risk posed
by such institutions

Alpine Securities Corporation - 170 - August 29. 2014

ALPINE_LIT168482

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 40 of 71

The U.S. Department of Treasury has established the following minimum due diligence requirements

o determine whether the account is subject to enhanced due diligence
¢ assess the money laundering risk posed based on risk factors
~ apply risk-based policies procedures and controls to each account, including periodic review of activity

The relevant risk factors can include;

o The nature of the foreign financial institution’s business and the markets it serves; the type purpose and
anticipated activity of such correspondent account;
the nature and duration of the hrm‘s relationship with the foreign financial institution and its affiliates

~ the anti-money laundering and supervisory regime of the jurisdiction that issued the foreign financial
insiltution's charter or license and, to the extent reasonably available the jurisdiction in which any
company that is an owner of the foreign financial institution is incorporated or chartered and

o any information known or reasonably available to the covered Enancial institution about the foreign
financial institution’s anti-money laundering record

Alpine will apply our risk-based due diligence procedures and controls to each financial foreign institution
correspondent account on an ongoing basis This includes periodically reviewing the activity of each foreign
financial institution correspondent sufficient to ensure whether the nature and volume of account activity is
generally consistent with the information regarding the purpose and expected account activity and to ensure that
the firm can adequately identify suspicious transactions Ordinariiy, Alpine will not conduct this periodic review
by scrutinizing every transaction taking place within the account One procedure Alpine may use instead is to
use any account profiles for our correspondent accounts (if we maintain these) that we ordinarily use to
anticipate how the account might be used and the expected volume of activity to help establish baselines for
detecting unusual activity.

Correspondent accounts for foreign hnancial institutions are forwarded to the AML Officer or designee at the
time of opening, for review.

» Review the account's home country vs. OFAC lists of jurisdictions of money laundering concern and

blocked persons
o if identified on an OFAC list, report the account and close it.

o Review new account information about the account including source of revenue and assets whether the
person/entity has existing accounts with Alpine length of time the RR has known the account, who
referred the account, and other available information about account background and how the account
came to Alpine

o if there is inadequate information or clue diligence procedures cannot be performed refuse to open the
account or close an existing account

o File a SAR, if appropriate
o if the account is approved for opening, determine whether ongoing review is necessary.

o if ongoing review is appropriate establish duplicate statements or another method for review of
account activity by the AML Officer.

o Review will include identifying patterns of securities transactions and securities/money transfers
that may be indicative of money laundering activity, and report such activity if necessary and close
the account

9.8.2.1 Correspondent Accounts introduced by a Correspondent Firm (or introducing Firm)

in those cases where A|pine has a formal relationship with any final institution with which it has executed a
clearing or carrying agreement Alpine understands its obligation to perform due diligence pursuant to the
correspondent rule with respect to its carrying agreement with a foreign financial institution, However, Alpine will
not have a formal relationship and thus will not have an account subject to the due diligence provisions of the

Alpine Securities Corporation - 171 - August 29, 2014

ALPINE_LITI 68483

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 41 of 71

correspondent account rule with a foreign financial institution introduced to us under a clearing agreement
unless Alpine engages in activities that obligate us to make a suitability determination with respect to securities
transactions conducted through the introduced foreign financial institution accounts

in these cases Alpine will consider the money laundering risks posed by the introducing firml including any
information Alpine acquires about the account base of the introducing firm's ordinary course of business and
through the application of the introducing tirm‘s anti-money laundering policies procedures and controls

9.8.2.2 Enhanced Due Diligence For Foreign Banks
Ru|es/Resources: 31 C.F.R. §§ 103.175, 103.176.

Alpine will assess (and perform enhanced due diligence) any correspondent accounts for foreign financial
institutions to determine whether they are correspondent accounts that have been established maintained
administered or managed for any foreign bank that operates under:

(1) an offshore banking iicense;

(2) a banking license issued by a foreign country that has been designated as non-cooperative with international
anti-money laundering principles or procedures by an intergovernmental group or organization of which the
United States is a member and with which designation the U.S. representative to the group or organization
concurs; or

(3) a banking license issued by a foreign country that has been designated by the Secretary of the Treasury as
warranting special measures due to money laundering concerns

if Alpine determines that it has any correspondent accounts for these specified foreign banks Alpine will
perform enhanced due diligence on these correspondent accounts The enhanced due diligence that we will
perform for each correspondent account will include at a minimuml procedures to take reasonable steps to:

(1) conduct enhanced scrutiny of the correspondent account to guard against money laundering and to identify
and report any suspicious transactions Such scrutiny will not only reflect the risk assessment that is described
in Section 8.a. above but will also include procedures to, as appropriate

(i) obtain (e.g., using a questionnaire) and consider information related to the foreign bank’s AML program to
assess the extent to which the foreign bank’s correspondent account may expose us to any risk of money
iaundenng;

(ii) monitor transactions to, from or through the correspondent account in a manner reasonably designed to
detect money laundering and suspicious activity (this monitoring may be conducted manually or electronically
and may be done on an individual account basis or by product activity); and

(iii) obtain information from the foreign bank about the identity of any person with authority to direct transactions
through any correspondent account that is a payable-through account (a correspondent account maintained for
a foreign bank through which the foreign bank permits its customer to engage either directly or through a
subaccount, in banking activities) and the sources and beneficial owners of funds or other assets in the payable-
through account

(2) determine whether the foreign bank maintains correspondent accounts for other foreign banks that enable
those other foreign banks to gain access to the correspondent account under review and, if so, to take
reasonable steps to obtain information to assess and mitigate the money laundering risks associated with such
accounts inciuding, as appropriate the identity of those other foreign banks and

(3) if the foreign bank’s shares are not publicly traded determine the identity of each owner and the nature and

extent of each owner's ownership interest We understand that for purposes of determining a private foreign
bank’s ownership, an “owner" is any person who directly or indirectly owns controls or has the power to vote 10

Alpine Securities Corporation - 172 - August 29, 2014

ALPINE_LIT168484

Case 1:17-cv-O4179-DLC Document 88-16 Fiied 01/19/18 Page 42 of 71

percent or more of any class of securities of a foreign bank. Alpine also understands that members of the same
family shall be considered to be one person.

Refer the account to the AML Officer or designee to:

» conduct appropriate enhanced scrutiny;
determine whether the foreign bank itself offers correspondent accounts to other foreign banks (i.e.,
nested accounts) and, as appropriate identify such foreign bank customers and conduct additional due
diligence on them; and
identify the owners of such foreign bank, if its shares are not publicly traded
determine whether the account appears on any OFAC list;
approve or reject the account
determine whether ongoing review is necessary.
o if yes establish duplicate statements or other method for ongoing review.

o report the account, if appropriate

9.8.2.3 Speciai Procedures When Due Diligence or Enhanced Due Diligence Cannot Be
Performed

Ru|es/Resources: 31 C.F.R. §§ 103.175, 103.176.

in the event there are circumstances in which Alpine cannot perform appropriate due diligence with respect to a
correspondent account the AML Officer or designee will determine at a minimum, whether to refuse to open
the account, suspend transaction activity, file a SAR-SF, close the correspondent account and/or take other
appropriate action.

9.8.2.4 Prohibition Against Correspondent Accounts For Foreign She|l Banks
Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F; USA PATR|OT Act Section 313

Alpine is prohibited from establishing, maintaining, administering, or managing a correspondent account in the
United States for an unregulated foreign shell bank. The prohibition does not apply to a foreign shell bank that is
a regulated afhiiate. if an account is inadvertently opened for an unregulated foreign shell bank, the AML Officer
or designee must be notified and the account will be immediately closed

9.8.3 Foreign Bank Certification
Ru|es/Resources: FinCEN Frequentiy Asked Questions re Certification: httg;//www.fincen.gov/fagsguidance.pdf,
Rules: 31 C.F.R. §§ 103.175, 103.177, 31 C.F.R. Pt. 103 Sub t.l A .A Certification Re ardin

Correspondent Accounts for Foreign Banks); FlN-2006-G003: Freguently Asked Questions Foreign Bank

Recertifications under 31 C.F.R. § 103.77 (Februarv 3. 2006).

When opening an account for a foreign bank, Alpine is obligated to ensure the bank is not an unregulated
foreign shell bank and must obtain information about the foreign bank’s owners and an agent for service of
process A|pine will require our foreign bank account holders to identify the owners of the foreign bank if it is not
publicly traded the name and street address of a person who resides in the United States and is authorized and
has agreed to act as agent for acceptance of legal process and an assurance that the foreign bank is not a
shell bank nor is it facilitating activity of a shell bank. in lieu of this information the foreign bank may submit the
Certification Regarding Correspondent Accounts For Foreign Banks provided in the BSA regulations to the AML
Officer or designee Alpine will re-certify when we believe that the information is no longer accurate or at least
once every three years

Alpine Securities Corporation - 173 - August 29, 2014

ALPINE_LIT168485

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 43 of 71

9.8.4 Recordkeeping for Correspondent Accounts for Foreign Banks
Ru|es/Resources: 31 C.F.R. §§ 103.175, 103.177,

Alpine will keep records identifying the owners of foreign banks with U.S. correspondent accounts and the name
and address of the U.S. agent for service of legal process for those banks

9.8.5 Summons or Subpoena of Foreign Bank Records; Termination of Correspondent
Relationships with Foreign Bank
Ru|es/Resources: USA PATR|OT Act Section 313

Upon receipt of a written request from a federal law enforcement officer for information identifying the non-
publicly traded owners of any foreign bank for which we maintain a correspondent account for a foreign bank in
the United States and/or the name and address of a person residing in the United States who is an agent to
accept service of legal process for a foreign bank’s correspondent account the AML Officer or designee will
provide that information to the requesting officer not later than 7 days after receipt of the request

The AML Officer or designee will close within 10 days any correspondent account for a foreign bank that we
learn from FinCEN or the Department of Justice has failed to comply with a summons or subpoena issued by
the Secretary of the Treasury or the Atlorney General of the United States or has failed to contest such a
summons or subpoena We will scrutinize any foreign bank’s correspondent account activity during that 10-day
period to ensure that any suspicious activity is appropriately reported and to ensure that no new positions are
established in these foreign bank’s correspondent accounts

9.9 Due Diligence For Private Banking Accounts
Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F

9.9.1 Definitions

Private banking account; A private banking account is an account that is established or maintained for the
benefit of one or more non-U.S. persons requires minimum aggregate deposit of funds or other assets of not
less than $1,000,000, and is assigned to a bank employee who is a liaison between the financial institution and
the non-U.S. person. if the account othenivise satisfies the definition but the institution does not require a
minimum balance of$1,000,000, the account does not qualify as a private banking account

Senior foreign political figure includes

o a current or former senior official iri the executive legislative administrative military, orjudiclai
branches of a foreign governmentl whether or not they are or were elected ofhcials

o a senior official of a major foreign political party

¢ a senior executive of a foreign government-owned commercial enterprise (Senior executives are
individuals with substantial authority over policy, operations or the use of government-owned
resources)

o immediate family members of the above and those who are widely and publicly known (or actually
known) close associates of a senior foreign political figure
a corporation, business or other entity formed by or for the benefit of one of the above individuals
a person "widely and publicly known" as a close associate of such a person

Proceeds of foreign corruption: any asset acquired by, throughl or on behalf of a senior foreign political figure
through misappropriation, theft or embezzlement of public funds the unlawful conversion of property of a

foreign government or through acts of bribery or extortion. and include any other property into which any such
assets have been transformed or converted

Alpine Securities Corporation - 174 - August 29, 2014

ALPINE_L1T168486

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 44 of 71

Alpine will review our accounts to determine whether we offer any private banking accounts and we will conduct
due diligence on such accounts This due diligence will include at least (1) ascertaining the identity of all
nominal holders and holders of any beneficial ownership interest in the account (including information on those
holders' lines of business and sources of wealth); (2) ascertaining the source of funds deposited into the
account; (3) ascertaining whether any such holder may be a senior foreign political figure; and (4) detecting and
reporting, in accordance with applicable laws and regulations any known or suspected money laundering, or
use of the proceeds of foreign corruption.

Alpine will review public information, including information available in |nternet databases to determine whether
any private banking account holders are senior foreign political hgures if we discover information indicating that
a particular private banking account holder may be a senior foreign political hgure and upon taking additional
reasonable steps to confirm this information, we determine that the individual is in fact a senior foreign political
figure we will conduct additional enhanced due diligence to detect and report transactions that may involve
money laundering or the proceeds of foreign corruption.

in so doing, Alpine will consider the risks that the funds in the account may be the proceeds of foreign corruption
by determining the purpose and use of the private banking account location of the account hoider(s), source of
funds in the account type of transactions conducted through the account and jurisdictions involved in such
transactions The degree of scrutiny we will apply will depend on various risk factors inciuding, but not limited
to, whether the jurisdiction the senior foreign political figure is from is one in which current or former political
figures have been implicated in corruption and the length of time that a former political figure was in ofhce Our
enhanced due diligence might include depending on the risk factors probing the account hoider's employment
history, scrutinizing the account holder's source(s) of funds and monitoring transactions to the extent necessary
to detect and report proceeds of foreign corruption, and reviewing monies coming from government government
controlled or government enterprise accounts (beyond salary amounts).

if Alpine does not find information indicating that a private banking account holder is a senior foreign political
figure and the account holder states that he or she is not a senior foreign political figure then Alpine may make
an assessment if a higher risk for money iaunden'ng, nevertheless exists independent of the classification if a
higher risk is apparent we will consider additional due diligence measures

in either case if due diligence (or the required enhanced due diligence if the account holder is a senior foreign
political figure) cannot be performed adequatelyl Alpine will, after consultation with the firm's AML Officer or
designee and as appropriate not open the account suspend the transaction activity, file a SAR-SF or close the
account

9.9.2 Enhanced Scrutiny For Accounts Of Senior Foreign Political Figures

Accounts for senior foreign political figures (including persons and entities defined in this section) are subject to
enhanced scrutiny. Prior to opening, the account is referred to the AML Officer or designee for review and
approval and may consider the following steps

o Review the account's home country vs OFAC lists of jurisdictions of money laundering concern and

blocked persons
o if identified on an OFAC list report the account and close it.

- Review new account information about the account including employment history, sources of income
and assets whether the person/entity has existing accounts with Alpine length of time the RR has
known the account who referred the account and other available information about account
background of the account and how the account came to Alpine

~ if there is inadequate information or due diligence procedures cannot be performed refuse to open the
account or close an existing account

o File a SAR, if appropriate

~ if the account is approved for opening, determine whether ongoing review is necessary.

Alpine Securities Corporation - 175 - August 29, 2014

ALPINE_LIT168487

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 45 of 71

o lf ongoing review is appropriate establish duplicate statements or another method for review of
account activity by the AML Officer or designee

o Review will include identifying patterns of securities transactions and securities/money transfers
that may be indicative of money laundering activity, and report such activity if necessary and close
the account

9.9.3 Private Banking Accounts introduced by a Correspondent Firm (or introducing
Firm)

in those cases where Alpine does not impose aggregate minimum account requirements of not less than

$1,000,000 on an introduced account for a non-U.S. person and does not assign an ofhcer, employee or agent

to act as a liaison between the clearing firm and such an account the introduced account will not be considered
a private banking account of the clearing firm,

in these cases Alpine will consider the money laundering risks posed by the introducing firm, including any
information A|pine firm acquires about the account base of the introducing firm's ordinary course of business
and through the application of the introducing firm’s anti-money laundering policies , procedures and controls

9.10 Compiiance with FinCEN’s issuance of Specia| Measures Against
Foreign Jurisdictions, Financial institutions or international
Transactions of Primary Money Laundering Concern

Ru|es/Resources: USA PATR|OT Act Section 311; Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart F;
F|NRA Notice to Members 06-41; FinCEN information on ali special measures issued:
htlp://www.hncen.govlreg_section311.html

 

Responsibi"ty o AML Officer or designee

 

¢ FinCEN notification of special measures against named entities
Transaction records

Resources
Customer account records

 

Frequency o As required when notiiied by FinCEN

 

- Establish blocks on opening accounts for named entities

Notify correspondent accountholders
Action o Review transactions to identify indirect use of correspondent accounts and close such
accounts

 

Notices from FinCEN
Notification to correspondent accountholders

Record Transactions reviewed identification of indirect use and action taken

 

 

 

 

if FinCEN issues a final rule imposing a special measure against one or more foreign jurisdictions or financial
institutions classes of international transactions or types of accounts deeming them to be of primary money
laundering concern, Alpine understands that we must read FinCEN’s final rule and follow any prescriptions or
prohibitions contained in that rule. For example if the final rule deems a certain bank and its subsidiaries
(Specined Bank) to be of primary money laundering concerns a special measure may be a prohibition from
opening or maintaining a correspondent account in the United States for, or on behalf ofl the Specified Banks in
that case Alpine will take the following steps

Alpine Securities Corporation - 176 - August 29, 2014

ALPINE_LIT168488

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 46 of 71

(1) The AML Officer or designee will review our account records including correspondent account records to
ensure that our accountholders and correspondent accountholders maintain no accounts directly forl or on
behalf ofl the Specified Banks; and

(2) Alpine will apply due diligence procedures to our correspondent accounts that are reasonably designed to
guard against indirect use of those accounts by the Specified Banks

' Notification to Correspondent Accountholders

A|pine will notify our correspondent accountholders that the account may not be used to provide the Specihed
Banks with access to us. Ultimate|y, Alpine has flexibility in determining the language used in the sample
notification language For example Alpine may use the following sample language but is not limited in using the
specific language detailed below:

"Notice: Pursuant to U.S. regulations issued under section 311 of the USA
PATRlOT Act, 31 CFR 103.192, we are prohibited from opening or maintaining a

correspondent account for, or on behalf of, [the Specified Banks]. The regulations also require us to notify you
that your correspondent account with our financial institution may not be used to provide [the Specified Banks]
with access to our financial institution if we become aware that [the Specified Banks] are indirectly using the
correspondent account you hold at our Hnancial institution, we will be required to take appropriate steps to
prevent such access including terminating your account.”

Alpine will transmit a one-time notice to our correspondent accounts by mail, fax or email, or including the
information in the next regularly occurring transmittal to correspondent accountholders and document our
compliance with the notihcation requirement

- identification of indirect Use

Alpine will take reasonable steps in order to identify any indirect use of our correspondent accounts by the
Specified Banks We will determine if such indirect use is occurring from transactional records that we maintain
in the normal course of business We will take a risk-based approach when deciding what if any, additional due
diligence measures we should adopt to guard against the indirect use of correspondent accounts by the
Specified Banks, based on risk factors such as the type of services offered by, and geographic locations of, their
correspondents

A|pine understands its ongoing obligation to take reasonable steps to identify ali correspondent account services
our correspondent accountholders may directly or indirectly provide to the Specified Banks

9.11 Detecting Potentia| Money Laundering

 

 

 

 

 

 

 

 

o AML Officer or designee
Resp°nsib"ity - Other designated supervisor(s) for review of AML Officer accounts
o Aii other employees
o internal reports of transactions available exception reports
Resources o Performance of tasks and other duties typically handled as part of routine work
Frequency ~ As required
All:
Action
- Review reports of transactions (cash and security transactions) to identify potential
Alpine Securities Corporation - 177 - August 29, 2014

ALPINE_LIT168489

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 47 of 71

 

money laundering (including employee accounts) , including the AML thcer's accounts
o Review daily reports and identify potentially suspicious activity
o Report suspicious activity (see the policy in this chapter)

AML Officer or designee:

c Notify RRs supervisors and close accounts in consultation with business unit leaders
when necessary

 

Reports reviewed
Action taken, when necessary

Record Suspicious activity reports and supporting documentation

 

 

 

 

Alpine has an ongoing program to identify potential money iaundering. Monitoring will be conducted using
available exception reports or reviews of other reports of account activity to permit identification of patterns of
unusual size volume pattern or type of transactions geographic factors such as whether jurisdictions
designated as "non-cooperative" are involved or involve "red flags" (indicators of potential money iaundering)
which are included in the Money Laundering policy in the chapter GENERAL EMPLOYEE POLICIES. items
reviewed include trading and wire transfer transactions in the context of other account activity to determine if a
transaction lacks financial sense or is suspicious because it is an unusual transaction or strategy for that
customer. Among the information used to determine whether to me a suspicious activity report are exception or
transaction reports that include transaction size location, type number, and nature of the activity.

9.11.1 Aipine's Emp|oyee Reporting Obligations

Alpine has included an educational policy (Money Laundering) in the chapter GENERAL EMPLOYEE POL/CIES
to educate employees on money laundering and guidelines for detecting money laundering activities Periodic
detection of money laundering and the obligation to report suspicious activities will be included in continuing
education and other educational programs for employees

Ali employees are obligated to promptly report to the AML Officer or designee any known or suspected
violations of anti-money laundering policies as well as other suspected violations or crimes if the potential
violation implicates the AilliL Officer, it should be reported to a senior officer of Alpine Aii reports are conhdentlai
and the employee will suffer no retaliation for making them.

What to report: Crimes or suspected crimes by individuals (whether associated with A|pine a customer, or
prospective customer) are required to be reported This includes suspicion that Alpine is being used as a
conduit for criminal activity such as money laundering or structuring transactions (discussed below) to evade the
BSA reporting requirements There is no clear dehnition of what constitutes a "crime." if you believe some
improper or illegal activity is occurring, it is your obligation to be attentive and alert to the red flags and report to
the AML Ocher or designee any new or existing customers who may be engaged in potential violations of anti-
money laundering regulations

SAR reports By law, Alpine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a SAR.
Questions regarding SAR filings should be referred to Compiiance if you become aware of an unauthorized
disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the Compiiance
Department Designated Compiiance personnel will be responsible for contacting F|NCEN to report the
unauthorized disclosure

Alpine Securities Corporation - 178 - August 29. 2014

ALPINE_LITI 68490

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 48 of 71

9.11.2 Role Of Operations Personnel

Operations personnel are an important first line of defense in preventing transactions with sanctioned parties
The following guidance is provided to assist Operations personnel in identifying blocked parties Any questioned
accounts or transactions should be referred to the AML Officer or designee

o On a monthly basis the AML Officer or designee shall provide a current list of countries included on the
OFAC list These are countries considered potential havens for money laundering drug trafficking or
terrorist activities information is included on the OFAC web site at www.treas.gov/ofac.

~ On a periodic basis the AML thcer or designee shall provide a current list of countries included on the
Financial Action Task Force (FATF) list. The Financial Action Task Force (FATF) is the global standard
setting body for anti-money laundering and combating the financing of terrorism. in order to protect the
international financial system from money laundering and financing of terrorism risks and to encourage
greater compliance with their standards the FATF identified jurisdictions that have strategic dehciencies
and works with them to address those deficiencies that pose a risk to the international financial system.

~ When processing the opening of accounts Operations employees shall determine if new accounts have
addresses as residents of countries included on the OFAC list and report any that appear on the list to
the AML Officer or designee

¢ Questions regarding requests to transfer funds or securities to residents or entities domiciled in any
country included on the OFAC list shall be reported to the AML Officer or designee

9.11.3 Role of Retail Brokerage Personnel

Retail sales personnel are also an important first line of defense in identifying, detecting and/or preventing
transactions Retail sales personnel are in a unique position of knowing the client best lt is important that you
understand the customer's financial resources business activities and sources of funds to identify when
purported or actual activity deviates from the standard transactions one expects to see in a customer account
The process of knowing the customer does not end at the time the account established The process of knowing
the customer continues through the ongoing maintenance of the client's account Any questioned accounts or
transactions should be referred to the AML Officer or designee

9.11.4 Monitoring Accounts for Suspicious Activity

Ru|es/Resources: USA PATR|OT Act Sec. 356; FinCEN Guidance on Suspicious Activity Report Supporting
Documentation: http:l/www.fincen.gov/Supporiing_Documentation_Guidance.pdf; FinCEN Guidance FlN-2008-
6005

 

 

 

 

 

 

 

 

 

Resp°nsibimy o AML Officer or designee
Reports from employees of crimes or suspected crimes
Resources Suspicious activities detected through ongoing reviews
» Other available information
Frequency o As required
o Review and investigate suspicious transactions referred by employees
o Deterrnine whether Alpine will file a SAR
Action o if appropriate file Form SAR-SF with FinCEN and state authorities
» Notify senior management as appropriate of forms filed
¢ Notes and other documented reviews are retained in a suspicious activity file
Record o Copies of SARs filed by A|pine are retained in the SAR file with notation of when and to
whom sent
Alpine Securities Corporation - 179 - August 29. 2014

ALPINE_LIT168491

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 49 of 71

Alpine will file Suspicious Activity Reports (SARs) for transactions that may be indicative of money laundering
activity, Suspicious activities include a wide range of questionable activities Examples may include but are not
limited to, trading that constitutes a substantial portion of ali trading for the day in a particular security; trading or
journaling between/among accounts particularly between related owners; late day trading; heavy trading in low-
priced securities unexplained wire transfers including those to known tax havens unusually large deposits of
funds or securities shares of physical securities of low-priced securities that have an issue date of less than 12
months and are more than one million shares or have a market value over a certain amount

Determining whether an activity or series of activities is suspicious is a facts and circumstance analysis and will
be made by the AML Officer or designee

Alpine will monitor account activity for unusual size volume pattern or type of transactions taking into account
risk factors and red flags that are appropriate to our business (Red flags are identified below.) Alpine will
conduct the following reviews of activity that our monitoring system defects

 

Report Name Report Description

This report is used to identify potential matches between the OFAC SDN
List and the customer/prospective customer.

Accounts in Non-Cooperative This report compares the account hoider's address against the FATF list
countries of non-cooperative countries to screen for matches

 

OFAC Report

 

 

This report lists all Cash Movements or ACH activities in accounts not

Foreign Account Activity associated to the US or USA.

 

Account Activity in Non-
Cooperative and Blocked
Countries

This report displays any trade activity for accounts with addresses in non-
cooperative or blocked countries for the previous business day.

 

 

 

This report lists all foreign correspondent banks to comply with PATR|OT Act

F°'°ig" °°"esp°“"°"ts sections 312, 313, and 319(b).

 

Currency Activity $5K or greater This report lists all cash movements or ACH activities between $5,000 and

 

 

 

 

$1,000,000.
Transmittal Activity This report/query lists all transmittal activity,
Trade Biotters This report lists all trading activity,

 

The AML thcer or designee will document our monitoring and reviews as follows:

o Denote the review date reviewer name (or initial or signature) and action taken on the electronic or
paper report; or
o Other format as authorized by the AML thcer or designee

The AML Officer or designee will conduct an appropriate investigation and review relevant information from
internal or third-party sources before a SAR-SF is filed which is further discussed in the section titled
“Responding to Red Flags and Suspicious Activity”.

The AML thcer or designee will be responsible for this monitoring will review any activity that our monitoring

system defects will determine whether any additional steps are required will document when and how this
monitoring is carried out and will report suspicious activities to the appropriate authorities

9.11.5 Emergency Notification to Law Enforcement by Te|ephone
Ru|es/Resources: F|NRA Notice to Members 02-21

Alpine Securities Corporation - 180 - August 29, 2014

ALPINE_LIT168492

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 50 of 71

ln situations involving violations that require immediate attention, such as terrorist financing or ongoing money
laundering schemes the AML Officer or designee will immediately call an appropriate law enforcement
authority. lf a customer or company appears on OFAC’s SDN list, the AML Officer or designee will call the
OFAC Hotiine at (800) 540-6322. Other contact numbers Alpine will use are: FinCEN’s Financial institutions
Hotiine (866- 556-3974) (especial|y to report transactions relating to terrorist activity), local U.S. Attomey’s oflice
(801-524-5682), local FBl office (801-579-1400) and local SEC ofEce (801-524-5796) (to voluntarily report such
violations to the SEC in addition to contacting the appropriate law enforcement authority). If A|pine notify the
appropriate law enforcement authority of any such activity, Alpine must still file a timely SAR-SF.

A|though Alpine is not required to, in cases where we have filed a SAR-SF that may require immediate attention
by the SEC, we may contact the SEC via the SEC SAR Alert Message Line at (202) 551-SARS (7277) to alert
the SEC about the filing. Alpine understands that calling the SEC SAR Alert Message Line does not alleviate our
obligations to file a SAR-SF or notify an appropriate law enforcement authority.

9.11.6 Potentia| Red Flags
Ru|es/Resources: NASD Notice to Members 02-21

The following are examples of risk indicators (red flags) that may suggest potential money laundering. This is
not an all-inclusive list.

 

 

Red Flags indicating potential Money Laundering_
Customers - insufficient or Suspicious information
The customer exhibits unusual concern regarding
A|pine's compliance with government reporting
requirements and A|pine's AN|L policies particularly

ith respect to his or her identity, type of business and
assetsl or is reluctant or refuses to reveal any
information concerning business activities or furnishes
unusual or suspect identification or business documents
that cannot readily be verified
The customer wishes to engage in transactions that
lack business sense or apparent investment strategy, or
are inconsistent with the customer's stated business
istrategL
ge information provided by the customer that identifies

 

 

 

 

legitimate source for funds is false misleading, or
ubstantially incorrect
[he customer refuses to identify or fails to indicate any

 

legitimate source for his or her funds and other assets
hen requested.
The customer (or a person publicly associated with the
customer) has a questionable background or is the
isubject of news reports indicating possible criminal,
civi|, or regBtory violations
The customer exhibits a lack of concern regarding risks
commissions or other transaction costs
The customer appears to be acting as an agent for an
undisclosed principal, but declines or is reluctant,
without legitimate commercial reasons to provide
information or is otherwise evasive regarding that
erson or entity.
The customer has difficulty describing the nature of his
or her business or lacks general knowledge of his or her
industry.
Customer appears reluctant to provide complete
information about nature and purpose of business

 

 

 

 

 

 

 

Alpine Securities Corporation - 181 - August 29, 2014

ALPINE_LIT168493

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 51 of 71

 

oflicers and directors or business location.

 

Customer has no discernable reason for utilizing the
linn’s services

 

Efforts to Avoid Reporting and Recordkeeping
Customer attempts to persuade an employee not to file
required reports or not to maintain required records

 

 

Customer is reluctant to provide information needed to
file reports or fails to proceed with a transaction when
information is requested

Customer engages in transactions involving cash or
cash equivalents or other monetary instruments that
iappear to be structured to avoid the $10,000
government reporting requirements especially if the
cash or monetary instruments are in an amount just
below reporting or recordiU thresholds.

 

 

Certain Funds Transfer Activities

 

The customer engages in activity involving the practice
of depositing penny stocks liquidating them, and wiring
proceeds A request to liquidate shares may also
represent engaging in an unregistered distribution of
penny stocks which may also be a red flag. [F|NRA
Kgu|atory Notice 09-05]
The customer attempts to make frequent or large
deposits of currency1 insists on dealing only in cash
equivalents or asks for exemptions from A|pine's
policies relating to the deposit of cash and cash
quivalents.
he customer engages in transactions involving cash or
sh equivalents or other monetary instruments that
ppear to be structured to avoid the $10,000
overnment reporting requirements especially if the
sh or monetary instruments are in an amount just
below remng or recording thresho|ds
For no apparent reasonl the customer has multiple
ccounts under a single name or multiple names with a
lar e number of inter-account or third-party transfers
he customer is from, or has accounts in, a country
identified as a non-cooperative country or territory by
he Financial Action Task Force (FATF).
Ehe customer's account has unexplained or sudden

 

 
   
  
  

xtensive wire activity, especially in accounts that had
itt|e or no previous activity.
he customer's account shows numerous currency or
shier’s check transactions aggregating to significant
ums.

 

The customer's account has a large number of wire
transfers to unrelated third parties inconsistent with the
customer's legitimate business purpose

 

 

The customer's account has wire transfers that have no
pparent business purpose to or from a country
Flentified as a money laundering risk or a bank secrecy
haven
he customer makes a funds deposit followed by an
immediate request that the money be wired out or
ransferred to a third party, or to another firm, without
ny apparent business purpose

 

[1' he customer makes a funds deposit for the purpose of

Alpine Securities Corporation

-182-

August 29. 2014

ALPINE_LIT168494

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 52 of 71

 

purchasing a long-term investment followed shortly
thereafter by a request to liquidate the position and
transfer of the proceeds out of the account.

 

The customer engages in excessive journal entries
between unrelated accounts without any apparent
business purpose

 

The customer requests that a transaction be processed
in such a manner to avoid A|pine's normal
documentation requirements

 

Certain Deposits or Dispositions of Physical
Certificates

 

Physical certihcate is titled differently than the account

 

Physical certificate does not bear restrictive |egend, but
based on history of the stock and/or volume of shares
trading,_it should have such a legend

 

Customer’s explanation of how he or she acquired the
certificate does not make sense or changes

 

Customer deposits the certificate with a request to
'ournal the shares to multiple accounts or to sell or
otherwise transfer ownership of the shares

 

Certain Securities Transactions

 

The customer, for no apparent reason or in conjunction
ith other "red flags" engages in transactions involving
ertain types of securities such as penny stocks
Regu|ation "S" (Reg S) stocks and bearer bonds which
lthough legitimate have been used in connection with
fraudulent schemes and money laundering activity.
(Such transactions may warrant further due diligence to
ensure the legitimacy of the customer's activity.)

 

 

The customer's account shows an unexplained high
level of account activity with very low levels of securities
transactions

 

 

The customer maintains multiple accounts or maintains
ccounts in the names of family members or corporate
Fntities for no apparent business purpose or other
purpose
Lathe customer's account has inflows of funds or other
ssets well beyond the known income or resources of
he customer.
Customer journals securities between unrelated
ccounts for no apparent business reason.
ustomer engages in prearranged or other non-
ompetitive trading, including wash or cross trades of
lliquid securities

 

he entering of a sell (or buy) order by a client knowing
hat a corresponding buy (or sell) order of substantially
he same size at substantially the same time and at
ubstantia|ly the same price has been or will be entered
b another client.

 

Trades by single clients or clients trading in

coordination that consists of large percentages of the

js_ecurities volume

Parties that use algorithms to trade in a particular
ecurity by placing and then cancelling layers of orders

in that security, creating fluctuations in the national best

bid or offer of that security, increasing order book depth
nd using the non-bona fide orders to send false

 

Alpine Securities Corporation

 

-153-

August 29, 2014

ALPINE_LIT168495

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 53 of 71

 

lsigna|s regarding the demand for such security, which
the algorithms misinterpreted as reflecting sincere
demand. Layering orders are intended to deceive
certain algorithms into buying (or Selling) stocks from
(or to) the layering traders bona fide trade at prices that
rare artificially raised (or lowered) by the layeringader.
Customer’s trading patterns suggest that he or she may
have inside information
Transactions involving Penny Stock Companies
Company has no business no revenues and no product
Company has experienced frequent or continuous
changes in business structure
Officers or insiders of the issuer are associated with
multiple penny stock issuers
Company undergoes frequent material changes in
business strategy or its line of business
Officers or insiders of the issuer have a history of
jsecurities violations
Company has not made disclosures in SEC or other
re u|atory filings
Company has been the subject of a prior trade
uspension.
Other Suspicious Customer Activity
Funds deposits for purchase of a long-term investment
ifoliowed shortly by a request to liquid the position and
transfer proceeds out of the account.
Law enforcement subpoenas
Large number of securities transactions across a
number of jurisdictions
Buying and selling securities with no purpose or in
unusual circumstances (e.g. churning at customers
request).
Payment by third-party check or money transfer without
n apparent connection to the customer.
Payments to third-party without apparent connection to
customer.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

in view of the risk factors listed in the section titled “Potential Red Flags" as well as perhaps
other circumstances A|pine frequently conducts additional inquiries to determine whether
filing a SAR is warranted Further, as part of its efforts to review the proposed resale of
restricted or control securities A|pine frequently gains additional information about its
customer or proposed securities transactions Additionai investigation may either heighten
A|pine's suspicions about activity or demonstrate that initial concerns are not conhrmed and
that the subject person’s proposed activities appear lega|, reasonable and for a legitimate
business purpose when all of the circumstances are considered as a whole Where such
further inquiry demonstrates that filing a SAR is warranted, it is A|pine's policy to do so.
Simiiarly, in some circumstances stock may be tendered in circumstances that suggest or
make one suspicious that the proposed resale may be part of a scheme to illegally distribute
stock without registration (e.g. Section 5 violations). in those circumstances Alpine would
ordinarily file an SAR. Conversely, when such further investigations overcome the initial
suspicions or risk factors and suggest that the proposed activities or transactions are legal ,
reasonable and for a legitimate business purpose Alpine will not file a SAR.

Alpine Securities Corporation - 184 - August 29. 2014

ALPINE_LIT168496

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 54 of 71

9.11.6.1 Potential Red Flags cont.d

in view of the risk factors listed in the section titled “Potential Red Flags" as well as perhaps
other circumstances Alpine frequently conducts additional inquiries to determine whether
filing a SAR is warranted. Further, as part of its efforts to review the proposed resale of
restricted or control securities A|pine frequently gains additional information about its
customer or proposed securities transactions Additionai investigation may either heighten
Aipine's suspicions about activity or demonstrate that initial concerns are not confirmed and
that the subject person’s proposed activities appear legal, reasonable and for a legitimate
business purpose when all of the circumstances are considered as a whole Where such
further inquiry demonstrates that Hling a SAR is warrantedl it is Aipine's policy to do so.
Simiiarly, in some circumstances stock may be tendered in circumstances that suggest or
make one suspicious that the proposed resale may be part of a scheme to illegally distribute
stock without registration (e.g. Section 5 violations). in those circumstances Alpine would
ordinarily file an SAR. Conversely, when such further investigations overcome the initial
suspicions or risk factors and suggest that the proposed activities or transactions are legal,
reasonable and for a legitimate business purpose Alpine will not file a SAR.

9.11.6.2 Circumstances ln Which A SAR May Not Be Filed

The following circumstances intended to be illustrative and not exhaustive tend to suggest that initial
suspicions may not warrant filing a SAR.

» A foreign customer provides evidence respecting the legitimacy of the source of the funds or securities
deposited with A|pine as part of regular, common business activity, such as investing in restricted
securities

o lV|ultiple transaction in securities result from contractual limitations for resales or a person’s desire to
limit negative market impacts

o Several investors in a single issuer seek to liquidate their securities acquired to provide legitimate
financing to such issuer.

o Offshore accounts are held in jurisdictions that are not identified by the Financial Action Task Force as
maintaining an inadequate AML/CFT regime

c Customers provide information requested even though the accounts are maintained in jurisdictions
where local laws regulations or provisions (such as privacy laws) prevent or limit the collection of client
identification information,

o Customers are not senior political or government ofhcials ("politically exposed persons") of a foreign
govemment.

o Customers that are closely held corporations partnerships limited liability companies or similar entities
appear to have been formed for legitimate and lawful purposes

v Entities that appear to be engaged in some sort of financial services or investment activities appear
properly licensed in their home jurisdiction
Customers who are non-resident aliens have legitimate business activities and purposes
Entities are willing to disclose their beneficial owners and the persons who own the securities
beneficially.

~ Securities issued by foreign investment funds or other issuers are engaged in legitimate activities and

do not appear to provide financing to sanctioned governments or parties

Foreign securities are issued in registered, as opposed to bearer. form.

Transparent ownership, oontrol, and activities

Full identification (i.e., passport or similar photo identification) of principals and beneficial owners

Transactions in recognized financial markets

Fully disclosed details about accounts or proposed activities notwithstanding the availability of local

privacy or information shield laws

ln some circumstances customers tender restricted stock for public resale without restriction that, upon
investigation and review, does not appear eligible for resale in the absence of special incriminating
circumstances such as evidence of part of a larger scheme to illegally distribute stock without registration, the
fact that Alpine determines that the stock is not currently eligible for resale without registration is not deemed to

Alpine Securities Corporation - 185 - August 29, 2014

ALPINE_LIT168497

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 55 of 71

warrant filing an SAR. Requests for other Alpine action that it ultimately determines not to effect are considered
similarly and treated similarly with respect to not filing a SAR.

9.11.6.3 Exclusions from SAR Fi|ing

The AML Ofncer or designee is not required to file a SAR involving violations othenivise reported to law
enforcement authorities such as:

o a robbery or burglary that is reported to law enforcement authorities

¢ lostl missing, counterfeit, or stolen securities reported pursuant to 17f-1

o a violation of federal securities laws or SRO rules by Alpine its officers directors employees or RRs
that are reported to the SEC or SRO, except for violations of Rule17a-8 (fi|ing of Currency and
Transaction Reports) which must be reported on a SAR

9.11.6.4 Responding to Red Flags and Suspicious Activity

When an A|pine employee detects any red flag, or other activity that may be suspicious the employee must
notify the AML Oflicer or designee Under the direction of the AML Oflicer or designee Alpine will determine
whether or not and how to further investigate the matter. This may include gathering additional information
internally or from third-party sources contacting the govemment, freezing the account and/or filing a SAR-SF.

9.11.6.5 identifying Potential Suspicious Activity
Alpine uses a number of tools to identify potential suspicious activity including:

~ Transaction information including disbursement of funds or securities are reviewed periodically by the
OSJ Branch Manager and Trading personnel (as it relates to trading activity) and AN|L Officer or their
designees

¢ The AML Officer or designee provides education to Aipine's RR, to Supervisors approving new
accounts operations personnel and to the OSJ Branch Manager.

Emp|oyee reports of potential suspicious activity are given to the AML Officer or designee
lt is always at the AML Officer (or designee’s) discretion, when taking into consideration all factors
when a SAR should be filed.

Aii employees have an ongoing obligation to report potentially suspicious activity to the AML Officer or designee

9.11.6.6 Suspicious Transactions and BSA Reporting

9.11.6.6.1 Fi|ing A SAR

Alpine will me SAR-SFs with FinCEN for any transactions (including deposits and transfers) conducted or
attempted by, at or through our firm involving $5,000 or more of funds or other assets (either individually or in
the aggregate) where Alpine knows suspects or has reason to suspect

o The transaction involves funds derived from illegal activity or intended or conducted to hide or disguise
funds or assets derived from illegal activity as part of a plan to violate or evade federal law or regulation
or to avoid any transaction reporting requirement under federal law or regulation.

¢ the transaction is designed, whether through structuring or other means to evade the requirements of
the Bank Secrecy Act (BSA).

¢ The transaction has no business or apparent lawful purpose or is not in which the customer would
normally be expected to engage and after examining the background, possible purpose of the
transaction and other facts Alpine knows of no reasonable explanation for the transaction, or

o The transaction involves the use of Alpine to facilitate criminal activity.

Alpine Securities Corporation - 186 - August 29, 2014

ALPINE_LIT168498

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 56 of 71

9.11.6.6.2 SAR Fi|ing Deadlines

The AML Officer or designee will report suspicious transactions by completing a SAR-SF, and will collect and
maintain supporting documentation as required by the BSA regulations The AlVlL Officer or designee will file a
SAR-SF no later than 30 calendar days after the date of the initial detection of the facts that constitute a basis
for filing a SAR-SF. lf no suspect is identified on the date of initial detection, we may delay filing the SAR-SF for
an additional 30 calendar days pending identification of a suspect, but in no case will the reporting be delayed
more than 60 calendar days after the date of initial detection. The phrase “initial detection" does not mean the
moment a transaction is highlighted for review. The 30-day (or 60-day) period begins when an appropriate
review is conducted and a determination is made that the transaction under review is “suspicious” within the
meaning of the SAR requirements A review should be initiated promptly upon identiication of unusual activity
that warrants investigation

9.11.6.7 Currency Transaction Reporting
Ru|es/Resources: SEC Securities Exchange Act of 1934 Rule 17a-8; Bank Secrecy Act 31 CFR Chapter X Part
1023 Subpart C; FinCEN pamphlet on CTR reporting: httg://www.fincen.gov/whatsnew/html/20090224.html|

9.11.6.7.1 Definitions

"Currency‘l is denned as the coin and paper money of the U.S. or legal tender of other countries Currency also
includes U.S. silver certificates U.S. notes, federal reserve notes, and official foreign bank notes customarily
used and accepted as a medium of exchange in a foreign country.

The Bank Secrecy Act requires broker-dealers to report certain transactions relating to currency transactions as
foilows:

o Report cash or currency deposits of more than $10,000, including multiple deposits on the same day
that would total more than $10,000. A currency Transaction Report (CTR) is filed with the Financial
Crimes Enforcement Network (FinCEN), a bureau of the Treasury Department. Some state regulators
also require reporting of currency transactions

» Report currency or bearer instruments over $10,000 transferred into or out of the U.S. The Currency
and lVlonetary instrument Transportation Report (CM|R) is filed with the U.S. Customs Service

The following summarizes the reporting requirements under the Bank Secrecy Act. A|pine's CFO or designee is
responsible for maintaining records of any currency reports required to be filed by A|pine and retaining them for
five years

9.11.6.7.2 Transactions involving Currency Over $10,000

lf Alpine accepts a currency deposit exceeding $10,000, it is required to file a Currency Transaction Report
(CTR) with the Financial Crimes Enforcement Network (FinCEN). Multiple transactions by the same person
equa|ing over $10,000 in any one day must also be reported. A|pine's COO or designee is responsible for filing
these reports and maintaining records of them for a period of five years from the filing date

Operations personnel are responsible for receiving currency and will process these requests in accordance with
their standard operating procedures Currency deposits in the amount greater than $10,000 will be reported to
the AML Officer or designee Multiple transactions by the same person equa|ing over $10,000 in any one day
must also be reported to the AML Officer or designee The AML Officer or designee will notify Aipine's COO or
designee to complete the required filings

9.11.6.8 Currency and Monetary instrument Transportation Reports (CM|R)

Broker-deaiers are required to file a Currency and lVlonetary instrument Transportation Report (CiVilR) with the
U.S. Customs Sen/ice to report transactions in physical currency and/or bearer instruments which alone or in
combination exceed $10,000 and which are shipped or transported into or outside the U.S. This filing is not
required for currency or other monetary instruments mailed or shipped through the postal service or by common

Alpine Securities Corporation - 187 - August 29, 2014

ALPINE_LITl 68499

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 57 of 71

carrier. A|pine's COO or designee is responsible for filing these reports and maintaining these records for the
required retention period. Refer to the section titled “Recordkeeping Requirements” for more information The
COO or designee will file a CN||R with the Commissioner of Customs if we discover that we have received or
caused or attempted to receive from outside of the U.S. currency or other monetary instruments in an aggregate
amount exceeding $10,000 at one time (on one calendar day or, if for the purposes of evading reporting
requirements on one or more days). The COO or designee will also file a CNl|R if we discover that we have
physically transported, mailed or shipped or caused or attempted to physically transport, mail or ship by any
means other than through the postal service or by common carrier currency or other monetary instruments of
more than $10,000 at one time (on one calendar day or, if for the purpose of evading the reporting
requirements on one or more days). Alpine will use the ClVliR Form provided on FinCEN’s Web site

9.11.6.9 Prohibition Against Structuring Deposits To Avoid Reporting

Cash or currency deposits or attempted deposits which appear to be part of a deposit structure to avoid iRS or
Customs currency reporting requirements or A|pine's limitations or are othenivise suspicious may not be
accepted and must be reported to the OSJ Branch Manager. Emp|oyees are prohibited from:

¢ aiding or advising a customer in structuring a transaction to avoid reporting requirements
o holding instruments for deposit on succeeding days
¢ transporting cash or cash equivalents or bearer instruments to a bank on behalf of a customer

9.11.6.10 State Reporting Requirements

States have adopted various currency and suspicious activity reporting requirements |Vlost states have entered
into an agreement with FinCEN to provide them with duplicate copies of forms filed by broker-dealers Some
states however, require duplicate filing with the states themselves at the time the broker-dealer files with a
federal agency. Aipine's CFO or designee will me reports as required under state requirements

9.11.6.11 Foreign Financial Account Reporting Requirements And Recordkeeping (FBAR)

Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart C; Form:
http://www.fincen.govlforms/files/f9022-1_fbar.pdf; FinCEN Notice 2012-1

Certain "United States persons" that maintain accounts (including any account where the person has a financial
interest inl or signature or other authority over) in foreign jurisdictions and with aggregate balances exceeding
$10,000 are required to file a Report of Foreign Bank and Financial Accounts (FBAR) Department of Treasury

Form 90-22.1 with FinCEN on or before June 30th of each calendar year for accounts maintained during the
previous calendar year. Certain U.S. persons with signature authority over, but no financial interest in, foreign
financial accounts of their employers and entities related to their employers have an extension until June 30,
2013 to file Form 90-22.1 (see FinCEN Notice 2012-1). The F|NOP or designee is responsible for filing the
annual report if it is required for Alpine

The filing requirement applies to:

Non-resident aliens and foreign entities "in and doing business" in the U.S.

Aii forms of U.S. business entities trusts estates with foreign accounts

U.S. citizens and residents with signature or other authority over a foreign account

Trust beneficiaries with a greater than 50% beneficial interest in a trust with a foreign account.

U.S. citizens and resident stockholders with greater than 50% of the value or vote of the shares of a
corporation with foreign accounts

o Entities that are disregarded for tax purposes such as limited liability companies

The filing requirement does not apply to certain entities or situations The regulation should be consulted for
specific exemptions or conditions of exemptions

A|pine Securities Corporation - 188 - August 29, 2014

ALPINE_LIT168500

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 58 of 71

o if the account is maintained in the United States. it is not considered a foreign account even if it holds
foreign assets

¢ An omnibus account held by a custody bank that holds assets both in the U.S. and outside the U.S. is
not considered a foreign account unless the customer has direct access to its foreign holdings
maintained at the foreign institution

¢ Certain entities are excluded including: foreign hedge funds venture capital funds or private equity
funds; tax-exempt investors that own offshore "blocker corporations;" government pension funds;
pension plan participants and lRA owners (provided the trustee files a FBAR); investment advisers and
employees of such advisers that provide advice to SEC-registered entities remainder interests in trusts
and beneficiaries of discretionary trusts; employees of a U.S. or foreign entity that issued a class of
foreign equity (including ADRs) registered with the SEC.

There also are exemptions for officers or employees with signature or other authority over certain foreign
financial accounts but no financial interest in the reportable account. The regulation should be consulted for
details regarding who is not required to notify FinCEN regarding signature or other authority over such an
account.

9.1 1 .6.1 2 Monetary instrument Purchases

Ru|es/Resources: 31 C.F.R. § 103.29. See also 31 C.F.R. 103.22(b), 52 Fed. Reg. 52250 (October17, 1994)
(Fina| Rule Amendments to BSA Regu|ations Relating to identification Required to Purchase Bank Checks and
Drafts, Cashier’s Checks Money Orders and Traveler’s Checks).

Alpine does not issue bank checks or drafts cashier’s checks money orders or traveler's checks in the amount
of $3.000 or more.

9.11.6.13 Fund Transmiti:ais of $3,000 or More Under the Trave| Rule

Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart D; F|NRA Notice to Members 97~13,
96-67 and 95-69; SEC Q&As: http://www.sec.gov/about/offices/ocie/aml2007/fincen-advissu7.pdf; SEC Q&As:
http://www.sec.gov/about/officeslocie/aml2007/fincen-advsiii.pdf

When Alpine is the transmittor’s financial institution in funds of $3,000 or more for domestic and international
funds transfers (including wire fund transfers), Alpine will retain either the original or a copy (e.g., microfilm,
electronic record) of the transmittal order. A|pine will also record on the transmittal order the following
information: (1) the name and address of the transmitter; (2) if the payment is ordered from an account, the
account number; (3) the amount of the transmittal order; (4) the execution date of the transmittal crder; and (5)
the identity of the recipient’s financial institution In addition, A|pine will include on the transmittal order as many
of the following items of information as are received with the transmittal order: (1) the name and address of the
recipient; (2) the account number of the recipient; (3) any other specific identi&er of the recipient; and (4) any
form relating to the transmittal of funds that is completed or signed by the person placing the transmittal order.

Alpine is not required to retain this information if it involves transfers between accounts that are not for the same
owner and transfers to third parties including banks and other financial institutions

Alpine will also verify the identity of the person placing the transmittal order (if we are the transmitting firm),
provided the transmittal order is placed in person and the transmitter is not an established customer of the firm
(i.e., a customer of the firm who has not previously maintained an account with us or for whom we have not
obtained and maintained a file with the customer's name address taxpayer identification number, or, if none
alien identification number or passport number and country of issuance). if a transmitter or recipient is
conducting business in person, Alpine will obtain:

1. the person's name and address;

2. the type of identification reviewed and the number of the identification document (e.g., driver’s license);
and

Alpine Securities Corporation - 189 - August 29, 2014

ALPINE_LITI 68501

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 59 of 71

3. the person's taxpayer identification number (e.g., Social Security or employer identification number) or1
if none alien identification number or passport number and country of issuance or a notation in the
record the lack thereof.

if a transmitter or recipient is not conducting business in person, Alpine will obtain the person’s name address
and a copy or record of the method of payment (e.g., check or credit card transaction). in the case of
transmitters oniy, Alpine will also obtain the transmittor’s taxpayer identification number (e.g., Social Security or
employer identincation number) or, if none alien identification number or passport number and country of
issuance or a notation in the record of the lack thereof. |n the case of recipients only, Alpine will obtain the
name and address of the person to which the transmittal was sent.

Records of transfers are available for inspection by regulators and other appropriate authorities when
requested

9.11.6.14 Foreign Currency Transactions

Foreign financial institutions may purchase U.S.-denominated bonds generally issued by foreign governments
with the local currency, which are then transferred to a U.S. broker-dealer and soldl with proceeds then
transferred offshore U.S. broker-dealers act as intermediaries in these transactions and may receive foreign
bonds or other securities worth millions of U. S. dollars without knowing who or how many underlying customers
may be involved. RRs and Alpine must be diligent about such transactions which may involve money
laundering

9.11.7 AML Recordkeeping Requirements
Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart D

a. Responsibility for Required AML Records and SAR-SF Fi|ing

Aipine's AML Officer or designee is responsible for ensuring that SAR-SFs are nied as required and retaining all
related documentation for a period of live years from the filing date. Each of the parties responsible for filing the
CTRs, CMle FBARs and relevant documentation on customer identity and verification and funds transmittals
will be responsible for ensuring that such records are maintained properly at least five years from the filing date
A|pine will keep other documents according to existing BSA and other recordkeeping requirements including
certain SEC rules that require six-year retention periods (e.g., Exchange Act Rule 17a-4(a) requiring firms to
preserve for a period of not less than six years all records required to be retained by Exchange Act Rule 17a-
3(a)(1)-(3), (a)(5), and (a)(21)-(22) and Exchange Act Rule 17a-4(e)(5) requiring firms to retain for six years
account record information required pursuant to Exchange Act Rule 17a-3(a)(17)).

b. SAR-SF Maintenance and Confidentia|ity

Alpine will hold SAR-SFs and any supporting documentation confidential Alpine will not inform anyone outside
of FinCEN, the SECl an SRO registered with the SEC or other appropriate law enforcement or regulatory
agency about a SAR-SF. Alpine will refuse any subpoena requests for SAR-SFs or for information that would
disclose that a SAR-SF has been prepared or filed and immediately notify FinCEN of any such subpoena
requests that we receive Alpine will segregate SAR-SF filings and copies of supporting documentation from
other firm books and records to avoid disclosing SAR-SF filings Our AML Officer or designee will handle all
subpoenas or other requests for SAR-SFs. A|pine may share information with another financial institution about
suspicious transactions in order to determine whether A|pine will jointly file a SAR according to the provisions
set forth elsewhere in this Poiicy. in cases in which Alpine Hie a joint SAR for a transaction that has been
handled both by us and another financial institution, both financial institutions will maintain a copy of the filed
SAR.

i. Providing SARs information To SROs

Ru|es/Resources: SEC letter to CEOs: http://www.sec.gov/about/offices/ocie/brokerdealerietter.htm

Alpine Securities Corporation - 190 - August 29, 2014

ALPINE_LI'I`168502

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 60 of 71

While SARs are to be treated as confidential, Alpine will provide SARs and supporting documentation available
to any self-regulatory organization (SRO) that examines Alpine for compliance with the SAR Rule as requested
by the SEC (see SEC letter to CEOs referenced above). The request may be part of a routine examination an
investigation or part of the SRO's risk assessment effort within its examination program.

ii. Prohibition Against Disclosure

By statute and regulation, A|pine may not inform customers or third parties that a transaction has been reported
as suspicious U.S. Treasury and Federai Reserve Board regulations also require Alpine to decline to produce
SARs in response to subpoenas and to report to FinCEN and the Federai Reserve Board the receipt of such
requests and A|pine's response Failure to maintain the confidentiality of SARs may subject an employee to civil
and criminal penalties under Federai law. \hoiations may be enforced through civil penalties of up to $100,000
for each violation and criminal penalties of up to $250.000 and/or imprisonment not to exceed five years Alpine
may also be liable for civil money penalties resulting from AML deficiencies that led to improper SAR disclosure
up to $25,000 per day for each day the violation continues

Procedures to protect the confidentiality of SARs may include but not be limited to, the foilowing:

o Access to SARs is limited to employees on a "need-to-know" basis
SARs may be maintained in locked physical or contained to electronic files

o SARs may not be left on desks or on open computer files and may not be viewed by unauthorized
persons

o SARs shared with others will be clearly marked "Confidential"

The CCO or designee (or Aipine's legal department) is responsible for responding to subpoena requests and the
AML Officer or designee for will notify FinCEN and our primary federal regulator, where required by law.

iii. Recipient of an Unauthorized SAR Disclosure

lf you become aware of an unauthorized disclosure of a SAR or if you receive a subpoena request for a SAR,
immediately contact the Compiiance Department. Compiiance will contact FiNCEN's Oche of Chief Counsei at
(703) 905-3590. Alpine may also be required to contact our primary federal regulator.

c. Additionai Records
Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart D 1023.410
Alpine shall retain either the original or a microilm or other copy or reproduction of each of the following:

o A record of each extension of credit in an amount in excess of $10,000, except an extension of credit
secured by an interest in real property. The record shall contain the name and address of the person to
whom the extension of credit is made the amount thereof, the nature or purpose thereof and the date
thereof;

o A record of each advice request or instruction received or given regarding any transaction resulting (or
intended to result and later canceled if such a record is normally made) in the transfer of currency or
other monetary instruments funds checks investment securities or credit, of more than $10,000 to or
from any person, account or place outside the U.S.;

o A record of each advice request or instruction given to another financial institution (which includes
broker-dealers) or other person located within or without the U.S., regarding a transaction intended to
result in the transfer of funds or of currency, other monetary instruments checks investment securities
or credit, of more than $10,000 to a person, account or place outside the U.S.;

o Each document granting signature or trading authority over each customer's account;

Each record described in Exchange Act Rule 17a-3(a): (1) (blotters), (2) (ledgers for assets and
liabilities income and expense and capital accounts), (3) (ledgers for cash and margin accounts), (4)
(securities log), (5) (ledgers for securities in transferl dividends and interest received, and securities
borrowed and ioaned), (6) (order tickets), (7) (purchase and sale tickets), (8) (confirms), and (9) (identity
of owners of cash and margin accounts);

Alpine Securities Corporation - 191 - August 29, 2014

ALPINE_LITI 68503

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 61 of 71

o A record of each remittance or transfer of funds or of currency, checks other monetary instruments
investment securities or credit, of more than $10,000 to a person, account or place outside the U.S.;
and

o A record of each receipt of currency, other monetary instruments checks or investment securities and of
each transfer of funds or credit, of more than $10,000 received on any one occasion directly and not
through a domestic financial institution, from any person, account or place outside the U.S.

9.12 C|earing/introducing Firm Relationships

Ru|es/Resources: 31 CFR 103.110; F|NRA Rule 3310, NASD Rule 3230, FlN-2006-GOOS: Freguently Asked
Questions Foreicin Bank Recertifications under 31 C.F.R. 5 103.77 (Februarv 3. 2006).

Alpine will exchange information, records data and exception reports as necessary to comply with our
contractual obligations and with AML laws

in our clearing agreements Alpine has addressed how Alpine and each correspondent firm will apportion
customer and transaction functions and how we will share information Alpine understands that the
apportionment of functions will not relieve either of us from our independent obligation to comply with AML laws
except as specifically allowed under the BSA and its implementing regulations

9.13 Training Programs

Ru|es/Resources: F|NRA Rule 3310, See NTM 02~21, FinCEN SAR Narrative Guidance Package (11/2003),
FinCEN Suggestions for Addressing Common Errors Noted in Susgicious Activig¢ Reporting (10/10/2007)

Alpine will develop ongoing employee training under the leadership of the AML Officer or designee with input
from senior management. This training may be developed in-house or Alpine may engage the services of an
online training vendor or utilize other media such as educational pamphlets videos explanatory memos. This
training will occur on at least an annual basis and will be based on our firm’s size its customer base and its
resources and be updated as necessary to reflect any new developments in the law. The AML Officer or
designee will maintain records to show the persons trained, the dates of training and the subject matter of their
training. The AML Officer or designee reserves the right to require specialized training for certain groups within
Alpine such as Operations Compiiance Retail sales etc.

Our training will include at a minimum: (1) how to identify red flags and signs of money laundering that arise
during the course of the employees’ duties; (2) what to do once the risk is identified (including how, when and to
whom to escalate unusual customer activity or other red flags for analysis andl where appropriate the filing of
SAR-SFs); (3) what employees' roles are in the firm's compliance efforts and how to perform them; (4) the firm's
record retention policy; and (5) the disciplinary consequences (including civil and criminal penalties) for non-
compliance with the BSA

9.14 independent Testing, Eva|uation and Reporting
Ru|es/Resources: F|NRA Rule 3310.01

 

Responsibility o AlVlL Officer or designee

 

o Po|icies and procedures
Resources o independent testing results

 

o Annual - schedule conduct, and follow up testing (unless firm qualifies for testing every
Frequency two years)

 

 

 

 

Alpine Securities Corporation - 192 - August 29. 2014

ALPINE_LIT168504

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 62 of 71

 

identify person(s) to conduct testing

Conduct testing

Report results to CEO in annual compliance report

Revise policies and procedures as necessary

Conduct follow-up to determine corrective action has been taken

Action

 

independent testing results including who conducted and dates of review
Report to CEO

Record of changes to policies and procedures resulting from testing
Record of follow-up actions

Record

 

 

 

 

The AML Officer or designee will be responsible for an annual (on a calendar-year basis) independent testing of
Aipine's policies and procedures regarding money laundering and the effectiveness of the program, as
described in this chapter. The tests performed will be either by an employee of Alpine if such employee
qualifies pursuant to the SRO rules for independence set forth beiow, or by a qualified non-employee third
party. At the discretion of Aipine's Board of Directors the AML Ofncer or designee may be directed to conduct
interim testing of Aipine's policies and procedures regarding money laundering and the effectiveness of the
program, if they believe such interim tests are warranted

SRO rules require that the person(s) conducting the independent testing of A|pine's AML program:

is not the AML Ocher
is not performing any AML procedures that are being tested and reviewed
is not an individual who is supervised by or otherwise reports to the AML Ofncer or to someone who
performs any AML procedures
¢ is knowledgeable regarding the Bank Secrecy Act, money laundering activities and related regulations

After Alpine has completed the independent testingl the AML Officer or designee will report its findings to senior
management Alpine, under the leadership of the Executive Team will promptly address each of the resulting
recommendations and keep a record of how each noted deficiency was resolved.

9.15 Monitoring Emp|oyee Conduct and Accounts Programs

Alpine will subject employee accounts to the same AML procedures as customer accounts as noted elsewhere
in Aipine's written supervisory procedures Provisions for the review of the AML Officer or designee’s personal
accounts are also addressed elsewhere in Aipine's written supervisory procedures Please refer to the section
titled “Employee and Emp|oyee Related Accounts” for more information

9.16 Confidentiai Reporting of AML Non-Compiiance

Emp|oyees will promptly report any violations of the firm's AML compliance program to the AML Officer, unless
the violations implicate the AML Officer, in which case the employee shall report to the firm's CCO or other
senior leadership Alpine believes that compliance with the AML policies and procedures set forth herein are of
paramount importance and must be facilitated by the firm, A|l employee reports concerning AML violations will
be kept confidential and no employee ramifications will result from its strict adherence

9.17 Pena|ties for Non-Compliance with A|pine Poiicy or BSA, USA
PATR|OT ACT Or Other AML Ru|es and Regu|ations

An employee may be deemed to be facilitating or participating in money laundering by engaging in a transaction
with a customer (accept a deposit, arrange a withdrawal, effect a trade etc.) when he or she is aware of, or
willfully ignores the fact that the customer is engaged in illegal activities

Alpine Securities Corporation - 193 - August 29, 2014

ALPINE_LIT168505

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 63 of 71

Participation in a money laundering scheme or the knowing receipt of proceeds from criminal activities is a
crime Alpine and its employees are subject to severe criminal, civil, and regulatory penalties if they facilitate or
participate in money laundering activities Vrolations by employees may result in internal disciplinary action, up
to and including, tem'iination.

9.18 Additionai Risk Areas
Ru|es/Resources: FinCEN advisory on shell companies http://www.fincen.gov/AdvisoryOnShells_FlNAL.pdf

Alpine has reviewed areas of its business to identify potential money laundering risks that may not be covered in
the procedures described above Other potential risk areas of risk include shell companies as enumerated
beiow.

Sheil companies can represent a potential money laundering risk. Most shell companies are formed for
legitimate business reasons but some have been used for illicit purposes

"Sheil company" refers to non-publicly traded corporations limited liability companies (LLCs), and trusts that
typically have no physical presence (other than a mailing address) and generate little or no independent
economic value Legitimate purposes including holding stock or intangible assets of another business entity
(such as subsidiary company shares) but are not engaged in active business operations or facilitating domestic
and cross-border currency and asset transfers and corporate mergers Some shell companies have become
common tools for money laundering and other financial crimes primarily because they are easy and
inexpensive to form and operate and ownership and transactional information can be concealed from regulatory
and law enforcement authorities Nlost states do not collect or require disclosure of ownership information at the
formation stage or after (i.e.l shell companies can obscure company structure ownership, and activities), thus
there is little transparency to enable Alpine to understand with whom they are dealing.

Agents that act as intermediaries or nominee incorporation services (N|S) can play a central role in creating,
maintaining, and supporting shell companies Some agents and NlS irms also provide individuals and
businesses with nominee services that preserve the anonymity of underlying officers directors and
stockholders

Some risk indicators of shell companies potentially engaged in money laundering are:

~ An inability to obtain (through |nternet searches commercial database searches or direct inquiries to
the company's foreign correspondent bank) information necessary to identify originators or beneficiaries
of wire transfers

» A foreign correspondent bank exceeds the anticipated volume projected in its client profile for wire
transfers in a given period or an individual company exhibits a high amount of sporadic activity that is
inconsistent with normal business patterns

- Payments have no stated purpose do not reference goods or services or identify only a contract or
service number.

o Goods or services of the company do not match the company's profile based on information previously
provided

o Transacting businesses share the same address provide only a registered agent‘s address or raise
other address-related inconsistencies

~ An unusually large number and variety of beneficiaries receive wire transfers from one company.

» Frequent involvement of beneficiaries located in high-risk, offshore financial centers
l\llultiple high-value payments or transfers between shell companies with no apparent legitimate
business purpose

Additionai procedures to address this area may include but not be limited to, the following:
~ Checking accounts and owners (if information is availab|e) against OFAC restrictions (applies to all

accounts)
¢ Obtaining information about underlying owners

Alpine Securities Corporation - 194 - August 29. 2014

ALPINE_LIT168506

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 64 of 71

~ Obtaining assurances from the shell company representative that principals have been screened

9.19 identity Theft Prevention Program (FTC FACT Act Red Flags Rule)

[SEC Securities Exchange Act of 1934 Regu|ation S-iD; Fair and Accurate Credit Transactions Acl (FACT Act) Section 114 and 315; FINRA
Regu|atory Notice 08-69; F|NRA Red Flags Rule web site: http:llwww.linra.org/lndustry/lssueleustomerinformationProtection/p118480;
interagency Guidelines on identity Theft Detection, Prevention. and Mitigation:
http://www.govcollect.org/iiieslAppendix%20A%20to%20Part%20681 .pdf]

 

Responsibility ~ AML Officer or designee

 

New account information

Order records

Transaction information about cash or security transfers

information reported by employees

information from third party providers customers victims of identity theft, law enforcement agencle
or others about potential identity theft

Resources

 

When new accounts are opened
Questionable account addresses changes
Ongoing - review of order records and transaction information
As received - employee information
As required - when a third party is engaged confirm third party providers have identity theft prograr
procedures which may be included in an affirmation in the third party's contract with Alpine
Annualiy - review of controls and procedures
Obtain senior management approval for any material changes to the program and any material
changes to the policy
~ As needed - update program and provide revisions to senior management for review and approval
of material changes Non-material changes to the Po|icy will not require senior management
approval.
lf directed by the CEO, provide revised procedures to the Board or Board committee
Annualiy - report to CEO
o Annualiy (or more frequently) - provide training for employees

Frequency

 

o Establish and maintain the identity Theft Program
o Provide initial Program and subsequent material changes to the Board, a Board Committee
or CEO (if no Board exists) for review and approval
o Review controls and procedures annually as part of the annual testing described in the
chapter SUPERVISORY SYSTEM, PROCEDURES AND CONTROLS
Conduct reviews of orders and transactions to identify red flags
When red flags are identified, take corrective action which may include:
o Consultation with the RR and/or supervisor
Monitoring the account
o Contacting the customer
Changing passwords security codes or other security devices that permit access to an
account
Reopening an account with another account number
Not opening a new account
Closing an existing account
Fi|ing a Suspicious Activity Report
Notifying law enforcement
o Taking no action if warranted
- Conduct other reviews which may include:
o Periodic use of |nternet search engines to identify web sites using A|pine's or an RR's nami

Action

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Alpine Securities Corporation - 195 - August 29. 2014

ALPINE_L1T168507

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 65 of 71

 

o Review online advertising to identify web sites for unauthorized links to promote stock frauc
or that appear to be illegitimate
o if Aipine's or an RR's identity is being used in a scam, take action which may include notifying
regulators and the FBll lodging a complaint at www.ftc.gov, and if it involves email solicitation or
spoofing, forwarding email to spam@uce.gov
» if a customer's account has been compromised, take action (described in a section that follows)
include identity Theft Prevention Program in the annual report to CEO (see the chapter
SUPERVISORY SYSTEM, PROCEDURES AND CONTROLS)l reporting:
o Effectiveness of the policies and procedures in addressing the risk of identity theft
o Third party provider arrangements
o Significant incidents involving identity theft and management's response
o Recommendations for material changes to the Program
¢ Review third party providers for adequacy of identity theft programs
o Contractuaiiy require them to have policies and procedures to detect Red Flags included in
firm policies and report them to Alpine and/or take appropriate steps of their own to
prevent/mitigate identity theft
o Training:
o include identity theft in AML training
o Develop training, identify target employees and administer training

 

Po|icies and procedures and revisions

Reviews of orders and transactions with record of action taken

Red flags identified and record of action taken

Annual testing of procedures (see SUPERV/SORY SYSTEM, PROCEDURES AND CONTROLS)
Annual report to CEO (see SUPERVISORY SYSTEM, PROCEDURES AND CONTROLS)
Confirmation that third party providers have adequate iTPPs and include in the contracts with third
parties

~ Records of training including subjects included date who administered and who attended

Record

 

 

 

Transactions Act (FACT Act) Section 114 and 315; F|NRA Regu|atory Notice 08-69; F|NRA Red Flags Rule web
site: http://www.finra.orglindustry/lssueleustomerinformationProtection/p118480; interagency Guidelines on
identity Theft Detection, Prevention, and Mitigation:
http://www.oovcollect.ord/0les/Appendix%ZOA%Z0to%20Part%20681 .pdf

9.19.1 identity Theft Prevention Program Firm Po|icy
Ru|es/Resources: 16 C.F.R. § 681 .1(d)

Our firm's policy is to protect our customers and their accounts from identity theft and to comply with the FTC’s
Red Flags Rule We will do this by developing and implementing this written identify Theft Prevention Program
(iTPP), which is appropriate to our size and compiexity, as weil as the nature and scope of our activities This
|TPP addresses 1) identifying relevant identity theft Red Flags for our firm, 2) detecting those Red Flags 3)
responding appropriately to any that are detected to prevent and mitigate identity theft, and 4) updating our |TPP
periodically to reflect changes in risks

Our identity theft policies procedures and internal controls will be reviewed and updated periodically to ensure
they account for changes both in regulations and in our business

9.19.2 |TPP Approval and Administration
Ru|es/Resources: 16 C.F.R. § 681 .1(e) and Appendix A, Section Vl.(a)

Alpine Securities Corporation - 196 ~ August 29, 2014

ALPINE_LiTisssos

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 66 of 71

Aipine's AML Officer is the designated identity theft prevention officer and is responsible for the oversight,
development implementation and administration (including staff training and oversight of third party service
providers of |TiP services) of this lTPP.

Aipine's Executive Committee will review and approve this |TPP whenever there are material modifications to
the policy,

9.19.3 Relationship to Other Firm Programs
Ru|es/Resources: 16 C.F.R. § 681.1, Appendix A, Section l

We have reviewed other policies procedures and plans required by regulations regarding the protection of our
customer information, including our policies and procedures under Regu|ation S-P, and our Customer
identification Program (C|P) and red flags detection under our Anti-Money Laundering (AML) Program in the
formulation of this |TPP, and modified either them or this |TPP to minimize inconsistencies and duplicative
efforts

9.19.4 identifying Relevant Red Flags
Ru|es/Resources: 16 C.F.R. § 681 .1(d)(2)(i) and Appendix A, Section ll

To identify relevant identity theft Red Flags our firm assessed these risk factors 1) the types of covered
accounts it offers 2) the methods it provides to open or access these accounts and 3) previous experience with
identity theft Our firm also considered the sources of Red Flags including identity theft incidents our firm has
experienced changing identity theft techniques our firm thinks likely to occur. and applicable supervisory
guidance in addition, we considered Red Flags from the following five categories (and the 26 numbered
examples under them) from Supp|ement A to Appendix A of the FTC’s Red Flags Rule as they fit our situation:
1) alerts notifications or warnings from a credit reporting agency; 2) suspicious documents 3) suspicious
personal identifying information; 4) suspicious account activity; and 5) notices from other sources We
understand that some of these categories and examples may not be relevant to our Hrm and some may be
relevant only when combined or considered with other indicators of identity theft We also understand that the
examples are not exhaustive or a mandatory checkiist, but a way to help our firm think through relevant red flags
in the context of our business Based on this review of the risk factors sources and FTC examples of red flags
we have identified our firm’s Red Flags which are contained the first column (“Red Flag”) of the attached “Red
Flag identincation and Detection Grid” (“Grid").

 

9.19.5 Detecting Red Flags
Ru|es/Resources: 16 C.F.R. § 681 .1(d)(2)(ii) and Appendix A, Section lll

We have reviewed our covered accounts how we open and maintain them, and how to detect Red Flags that
may have occurred in them. Our detection of those Red Flags is based on our methods of getting information
about applicants and verifying it under our ClP of our AlViL policies and procedures authenticating customers
who access the accounts and monitoring transactions and change of address requests For opening covered
accounts that can include getting identifying information about and verifying the identity of the person opening
the account by using the firm's ClP. For existing covered accounts it can include authenticating customers
monitoring transactions and verifying the validity of changes of address Based on this review, we have
included in the second column (“Detecting the Red Fiag") of the attached Grid how we will detect each of our
firm's identified Red Flags

9.19.6 Preventing and Mitigating identity Theft

We have reviewed our covered accounts how we open and allow access to them, and our previous experience
with identity theft, as well as new methods of identity theft we have seen or foresee as likely to occur. Based on

this and our review of the FTC’s identity theft rules and its suggested responses to mitigate identity theft, as well
as other sources we have developed our procedures below to respond to detected identity theft Red Flags

Alpine Securities Corporation - 197 - August 29, 2014

ALPINE_LIT168509

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 67 of 71

9.19.6.1 Procedures to Prevent and Mitigate identity Theft
Ru|es/Resources: 16 C.F.R. § 681.1(d)(iii) and Appendix A, Section iV

When we have been notified of a Red Flag or our detection procedures show evidence of a Red Flag, we will
take the steps outlined beiow, as appropriate to the type and seriousness of the threat:

Agp_licants. For Red Flags raised by someone applying for an account;

1. Review the agglication. We will review the applicants information collected for our ClP under our AML
Program (e.g., name date of birth, address and an identification number such as a Social Security
Number or Taxpayer identification Number).

2. Get government identification if the applicant is applying in person, we will also check a current
government-issued identification card such as a driver’s license or passport.

3. Seek additional verification if the potential risk of identity theft indicated by the Red Flag is probable or
large in impact, we may also verify the person’s identity through non-documentary ClP methods
inciuding:

a. Contacting the customer

b. independently verifying the customer’s information by comparing it with information from a credit
reporting agency, public database or other source such as a data broker or the Social Security
Number Death Master File.

c. Checking references with other affiliated financial institutions or

d. Obtaining a financial statement

4. Deny the application if we find that the applicant is using an identity other than his or her own, we will
deny the account

5. Report if we find that the applicant is using an identity other than his or her own, we will report it to
appropriate local and state law enforcement; where organized or wide spread crime is suspected the
FBl or Secret Service; and if mail is involved, the US Postal lnspector. We may also, as recommended
by F|NRA's Customer information Protection web page’s “Firm Checklist for Compromised Accounts,”
report it to FiNRA, the SEC and State regulatory authorities

6. Notincation. if we determine personally identifiable information has been accessed, we will prepare any
specific notice to customers or other required notice under state iaw.

Access seekers. For Red Flags raised by someone seeking to access an existing customer's account;

1. Watch. We will monitorl |imlt, or temporarily suspend activity in the account until the situation is
resolved

2. Check with the customer. We will contact the customer using our ClP information for them, describe
what we have found and verify with them that there has been an attempt at identify theft or partner with
the correspondent firm if it involves one of their direct customers

3. Heightened risk. We will determine if there is a particular reason that makes it easier for an intruder to
seek access such as a customei’s lost walletl mail theft, a data security incident, or the customefs
giving account information to an imposter pretending to represent the firm or to a fraudulent web site

4. Check similar accounts We will review similar accounts the firm has to see if there have been attempts
to access them without authorization

5. Co|lect incident information For a serious threat of unauthorized account access we may, as
recommended by F|NRA's Customer lnforrnation Protection web page’s “Firm Checklist for
Compromised Accounts,” collect if available

Correspondent firm iinformation, if an introducing brokerage firm

Firm Firm contact name and telephone number

Dates and times of activity

Securities involved (name and symbol)

Detaiis of trades or unexecuted orders

Details of any wire transfer activity

Customer accounts affected by the activity, including name and account number, and

Whether the customer will be reimbursed and by whom.

 

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Alpine Securities Corporation - 198 - August 29, 2014

ALPINE_LIT1685 1 0

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 68 of 71

6. Report if we find unauthorized account access we will report it to appropriate local and state law
enforcement; where organized or wide spread crime is suspected the FBl or Secret Service; and if mail
is involved the US Postal lnspector. We may aiso, as recommended by F|NRA's Customer information
Protection web page’s “Firm Checkiist for Compromised Accounts,” report it to F|NRA; the SEC; and
State regulatory authorities

7. Notification. if we determine personally identifiable information has been accessed that results in a
foreseeable risk for identity theft, we will prepare any specific notice to customers and to others where
required by law or regulation

8. Review our insurance policy. Since insurance policies may require timely notice or prior consent for any
settlement we will review our insurance policy to ensure that our response to a data breach does not
limit or eliminate our insurance coverage

9. Assist the customer. We will work with our customers to minimize the impact of identity theft by taking
the following actions as applicable

Offering to change the password, security codes or other ways to access the threatened account;
Offering to close the account;

Offering to reopen the account with a new account number;

Not collecting on the account or selling it to a debt collector,' and

instructing the customer to go to the FTC identity Theft Web Site to learn what steps to take to
recover from identity theft, including filing a complaint using its online complaint form, calling the
FTC’s identity Theft Hotiine 1-877-iD-THEFT (438-4338), Ti'Y 1-866-653-4261, or writing to
identity Theft Clearinghouse, FTC, 6000 Pennsylvania Avenue, NW, Washington, DC 20580.

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9.19.7 A|pine Emp|oyees Reporting Obligations

identity thieves use someone's personal identifying information to open new accounts and misuse existing
accounts Alpine has established an identity Theft Prevention Program (lTPP) to help detect and prevent identity
theft Many elements of detecting or preventing identity theft utilize similar techniques to that of the anti-money
laundering (AML) requirements included within these policies

The |TPP is based on identifying "red flags" which may indicate an occurrence of identity theft lt is the
responsibility of all employees to be attentive and alert to the red flags and report to the AML Officer or
designeeany new or existing customers who may be engaged in violations of anti-money laundering
regulations identity theft or who have reported an instance of identity theft.

For a list of potential identity theft red flags refer to the section titled "Red Flag ldentiiication and Detection Gn'd'
located in the ldentity Theft Prevention Frogram (FTC Fact Act Red Flags Rule) section

9.19.8 Service Providers
Ru|es/Resources: 16 C.F.R. § 681 .1(e)(4) and Appendix A, Section Vl.(c)

We may use other service providers in connection with our covered accounts in the event we utilize other
service providers we have a process to confirm that any other service provider that performs activities in
connection with our covered accounts especially other service providers that are not otherwise regulated
comply with reasonable policies and procedures designed to detect, prevent and mitigate identity theft by
contractually requiring them to have policies and procedures to detect Red Flags and report detected Red Flags
to us or take appropriate steps of their own to prevent or mitigate the identify theft

9.19.9 internal Compiiance Reporting
Ru|es/Resources: 16 C.F.R. § 681 .1, Appendix A, Section Vl.(b)

Firm staff responsible for developing, implementing and administering our |TPP will report at least annually to
our Executive Committee on compliance with the FTC’s Red Flags Rule The report will address the
effectiveness of our |TPP in addressing the risk of identity theft in connection with covered account openings

Alpine Securities Corporation - 199 - August 29, 2014

ALPINE_LIT168511

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 69 of 71

existing accounts service provider arrangements significant incidents involving identity theft and management's

response and recommendations for material changes to our |TPP.

9.19.10 Updates and Annual Review

Our firm will update this plan whenever we have a material change to our operations structure business or
location or to those of our clearing firm, or when we experience either a material identity theft from a covered
account or a series of related material identity thefts from one or more covered accounts Our firm will also
follow new ways that identities can be compromised and evaluate the risk they pose for our firm. in addition, our
firm will review this |TPP annuaiiy, to modify it for any changes in our operations structure business or location

or substantive changes to our relationship with our clearing firm.

Rule: 16 C.F.R. § 681 . 1 (d)(2)(iv) and Appendix A, Sections V. and Vl. (a) & (b).

9.19.11 Red Flag identification and Detection Grid

 

 

 

Red Flag l DeteM the Red FiaL
Category: Suspicious Documents
1. identification presented looks altered Our staff who deal with customers
nd their supervisors will scrutinize
or forged identiication presented in person to

make sure it is not altered or forged
Note: A|pine is not required to take
teps to determine whether the
ocument has been validly issued
e may rely on government issued
identification as verification of a
ustomer’s identity.

 

the identification’s photograph or physical nd their supervisors will ensure
description hat the photograph and the physical
escription on the identification

2. The identification presenter does not look like Eur staff who deal with customers
match the person presenting it.

 

3. information on the identification differs from Our staff who deal with customers
what the identification presenter is saying. rid their supervisors will ensure
hat the identification and the
tatements of the person presenting
it are consistent

 

 

4. information on the identification does not Our staff who deal with customers
match other information our firm has on file for nd their supervisors will ensure
the presenter, like the original account at the identification presented is

pplicationl signature card or a recent check. matched to known information we
la have on file for the account
5. The application looks like it has been altered, Our staff who deal with customers
orged or torn up and reassembled nd their supervisors will scrutinize
each application to make sure it is
not altered forged or torn up and
reassembled.

 

 

Cate$)ry: Suspicious Personai |dentifyinglnformation

 

6. inconsistencies exist between the information if we receive a consumer credit
presented and other things we know about the report they will check to see if the

 

 

 

 

 

Eresenter or can find out by checking readily ddresses on the application and
vailable external sources he consumer report match.

7. inconsistencies exist in the information that Our staff will check personal

the customeLgives us identifying information presented to
Alpine Securities Corporation - 200 -

August 29, 2014

ALPINE_LIT16851 2

Case 1:17-cv-O4179-DLC Document88-16 Filed 01/19/18

 

us to make sure that it is internally
consistent

 

8. Personai identifying information presented has
been used on an account our firm knows was
rauduient.

Our staff will compare the

 

information presented with
ddresses and phone numbers on
ccounts or applications we found
r were reported were fraudulent

 

 

9. Personai identifying information presented
uggests fraud such as an address that is
ictitious, a mail drop, or a prison; or a phone

number is invalid or is for a pager or answering

ervice.

ur staff may validate the
information presented when opening

n account by looking up addresses

n the |nternet to ensure they are
real and not for a mail drop or a
prison, and may call the phone
numbers given to ensure they are
alid and not for pagers or
nswering services

 

10. The SSN presented was used by someone
ielse opening an account or other customers

Our staff may compare the SSNs
presented to see if they were given
by others opening accounts or other
customers

Page 70 of 71

 

11. The address or telephone number presented
has been used by many other people opening
iaccounts or other customers

Our staff may compare address and

 

telephone number information to
ee if they were used by other
ppiicants and customers

 

n application or other form does not provide it
hen told it is incomplete

12. A person who omits required information on Our staff will track when applicants

r customers have not responded to
requests for required information

nd will follow up with the applicants
or customers to determine why they
have not responded

 

13. inconsistencies exist between what is
presented and what our firm has on file

Our staff will verify key items from
the data presented with information
we have on file.

 

eeking access cannot provide authenticating
information beyond what would be found in a
allet (or consumer credit report if applicabie) or
cannot answer a challenge question

64 A person making an account application or

Our staff may authenticate identities
for existing customers by asking
challenge questions that have been
prearranged with the customer and

 

or applicants or customers by
sking questions that require
nformation beyond what is readily
vailable from a wallet or a
consumer credit report

 

 

Categgiy: Suspicious Account Activity

 

15. Soon after our firm gets a change of address
request for an account we are asked to add
dditional access means (such as debit cards or
checks) or authorized users for the account

We will verify change of address
requests by sending a notice of the
change to the old addresses so the
customer will learn of any
unauthorized changes and can
notify us

 

 

16. A new account exhibits fraud pattems, such
s where a first payment is not made or only the
irst payment is made or the use of securities

 

We will review new account activity
o ensure that payments are made
nd that credit is primarily used for
ecurities easily converted into
cash, if mw is permitted

 

7. An account develops new patterns of activity,

asi|y converted into cash, if margin is permitted
l
uch as nonpayment inconsistent with prior

We will review our accounts periodic
basis and look for suspicious new

 

 

 

Alpine Securities Corporation

-201-

August 29, 2014

ALPINE_LIT168513

Case 1:17-cv-O4179-DLC Document 88-16 Filed 01/19/18 Page 71 of 71

 

 

history, a material increase in credit use or a patterns of activity such as

material change in spending patterns or nonpayment a large increase in

electronic funds transfers (if applicable). credit use, or changes in spending
patterns or electronic fund transfers
(if applicable).

18. An account that is inactive for a long time is We will review our accounts on a

isuddenly used again periodic basis to see if long inactive

 

accounts become very active if the

circumstances suggest that the
ctivity may be potentially

suspicious in nature

19. lVlail our firm sends to a customer is returned e will note any returned mail for

repeatedly as undeliverabie even though the an account andmay check the

iaccount remains active account’s activity, if the

circumstances suggest that the

ctivity may be potentially
uspicious in nature

20. We learn that a customer is not getting his or We will record on the account any

her paper account statements report that the customer is not
receiving paper statements and may
investigate if the circumstances
suggest that the activity may be
potentially suspicious in nature

21. We are notified that there are unauthorized We will verify if the notification is

charges or transactions to the account legitimate and involves a firm

account and then investigate the

report

 

 

 

 

 

 

Category: Notice From Other Sources

 

 

 

 

22. We are told that an account has been e will verify that the notification is
opened or used fraudulently by a customer. an legitimate and involves a firm
identity theft victim, or law enforcement account and then investigate the
report

23. We learn that unauthorized access to the e will contact the customer to
customer's personal information took place or learn the details of the unauthorized
became likely due to data loss (e.g., loss of access to determine if other steps
liti)vailet, birth certificate or iaptop), leakage or are warranted

reach.

 

9.20 Senior Manager Approval

The AML Officer or designee will seek and obtain written approval from the senior management team for any
and ali material changes to A|pine's AML poiicy. Changes that do not result in a material change to the policy
will not require approval. Please refer to the section titled “AML Officer” for more information

10 lNSlDER TRAD|NG

[insider Trading and Securities Fraud Enforcement Act of 1988; '34 Act 10b-5; F|NRA Notice to Members 89-5]

 

 

 

 

 

 

Responsibmty ~ Trading department supervisor
o Daily Transaction Report
Resources o Emp|oyee transactions (see the section Employee, Emp/oyee-Re/ated and
Proprietary Trading)
Alpine Securities Corporation ~ 202 - August 29. 2014

ALPINE_LIT168514

